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Hernandez, et al. v. Wells Fargo Bank, N.A.
(Case No. 3:18-cv-07354-WHA)
 EXHIBIT A TO JOINT DECLARATION OF MICHAEL SCHRAG AND RICHARD PAUL
 PROJECT-BASED TIME ENTRIES

                     Project: Final approval / fee motion for original settlement
   Date     Timekeeper                     Description                         Hours x Rate = Fee
                       Begin time entry categorization project in
 6/1/2020       JJB                                                        4.7      $580      $2,726.00
                       connection with motion for attorney's fees
                       Categorize each GLG time entry by project for
 6/1/2020      LPL                                                         5.8      $465      $2,697.00
                       our motion for attorney's fees
                       review/edit final approval and fee application
 6/1/2020      MLS     briefs; conf. call Team re fee categorization by    2.3      $800      $1,840.00
                       project; emails re same
                       Work on motion for final approval and motion
                       for attorney's fees and costs, including continue
                       to review and analyze time records and
 6/1/2020      LCF     categorize records by project as directed by        6.1      $445      $2,714.50
                       Judge Alsup, as well as exercise billing
                       discretion; analyze whether to exercise billing
                       discretion with respect to specific tasks
 6/2/2020      EER     Add new projects to translation table               0.2      $300        $60.00
                       Work on time entry categorization project in
 6/2/2020       JJB                                                        6.8      $580      $3,944.00
                       connection with motion for attorney's fees
                       Continue categorizing each GLG time entry by
 6/2/2020      LPL                                                         7.9      $465      $3,673.50
                       project for motion for attorney's fees and costs
                       Call with M. Schrag re: next steps for
 6/2/2020      LPL     preliminary approval brief and categorizing         0.2      $465        $93.00
                       time by discrete project for our fee application
                       E-mails with co-counsel L. Fellows re:
 6/2/2020      LPL     coordinating categorizing time entries by           0.4      $465       $186.00
                       discrete project for fee application
                       work on final approval brief; audit and
 6/2/2020      MLS     categorize atty time; conf. calls L. Lam and        4.7      $800      $3,760.00
                       Team re same
                       Analyze Keller Rohrback's submitted fees and
                       categorize the same pursuant to Judge Alsup's
 6/2/2020      LCF                                                         0.8      $445       $356.00
                       direction; outline thoughts regarding fees and
                       circulate
 6/2/2020      RMP     Draft fee application                               1.4      $745      $1,043.00
                       merge time records from both firms and update
 6/3/2020      EER     project table based on emails from L. Lam and       0.5      $300       $150.00
                       L. Fellows.
 6/3/2020      EER     call with team re: fee project                      0.4      $300       $120.00
                       Adapt import splitter module to break apart
 6/3/2020      EER                                                         1.9      $300       $570.00
                       time records.



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                      Work on time entry categorization project in
 6/3/2020     JJB                                                         7.3   $580   $4,234.00
                      connection with motion for attorney's fees
                      Conference call with team re time
 6/3/2020     JJB                                                         0.9   $580   $522.00
                      categorization project
                      Work with A. Penley and co-counsel on costs
 6/3/2020     LPL                                                         0.6   $465   $279.00
                      report for fee application
                      Work on categorizing time entries for
 6/3/2020     LPL     submission with application for attorney's fees     6.7   $465   $3,115.50
                      and expense reimbursements
                      Conf. call with team re: categorizing time
 6/3/2020     LPL                                                         0.9   $465   $418.50
                      entries by project for submission with fee
                      work on final approval motion and fee
                      application: draft declaration; audit and
 6/3/2020     MLS                                                         5.5   $800   $4,400.00
                      categorize time; conf. calls and emails re same
                      ; emails to JND re notice issues
                      Draft Joint Declaration in support of Motion
 6/3/2020     LCF     for Final Approval of Attorney's Fees and           5     $445   $2,225.00
                      Costs; review and edit initial draft
                      Locate fee orders to be cited in motion for final
 6/3/2020     KDJ                                                         0.3   $260    $78.00
                      approval of settlement and application for fees
 6/3/2020     RMP     Work on fee application                             0.1   $745    $74.50
                      Work on motion for final approval and motion
                      for attorney's fees and costs, including finish
 6/3/2020     LCF     review and analysis of Paul LLP time records        8.1   $445   $3,604.50
                      and categorization of records by project as
                      directed by Judge Alsup
                      Work on motion for final approval of attorney's
 6/3/2020     LCF     fees and expenses, including analyze and edit       1.9   $445   $845.50
                      draft motion
                      Respond to L. Fellows email with plan for data
 6/4/2020     EER                                                         0.5   $300   $150.00
                      cleaning
                      Respond to L. Lam and begin final merging of
 6/4/2020     EER                                                         1.8   $300   $540.00
                      reviewed time records. skim 7 min to Camp
                      Work on time entry categorization project in
 6/4/2020     JJB                                                         6.5   $580   $3,770.00
                      connection with motion for attorney's fees
                      Continue working on project-based time entries
 6/4/2020     LPL     for submission with fee application; calls and e-   7.9   $465   $3,673.50
                      mails with team re: same
                      Work on final approval and fee declaration;
                      audit and categorize time; review
 6/4/2020     MLS     categorization tables,; emails re same; conf.       6.5   $800   $5,200.00
                      call Team re same; review JND report; email re
                      tracking down all class members




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                      Review expenses to ensure all entries are
                      appropriately tagged to the case-specific action
                      item (ie, travel for motion hearing, mediation)
 6/4/2020     RPN     and that sufficient information is provided as to   6     $240   $1,440.00
                      the expense to allow the Court to evaluate;
                      verify all expense entries have correlating
                      receipts and/or documentation
                      Work on fee application and declaration in
 6/4/2020     RMP                                                         0.9   $745   $670.50
                      support
                      Work on Motion for Attorney's Fees and
                      Expenses, including continue to analyze
 6/4/2020     LCF     recoverable fees, edit fees, and analyze Judge      1.4   $445   $623.00
                      Alsup's Orders regarding organization of fee
                      motion and division of fees by project
                      Answer L. Lam questions regarding further
 6/5/2020     EER                                                         0.8   $300   $240.00
                      edits to records and possible formatting.
                      Incorporate L. Lam edits and re-run project
 6/5/2020     EER                                                         2.3   $300   $690.00
                      charts
                      Work on time entry categorization project in
 6/5/2020     JJB                                                         7.2   $580   $4,176.00
                      connection with motion for attorney's fees
                      Conference call with team re final approval and
 6/5/2020     JJB                                                         0.6   $580   $348.00
                      fee application
                      Work on project-based time entries to submit
 6/5/2020     LPL     with fee application; confer with M. Schrag and     5.4   $465   $2,511.00
                      E. Rhodes re: same
                      Edits to declaration in support of final approval
 6/5/2020     LPL                                                         2.8   $465   $1,302.00
                      and fee motions
                      Conf. call with team re: finalizing final
 6/5/2020     LPL                                                         0.6   $465   $279.00
                      approval and fee application papers
                      work on final approval, fee application and
                      declaration; review tables of fee categorization
 6/5/2020     MLS                                                         7.5   $800   $6,000.00
                      to be attached to declaration; emails Team re
                      same
                      Continue to work on motion for final approval
                      and attorney's fees, including assist with review
                      and exercise of business judgment regarding
 6/5/2020     LCF     records for both Paul LLP and Gibbs Law             7     $445   $3,115.00
                      Group, outline proposed cuts for the same;
                      analyze next steps to finalize motions and joint
                      declaration in support
 6/5/2020     RMP     Draft declaration in support of fee application     1.4   $745   $1,043.00
                      Review case charges for categorization and
 6/5/2020     KDJ                                                         1.5   $260   $390.00
                      inclusion in motion for attorney fees




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                      Review expenses to ensure all entries are
                      appropriately tagged to the case-specific action
                      item (ie, travel for motion hearing, mediation)
 6/5/2020     RPN     and that sufficient information is provided as to   4.5   $240   $1,080.00
                      the expense to allow the Court to evaluate;
                      verify all expense entries have correlating
                      receipts and/or documentation
                      Work on final approval brief and motion for
                      attorney's fees, including review expenses to
                      ensure all entries are appropriately tagged to
                      the case-specific action item (ie, travel for
 6/5/2020     LCF     motion hearing, mediation) and that sufficient      8.2   $445   $3,649.00
                      information is provided as to the expense to
                      allow the Court to evaluate; verify all expense
                      entries have correlating receipts and/or
                      documentation
                      Answer email from L. Lam re: filters applied to
 6/6/2020     EER                                                         0.2   $300    $60.00
                      hours spreadsheet.
                      Edits to project-based time entries to submit
 6/6/2020     LPL     with motion for attorney's fees; calls and e-       3.8   $465   $1,767.00
                      mails with team re: same
                      Edits to declaration in support of final
 6/6/2020     LPL                                                         2.1   $465   $976.50
                      approval/fee application
 6/6/2020     LPL     Edits to fee brief and final approval brief         0.9   $465   $418.50
                      Review A. Mura's edits to motion for attorney's
 6/6/2020     LPL                                                         0.4   $465   $186.00
                      fees and cost reimbursements
 6/6/2020     MLS     work on final approval and fee app papers           5     $800   $4,000.00
                      Prepare final project tables with time records.
 6/7/2020     EER     Update and format summary tables. Circulate         2.2   $300   $660.00
                      to team.
                      Further edits to declaration in support of final
 6/7/2020     LPL     approval, exhibits, and final approval/fee          6.6   $465   $3,069.00
                      application briefing
                      Confer with A. Penley on finalizing cost report
 6/7/2020     LPL                                                         0.3   $465   $139.50
                      to submit with fee application
                      Review summary-level tables on project-based
 6/7/2020     LPL                                                         0.4   $465   $186.00
                      time entries for fee application
                      work on final approval and fee application
 6/7/2020     MLS                                                         4.5   $800   $3,600.00
                      papers; emails and tel. calls L. Lam re same
                      Continue to work on motion for final approval
                      and attorney's fees, including review final
                      projects 1-17 and confirm no further changes
 6/7/2020     LCF                                                         3     $445   $1,335.00
                      needed and/or make final proofreading edits;
                      analyze changes to draft joint declaration and
                      circulate thoughts

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                      Work on declaration in support of fee
 6/7/2020     RMP                                                          0.5   $745   $372.50
                      application
                      Work on final approval and motion for
                      attorney's fees, including work on cite checking
 6/7/2020     LCF     motion and editing drafts of both motions;           3.5   $445   $1,557.50
                      continue to analyze expenses and provide
                      additional detail regarding hotel stays
                      Final touches from L. Lam. Clean up page
                      breaks and add grand total line to project
 6/8/2020     EER     tables. Circulate pdf of project tables. Prepare     0.7   $300   $210.00
                      additional table detailing reduced lodestar by
                      person and circulate.
 6/8/2020     EER     Row height clean up per L. Lam                       0.5   $300   $150.00
                      Edit, finalize, and file motion for final
 6/8/2020     LPL     approval, fee application, and supporting            8.7   $465   $4,045.50
                      declarations + exhibits
                      finalize fee application, final approval brief,
 6/8/2020     MLS     declaration and exhibits for filing; emails and      7     $800   $5,600.00
                      tel. calls L. Lam, L. Fellows and A. Mura re
 6/8/2020     RMP     Finalize final approval papers                       0.5   $745   $372.50
                      E-mails with legal secretary and co-counsel re:
 6/9/2020     LPL     final versions of final approval and fee             0.2   $465    $93.00
                      application filing
                      E-mails with team and JND re: new exclusion
 7/2/2020     LPL     request and how to write out certain settlement      0.3   $465   $139.50
                      checks to class members
                      E-mails with team re: number of opt-out
 7/8/2020     LPL                                                          0.2   $465    $93.00
                      requests and names of opt-outs
 7/8/2020     MLS     review opt out list; draft email re same             0.2   $800   $160.00
                      E-mails with team and JND re: final list of
 7/9/2020     LPL     exclusions, and further investigation on class       0.4   $465   $186.00
                      members JND was unable to reach
                      Review and analyze co-counsel's draft of reply
 7/15/2020    LPL     brief in support of final approval; review           0.6   $465   $279.00
                      sample reply brief from Vizio case
                      Draft Reply in Support of Motion for Final
 7/15/2020    LCF     Approval and Declaration for Mr. Paul and Mr.        3.9   $445   $1,735.50
                      Schrag in support of the same
                      Work on reply brief in support of motion for
 7/15/2020    RMP     final approval; conference call with emotional       0.7   $745   $521.50
                      distress claims administrator
                      Edits to reply brief in support of final approval,
 7/17/2020    LPL     as well as supporting joint class counsel            1.9   $465   $883.50
                      declaration



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                      Work on reply in support of motion for final
 7/17/2020    RMP                                                          0.2   $745   $149.00
                      approval
                      Edits to draft reply brief and declaration in
 7/20/2020    LPL                                                          1.7   $465   $790.50
                      further support of motion for final approval
                      review/edit reply brief and declaration for final
                      approval; conf. call JND re locating all class
 7/20/2020    MLS     members; emails team re same; tel call A.            2     $800   $1,600.00
                      Groves re enclosure letter to class members;
                      review/edit same; tel. call R. Paul re same
                      Edits to reply brief in support of motion for
 7/21/2020    LPL     final approval and attorney's fees; call with A.     2.4   $465   $1,116.00
                      Mura and M. Schrag re: same
                      work on reply brief and declaration for final
 7/21/2020    MLS     approval; emails and tel. calls A. Mura and L.       2.5   $800   $2,000.00
                      Lam re same
 7/22/2020    JJB     Call with team re final approval                     0.5   $580   $290.00
                      Conference call with M. Schrag, J. Bloomfield,
                      and co-counsel re: finalizing reply brief and
 7/22/2020    LPL                                                          0.5   $465   $232.50
                      declaration in support of motion for final
                      approval
                      Edits to reply brief in support of final approval;
 7/22/2020    LPL     e-mails with M. Schrag and defense counsel re:       2.1   $465   $976.50
                      same
                      work on reply brief; review def. counsel
                      comments; tel. calls and emails Team re same;
 7/22/2020    MLS                                                          2     $800   $1,600.00
                      emails class members re emotional distress
                      awards
                      Work on final Reply in Support of Final
                      Approval, including analyze further edits to
 7/22/2020    LCF                                                          0.5   $445   $222.50
                      Reply and Declaration and confirm no further
                      edits
                      Work on reply in support of motion for final
                      approval; prepare for final approval hearing;
 7/22/2020    RMP                                                          0.5   $745   $372.50
                      analyze issues re: class members who missed
                      deadlines
                      Finalize and file reply brief and declaration in
 7/23/2020    LPL     support of motions for final approval and            2.7   $465   $1,255.50
                      attorney's fees/costs
                      tel. call C. Yanni re declaration and reply
 7/23/2020    MLS     papers; finalize reply brief and declaration;        1.2   $800   $960.00
                      email and tel. call L. Lam re same
                      Review correspondence from JND; prepare for
 8/3/2020     RMP                                                          0.1   $745    $74.50
                      final approval hearing




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                      Work on revised final approval order, including
                      analyze local rules and Judge Alsup's prior
 8/4/2020     LCF                                                          1     $445   $445.00
                      orders regarding potential motion to seal class
                      list
                      E-mails with team and defense counsel re:
 8/5/2020     LPL     whether to file the class list and exclusion list    0.4   $465   $186.00
                      under seal; call with M. Schrag re: same
                      Review draft JND declaration on class notice
 8/5/2020     LPL                                                          0.4   $465   $186.00
                      and administration; call with M. Schrag re:
                      review draft JND declaration; email and tel.
 8/5/2020     MLS     call L. Lam re same; review reply draft; emails      0.5   $800   $400.00
                      JND re same;
                      Continue to work on revised order regarding
                      final approval, including continue to analyze
 8/5/2020     LCF                                                          0.2   $445    $89.00
                      procedure to seal class list and Judge Alsup's
                      prior approach to sealing class list
                      Call with JND and co-counsel to discuss
 8/6/2020     LPL     contents of JND's declaration on dissemination       0.9   $465   $418.50
                      of class notice; e-mails with team re: same
                      E-mails with team and defense counsel re:
 8/6/2020     LPL     filing class list with revised proposed final        0.3   $465   $139.50
                      order under seal
                      Work on JND's declaration in support of
                      settlement administration, including correspond
                      with JND regarding specific efforts to reach
                      undeliverable class members and other
 8/6/2020     LCF     questions regarding draft declaration; work on       1.7   $445   $756.50
                      finalizing class list and adding co-borrowers;
                      work on various settlement issues, including
                      late submission of severe emotional distress
                      claim forms and appeals deadline
                      E-mails with team, JND, and defense counsel
                      re: declaration from JND on dissemination of
 8/7/2020     LPL                                                          1.4   $465   $651.00
                      class notice; review draft declaration from JND
                      and make edits to the same
                      edited JND declaration; tel. call C. Yanni re
                      same; emails re same; tel. call L. Lam re same;
 8/7/2020     MLS                                                          1.5   $800   $1,200.00
                      review reply papers; emails re class lists and co-
                      borrowers
                      Review materials for JND to provide for
 8/9/2020     RMP     declaration in support of motion for final           0.1   $745    $74.50
                      approval; review declaration
 8/10/2020    JJB     Call with team re JND declaration                    0.4   $580   $232.00
                      Conf. call with M. Schrag and J. Bloomfield re:
 8/10/2020    LPL                                                          0.4   $465   $186.00
                      finalizing JND's declaration due today

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                      Edit, finalize, and file JND declaration on
 8/10/2020    LPL     dissemination of class notice; e-mails with         2.7   $465   $1,255.50
                      team and calls with M. Schrag re: same
                      review/edit JND declaration; emails re late
                      claimants to emotional distress fund; conf. call
 8/10/2020    MLS                                                         2.3   $800   $1,840.00
                      Team re same; tel. call D. Agretelis re same;
                      tel. call R. Paul re same and final approval
 8/10/2020    RMP     Prepare for final approval hearing                  0.4   $745   $298.00
 8/13/2020     JJB    Emails with team re motion to seal class list       0.3   $580   $174.00
                      E-mails with M. Schrag and J. Bloomfield re:
 8/13/2020    LPL                                                         0.3   $465   $139.50
                      draft administrative motion to seal class list
                      E-mails with M. Schrag re: filing class list with
 8/13/2020    LPL                                                         0.2   $465    $93.00
                      an administrative motion to file under seal
                      review/edit motion to seal papers re filing class
 8/13/2020    MLS                                                         0.5   $800   $400.00
                      list
                      Review draft motion to seal class list; review
 8/13/2020    RMP     correspondence re: Keller Rohrback's request        0.1   $745    $74.50
                      for fees
 8/14/2020    JJB     Call with team re final approval issues             0.6   $580   $348.00
                      Conf. call with M. Schrag, J. Bloomfield, and
 8/14/2020    LPL     co-counsel re: filing new proposed final            0.6   $465   $279.00
                      judgment and class list in advance of final
                      conf. call Team re finalizing class list,
 8/14/2020    MLS                                                         0.7   $800   $560.00
                      proposed judgment and motion to seal
                      Analyze amended, proposed Order granting
                      final approval and proposed edits as well as
 8/14/2020    LCF     motion to seal class list; continue to work with    0.3   $445   $133.50
                      JND to obtain full class list with co-borrowers
                      to file
 8/14/2020    RMP     Prepare for final approval hearing                  0.3   $745   $223.50
                      Prepare revised proposed final judgment/order;
 8/17/2020    LPL                                                         0.4   $465   $186.00
                      e-mails with team and defense counsel re: same
                      Emails with team and JND re final approval
 8/18/2020    JJB                                                         0.2   $580   $116.00
                      issues
                      Review and edit list of co-borrowers to include
                      in class list to be filed with revised proposed
 8/18/2020    LPL     judgment; edits to proposed final judgment and      4.2   $465   $1,953.00
                      sealing motion for class list; e-mails and calls
                      with team re: finalizing the same
                      Conf. call with M. Schrag and defense counsel
 8/18/2020    LPL     re: class list, revised proposed judgment, and      0.6   $465   $279.00
                      final approval hearing




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                      work on amended proposed judgment; conf.
                      call WF counsel re final approval hearing; prep
 8/18/2020    MLS                                                         4.8   $800   $3,840.00
                      for final approval hearing; tel. calls and emails
                      E. Gibbs, R. Paul and L. Lam re same
                      Begin to prepare for final approval hearing,
 8/18/2020    LCF     including outline additional information needed     0.1   $445    $44.50
                      regarding settlement allocation
                      Continue to work on revised, proposed order
                      for final approval of settlement, including
                      continue to analyze question regarding class list
                      and inclusion of co-borrowers; analyze final list
 8/18/2020    LCF                                                         0.2   $445    $89.00
                      from JND and Wells Fargo and outline
                      proposed changes regarding various class
                      members based on prior correspondence with
                      Wells Fargo
 8/18/2020    RMP     Prepare for final approval hearing                  0.7   $745   $521.50
                      Finalize and file administrative motion to seal
                      class list, along with amended proposed order
 8/19/2020    LPL     and judgment granting final approval and            1.9   $465   $883.50
                      attorney's fees/costs; call with M. Schrag re:
                      same
                      E-mails with M. Schrag and J. Bloomfield, as
                      well as JND re: prep and gathering info for
 8/19/2020    LPL                                                         2.7   $465   $1,255.50
                      final approval hearing tomorrow; confer with
                      defense counsel re: same
                      finalize and file amended proposed order with
 8/19/2020    MLS     class list; prep for Final Approval hearing; tel.   5     $800   $4,000.00
                      calls L. Lam and R. Paul re same
                      Prepare for final approval hearing, including
                      calculate and outline updated allocation
 8/19/2020    LCF                                                         1.7   $445   $756.50
                      numbers related to opt-outs and undeliverables
                      and summarize talking points
                      Telephonic final approval hearing with Judge
 8/20/2020    LPL     Alsup; prepare for the same by reviewing fee        2.2   $465   $1,023.00
                      application papers
                      Prep for Final Approval hearing and Final
                      Approval Hearing; tel. calls Team after
                      hearing; conf call WF counsel re next steps;
 8/20/2020    MLS                                                         6     $800   $4,800.00
                      conf call JND re same; tel. call R. Paul re
                      same; draft Request to Court for approval of
                      plan to find class members and granting final
                      Appear at hearing on motion for final approval
                      of settlement, including briefly outline next
 8/20/2020    LCF                                                         1.3   $445   $578.50
                      steps in light of Judge Alsup's order moving
                      hearing and setting further briefing

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                      Final Approval Hearing; work on issues raised
 8/20/2020    RMP                                                          3.3   $745   $2,458.50
                      by court to address final approval
                      conf. call TEam re joint filing re final approval;
 8/21/2020    MLS                                                          2.3   $800   $1,840.00
                      work on joint filing; review JND spreadsheets
                      Work on draft of joint letter brief in further
                      support of final approval and handling
                      undelivered notices, including analyze and
 8/21/2020    LCF                                                          1     $445   $445.00
                      begin to edit initial draft; outline thoughts
                      regarding strategy to resolve claims of
                      remaining 16 plaintiffs
                      Legal research re: whether we need to re-notice
 8/24/2020    LPL     class members if there is a specific change to       1.4   $465   $651.00
                      the settlement terms; e-mail memo to team re:
                      Review and analyze co-counsel's edits to
 8/24/2020    LPL     supplemental briefing on final approval of the       0.4   $465   $186.00
                      settlement
                      Further edits to draft joint brief on parties'
 8/24/2020    LPL     proposal on 16 unfound class members; calls          2.3   $465   $1,069.50
                      and e-mails with M. Schrag re: same
                      emails from class members and conf. L. Lam re
                      same; tel. call WF counsel re plan for final
                      approval; review JND emails and spreadsheets
                      re updated addresses; conf call Team re plan
 8/24/2020    MLS     for final approval and locating class members;       5     $800   $4,000.00
                      work on joint brief in support of final approval;
                      tel. call C. Yanni re appeals to emotional
                      distress fund; tel. call A. Mura re strategy for
                      locating class members; tel. call L. Lam re
                      Work on prior supplemental filing regarding
                      resolution of claims and potential emotional
                      distress filing for remaining 16 class members
 8/24/2020    LCF     to whom notice has not been delivered,               4.4   $445   $1,958.00
                      including research Judge Alsup's prior orders
                      regarding undeliverables, research relevant 9th
                      circuit case law, and outline thoughts regarding
                      Further edits to joint supplemental brief on
 8/25/2020    LPL     final approval; e-mails with M. Schrag and co-       1.6   $465   $744.00
                      counsel re: same
                      work on joint filing re final approval; emails
 8/25/2020    MLS                                                          2.8   $800   $2,240.00
                      and legal research re same




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                      Continue to work on supplemental filing
                      regarding resolution of claims and potential
                      emotional distress filing for remaining 16 class
                      members to whom notice has not been
 8/25/2020    LCF                                                         3.1   $445   $1,379.50
                      delivered, including review and further revise
                      draft and conduct research regarding
                      appropriateness of sending uncashed checks to
                      the unclaimed property fund and outline
 8/25/2020    RMP     Work on strategy for obtaining final approval       0.2   $745   $149.00
 8/26/2020    MLS     review cases re second notice and releases          0.5   $800   $400.00
                      conf. call Defense counsel re next steps in final
                      approval; tel. call R. Paul and J. Bloomfield re
 8/27/2020    MLS                                                         3.2   $800   $2,560.00
                      same; legal research re second notice and
                      second distributions; draft memos re next steps
                      Participate in meet and confer call with Wells
                      Fargo's counsel regarding joint, supplemental
 8/27/2020    LCF     filing in support of final approval and next        0.6   $445   $267.00
                      steps regarding sending notice to
                      "undeliverable" class members
 8/27/2020    RMP     Work on plan for final approval                      1    $745   $745.00
 8/28/2020    RMP     Work on plan for final approval                     0.5   $745   $372.50
                      conf. call Team re next steps in drafting
  9/8/2020    MLS                                                         0.5   $800   $400.00
                      proposed judgment and Sept. 17 filing
                      Review M. Schrag's edits to second amended
  9/9/2020    LPL                                                         0.3   $465   $139.50
                      proposed final order and judgment
  9/9/2020    MLS     work on proposed order; emails re settlement        0.5   $800   $400.00
                      Draft amended proposed order granting final
 9/10/2020    RMP                                                         0.3   $745   $223.50
                      approval of settlement
 9/12/2020    MLS     work on final approval joint filing                 2     $800   $1,600.00
                      Edits to joint supplemental brief in support of
 9/13/2020    LPL                                                         0.7   $465   $325.50
                      final approval; e-mail to team re: same
                      work on proposed order for final approval joint
 9/13/2020    MLS                                                         0.5   $800   $400.00
                      filing; emails re same
 9/13/2020    RMP     Work on final approval supplemental brief           0.2   $745   $149.00
                      Work on supplemental filing about
                      undeliverable notices and emotional distress in
 9/14/2020    LCF     response to courts order, including participate     0.3   $445   $133.50
                      in call with Wells Fargo’s counsel regarding
                      draft brief and potential revisions
                      Draft class counsel declaration in support of
 9/15/2020    LPL     supplemental brief on final approval; e-mail to     0.7   $465   $325.50
                      co-counsel
                      Review and analyze JND's revised declaration
 9/15/2020    LPL     in support of supplemental brief on final           0.8   $465   $372.00
                      approval; edits to the same

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                      review/edit declaration; review/edit JND
 9/15/2020    MLS                                                            0.7   $800   $560.00
                      declaration; emails and tel. calls L. Lam re
                      Review draft declaration in support of final
 9/15/2020    RMP                                                            0.1   $745    $74.50
                      approval
                      E-mails with defense counsel re: draft
 9/16/2020    LPL     declarations to go with joint supplemental brief       0.4   $465   $186.00
                      on final approval due tomorrow
                      work on 9/17 filing re final approval; review
 9/16/2020    MLS                                                            1.3   $800   $1,040.00
                      WF edits; emails and tel. calls L. Lam re same
                      Further edits to, finalize, and file joint brief and
                      supporting documents in further support of
 9/17/2020    LPL                                                            3.6   $465   $1,674.00
                      final approval; e-mails with team and defense
                      counsel re: same
                      Prepare administrative motion to seal list of 16
 9/17/2020    LPL     class members who will not release emotional           1.4   $465   $651.00
                      distress claims; edits to and file the same
                      finalize final approval supplemental filings; tel.
 9/17/2020    MLS                                                            3.7   $800   $2,960.00
                      calls and emails L. Lam re same
                      Work on Joint Supplemental Brief regarding
                      nondeliverable notices and final emotional
                      distress fund allocation as well as revised,
 9/17/2020    LCF                                                            0.8   $445   $356.00
                      proposed order, including review Wells Fargo's
                      proposed edits and analyze whether to accept or
                      reject edits
                      E-mails with M. Schrag and A. Mura re:
 9/29/2020    LPL     upcoming final approval hearing and our joint          0.3   $465   $139.50
                      supplemental brief on final approval
                      Correspond with JND regarding new date for
 9/30/2020    LCF     final approval hearing and updating settlement         0.1   $445    $44.50
                      website
                      prep for final approval hearing; review joint
                      brief and proposed judgment; review research
 10/5/2020    MLS     re re-noticing; review efforts to reach 16 class       2.2   $800   $1,760.00
                      members and emotional distress fund
                      allocation; email to class member re timing of
                      Prepare for final approval hearing on the issue
                      of attorney's fees and costs, and our submission
 10/6/2020    LPL                                                            5.9   $465   $2,743.50
                      in support of our request; call with M. Schrag
                      and A. Mura re: same
                      E-mails with M. Schrag and co-counsel re:
                      certain items to review and information to
 10/6/2020    LPL                                                            0.4   $465   $186.00
                      collect in preparation for final approval hearing
                      tomorrow
                      prep for final approval hearing; conf. call L.
 10/6/2020    MLS                                                            2.5   $800   $2,000.00
                      Lam and A. Mura re same

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                      Prepare for and attend continued final approval
 10/7/2020    LPL                                                          3.9    $465    $1,813.50
                      hearing by telephone
                      Prep for final approval and appear/argue final
 10/7/2020    MLS     approval hearing; follow up calls L. Lam, R.         3.7    $800    $2,960.00
                      Paul, A. Mura
 10/7/2020    RMP     Final approval hearing                               2.2    $745    $1,639.00
                      Hearing on Motion for Final Approval of
                      Settlement and Attorneys' Fees, including assist
 10/7/2020    LCF     with final preparations for hearing as well as       2.7    $445    $1,201.50
                      review and outline relevant information
                      regarding undeliverable checks
                      E-mails with M. Schrag re: total GLG and Paul
 10/9/2020    LPL     LLP lodestars (before and after cuts for billing     0.5    $465    $232.50
                      judgment)
                      Review and analyze order on final approval and
 10/12/2020   LPL     motion for fees and costs; confer with M.            0.4    $465    $186.00
                      Schrag re: same
                      review final approval order; tel. calls L.
 10/12/2020   MLS                                                          0.8    $800    $640.00
                      Fellows and L. Lam re next steps
10/12/2020    RMP     Review and analyze final approval order              0.2    $745    $149.00
                      Review Order Granting Final Approval and
10/12/2020    LCF                                                          0.3    $445    $133.50
                      begin to outline next steps to finalize
                      Prepare and file unredacted version of class list
 10/14/2020   LPL     pursuant to order denying administrative             0.8    $465    $372.00
                      motion to seal
 10/14/2020   MLS     emails L. Lam re unsealing filiing                   0.2    $800    $160.00
                      E-mails with defense counsel re: filing
 10/15/2020   LPL     amended version of class list and list of those      0.3    $465    $139.50
                      will not release emotional distress claims
                      Prepare and file amended class list and list of
                      16 class members who will not release
 10/19/2020   LPL                                                          0.7    $465    $325.50
                      emotional distress claims; e-mails with co-
                      counsel and defense counsel re: same
                                                         Project Total:   371.8          $210,424.50




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                       Project: Settlement check distribution to original class members
     Date    Timekeeper                        Description                         Hours x Rate = Fee
                            Work on settlement administration, including
                            analyze status of letters to class members
                            whose releases Wells Fargo will not enforce
                            and correspond with Wells Fargo regarding the
   6/1/2020       LCF       same; request contact information from JND         0.5      $445       $222.50
                            and review and edit draft cover letter and
                            confirm letters ready to be sent; analyze
                            question regarding whether Ms. Ortolani a
                            class member
                            Work on letters from Wells Fargo regarding
                            decision not to enforce prior settlement
   6/2/2020       LCF                                                          0.2      $445        $89.00
                            agreement, including work on draft cover letter
                            explaining letter to class members
                            E-mails with class member Brent Zollman and
   6/3/2020        LPL      settlement administrator re: not receiving his     0.4      $465       $186.00
                            class notice in the mail
                            Call with class member Diana Trevino to
   6/4/2020        LPL      answer questions she received about the notice     0.5      $465       $232.50
                            and the severe emotional distress fund
                            E-mails with defense counsel re: class member
   6/4/2020        LPL                                                         0.2      $465        $93.00
                            Diana Trevino's settlement check
                            Call with class member Robert Peters to
   6/6/2020       LCF                                                          0.3      $445       $133.50
                            answer his questions regarding settlement
                            Correspond with class member P. Wimbush to
                            answer her questions regarding settlement;
                            correspond with class member A. Thornhill to
  6/8/2020        LCF                                                          0.6      $445       $267.00
                            answer her questions regarding settlement and
                            letter she received from Wells Fargo
                            confirming they will not enforce her release
                            E-mails with class member Diana Trevino re:
  6/9/2020         LPL      feedback on her draft narrative for emotional      0.3      $465       $139.50
                            distress claim form
                            Correspond with potential class member, Marla
  6/9/2020        LCF       Clarke, and answer her questions regarding         0.2      $445        $89.00
                            settlement
                            E-mails with defense counsel re:
  6/10/2020        LPL      communications with certain class members          0.4      $465       $186.00
                            and Diana Trevino's settlement check




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                      Review and draft responses to class member
                      questions regarding settlement and severe
                      emotional distress fund; correspond with Cyndi
                      Floyd regarding severe emotional distress fund
                      and questions regarding the same; work on
 6/10/2020    LCF                                                         0.8   $445   $356.00
                      sending letters to class members that previously
                      signed releases, including correspond with
                      settlement administrator regarding updated
                      information needed and correspond with Wells
                      Fargo's counsel regarding the same
                      Review correspondence from class member
 6/10/2020    RMP     Tara Coulton; research her class membership         0.2   $745   $149.00
                      and respond to her email
                      E-mails with class member Diana Trevino re:
 6/11/2020    LPL                                                         0.2   $465   $93.00
                      her severe emotional distress claim form
                      E-mails with JND re: updates on settlement
 6/11/2020    LPL                                                         0.2   $465   $93.00
                      administration
                      E-mails with class member Janet Jenkins re:
 6/11/2020    LPL                                                         0.2   $465   $93.00
                      call to discuss the class notice and settlement
                      Review inquiries from potential class members
                      and outline next steps to follow-up with them;
                      review JND's weekly settlement administration
 6/11/2020    LCF     status update; review paper copy of severe          0.4   $445   $178.00
                      emotional distress form received from class
                      member John Tracy and correspond with JND
                      regarding next steps to forward them the same
                      Call with M. Schrag and Janet Jenkins re:
 6/12/2020    LPL     answering her questions about the settlement        0.6   $465   $279.00
                      and severe emotional distress claim fund
                      E-mails with class member D. Trevino re: her
 6/12/2020    LPL     application for the severe emotional distress       0.2   $465   $93.00
                      claim fund
 6/12/2020    MLS     tel. call class member; follow up L. Lam re         0.3   $800   $240.00
 6/12/2020    RMP     Review status report from claims administrator      0.1   $745   $74.50
                      Send severe emotional distress form received
                      directly to JND; call with class member Cecile
 6/12/2020    LCF                                                         0.8   $445   $356.00
                      Lewis regarding settlement, review her
                      questions regarding the same, and summarize
                      E-mails with class members re: their class
 6/15/2020    LPL     notices in the mail and their application for the   0.5   $465   $232.50
                      severe emotional distress fund
                      E-mail to J. Bloomfield re: most updated CIT
 6/15/2020    LPL                                                         0.2   $465   $93.00
                      chart with class list and allocation




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                      Review further inquiry from LaWanda Newton
 6/15/2020    LCF     and correspond with her regarding time to          0.1   $445   $44.50
                      discuss
                      Contact with Valli Krupp-King about the claim
 6/16/2020    RPN     of Ronald King; contact with Ray David and         0.4   $240   $96.00
                      his parents' potential claims
                      E-mails with team re: recent inquiries from
 6/17/2020    LPL     class members and individuals who are asking       0.4   $465   $186.00
                      whether they are included in the class
                      E-mails with class member Diana Trevino re:
 6/17/2020    LPL     submitting her emotional distress claim form       0.3   $465   $139.50
                      and her settlement check
 6/17/2020    MLS     emails re client inquiries                         0.7   $800   $560.00
                      Correspond with class member Judith Stascheit
                      regarding her questions about initial
                      remediation payment and settlement proceeds,
                      outline thoughts regarding questions to ask
 6/17/2020    LCF                                                        0.8   $445   $356.00
                      Wells Fargo regarding initial remediation, send
                      follow-up correspondence to Ms. Stascheit
                      regarding timing and anticipated next steps,
                      and review documents from her
                      E-mails with class member Joomi Lim re: her
                      application for the severe emotional distress
 6/18/2020    LPL                                                        0.2   $465   $93.00
                      fund; review weekly settlement administration
                      report from JND
                      emails re class member inquiries; review JND
 6/18/2020    MLS                                                        0.5   $800   $400.00
                      report and emails re same
 6/18/2020    RMP     Review inquiries from class members                0.2   $745   $149.00
                      Review weekly status report from JND,
                      including review Request for Exclusion from
                      JND; review severe emotional distress form
                      from Ecco Debnam, confirm not on the class
                      list, correspond with him regarding the same,
 6/18/2020    LCF     and forward form to the settlement                 0.3   $445   $133.50
                      administrator; review correspondence from non-
                      class member, Bill Warren, draft response to
                      the same directing him to contact the settlement
                      administrator; correspond with counsel for the
                      Floyd's bankruptcy trustee regarding status
                      E-mails with Wells Fargo borrowers asking
 6/22/2020    LPL                                                        0.2   $465   $93.00
                      whether they are included in the settlement
 6/22/2020    MLS     emails re class member inquiries                   0.1   $800   $80.00
                      E-mails with class member Alicia Hernandez
 6/23/2020    LPL     re: applying for a portion of the severe           0.2   $465   $93.00
                      emotional distress fund

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 6/23/2020    MLS     tel. calls and emails class members re              0.3   $800   $240.00
                      Call with class member Derrick Griswold to
 6/23/2020    LCF     answer his questions regarding settlement and       0.3   $445   $133.50
                      summarize call
 6/24/2020    MLS     emails re class member inquiries                    0.3   $800   $240.00
                      Correspond with class members, including
                      Monte Coordes and Robin Schwarten, to
                      answer questions regarding settlement,
 6/25/2020    LCF                                                         0.4   $445   $178.00
                      correspondence with JND regarding Mr.
                      Coordes' emotional distress form and follow-up
                      with him regarding same
                      Assist Cyndi Floyd with severe emotional
                      distress claim, including call with her regarding
                      claim generally and submission of medical
                      records, review documents previously received
                      from her regarding emotional distress and
                      forward to her, review medical records in file,
 6/26/2020    LCF     and locate potentially relevant records and send    1.3   $445   $578.50
                      to Ms. Floyd; correspond with JND regarding
                      emotional distress form for class member
                      Monte Coordes and follow-up correspondence
                      with Mr. Coordes to confirm resolution of
                      duplicative forms; analyze Liguori putative
                      class and filings regarding the same
                      Review class member Charles Gomez's draft
 6/29/2020    LPL     claim for emotional distress fund; e-mail to        0.4   $465   $186.00
                      Gomez re: same
                      Review class member Alicia Hernandez's
 6/29/2020    LPL     application for the severe emotional distress       0.5   $465   $232.50
                      fund; e-mails with her re: same
                      Conference call and e-mails with settlement
                      administrator and co-counsel re: update on
 6/29/2020    LPL                                                         0.5   $465   $232.50
                      emotional distress applications and
                      undeliverable notices
                      conf. call JND re class notice and emotional
 6/29/2020    MLS     distress fund filing; class member calls and        1.5   $800   $1,200.00
                      emails




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                      Review and respond to numerous inquiries
                      regarding settlement and submission of severe
                      emotional distress claim form; work on prior
                      remediation payment to Ms. Stascheit,
                      including correspond with Wells Fargo
 6/29/2020    LCF                                                        1.1   $445   $489.50
                      regarding status and update Ms. Stascheit
                      regarding efforts; correspond with Ms. Floyd
                      regarding severe emotional distress claim;
                      analyze upcoming close of notice period and
                      undeliverable notices and correspond with JND
                      Review new draft of class member Alicia
 6/30/2020    LPL     Hernandez's emotional distress application; e-     0.4   $465   $186.00
                      mails with her re: same
                      E-mails and call with class representative
                      Debora Granja re: whether emotional distress
 6/30/2020    LPL     fund checks will be made out to all co-            0.7   $465   $325.50
                      borrowers, or whether awards will be
                      individual; call with M. Schrag re: same
                      E-mails with team and JND re: further research
 6/30/2020    LPL     into class members who had undeliverable           0.4   $465   $186.00
                      class notices
                      tel. calls emails re emotional distress fund
 6/30/2020    MLS                                                        0.3   $800   $240.00
                      inquires
                      Correspond with multiple class members to
                      answer their questions regarding the settlement,
                      including call with David Luensman, review
 6/30/2020    LCF     and respond to correspondence from Tara            1.7   $445   $756.50
                      Coulter, call with Anquita Graham, Nicole
                      Timley; correspond with JND regarding
                      undeliverable notices
                      Review correspondence from class members
 6/30/2020    RMP     re: settlement; correspondence with settlement     0.2   $745   $149.00
                      administrator re: class member inquiries
                      E-mails with JND and co-counsel re: class
  7/1/2020    LPL     members with notices that were undeliverable       0.4   $465   $186.00
                      and class members who are deceased
                      E-mails with class member Darin Windsor re:
  7/1/2020    LPL     his voicemail and questions about applying for     0.2   $465   $93.00
                      severe emotional distress fund
  7/1/2020    MLS     tel. calls and emails to class members             1     $800   $800.00




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                      Continue to review and respond to class
                      member inquiries about the settlement;
                      continue to work on undeliverable notices,
                      including review information from JND
                      identifying undeliverable notices and review
                      files for any information regarding those
 7/1/2020     LCF                                                        2.1   $445   $934.50
                      individuals; call with Kimberly Wright,
                      identified as service transfer, and begin to
                      research question regarding foreclosing entity;
                      call with class member Heath Morrill to answer
                      his settlement questions; call with class
                      member Phyllis to answer her settlement
                      Further calls with class member George Brown
                      to answer questions regarding settlement;
                      review requests for exclusion from JND;
 7/2/2020     LCF                                                        0.3   $445   $133.50
                      continue to analyze undeliverable notices and
                      next steps to potentially investigate alternate
                      addresses/points of contact
                      Review emotional distress claim form from
                      class member Phyllis Shipley; analyze request
 7/2/2020     RMP                                                        0.2   $745   $149.00
                      from class member Granja to separate
                      emotional distress claim from her ex-spouse
                      E-mails with team re: additional emotional
  7/5/2020    LPL                                                        0.2   $465   $93.00
                      distress fund applications from class members
                      Review late claims for emotional distress from
 7/6/2020     RMP                                                        0.1   $745   $74.50
                      class members; analyze response
                      Emails with L. Lam and M. Schrag re
  7/7/2020     JJB                                                       0.2   $580   $116.00
                      emotional distress claims
                      E-mails with M. Schrag and J. Bloomfield re:
                      inquiries about certain borrowers who might be
  7/7/2020    LPL                                                        0.2   $465   $93.00
                      class members and submitted emotional
                      distress claims
                      Review potential class member / co-borrower
 7/7/2020     RMP                                                        0.1   $745   $74.50
                      inquiries
 7/8/2020     RMP     Evaluate issues raised by class members            0.2   $745   $149.00
                      emails JND re opt outs and finding all class
  7/9/2020    MLS                                                        0.7   $800   $560.00
                      members; conf. call Team re same
                      Review status of class members who did not
 7/9/2020     RMP                                                        0.3   $745   $223.50
                      receive class notice; analyze plan to reach them
                      Work on delivering notice to remaining class
 7/9/2020     LCF                                                        0.4   $445   $178.00
                      members and analyze next steps with JND
                      Call with class member John Kunzelman to
 7/13/2020    LCF     answer his questions regarding severe              0.2   $445   $89.00
                      emotional distress claim



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                      Emails and call with L. Lam, JND and defense
 7/14/2020     JJB                                                       0.5   $580   $290.00
                      counsel re emotional distress claims
                      Call with JND and co-counsel re: status of
 7/14/2020    LPL     tracking down class members who JND could          0.6   $465   $279.00
                      not originally find
                      E-mails and call with J. Bloomfield, JND, and
                      defense counsel re: class member Dawn Elder's
 7/14/2020    LPL                                                        0.5   $465   $232.50
                      circumstances and reviewing emotional distress
                      claims from non-class members
                      conf. call JND re locating all class members;
                      conf. call C. Yanni and Ag re emotional
 7/14/2020    MLS                                                        1.7   $800   $1,360.00
                      distress fund; emails re same; tel. call R. Paul
                      re same; tel. call D. Ag re same
 7/14/2020    RMP     Address issues raised re: emotional distress       0.1   $745    $74.50
                      Continue to work on undeliverable notices and
 7/14/2020    LCF     deceased plaintiffs; call with JND to analyze      0.3   $445   $133.50
                      next steps to locate plaintiffs
                      Review and analyze Yanni's decisions on
 7/15/2020    LPL     emotional distress claims; confer with M.          0.5   $465   $232.50
                      Schrag re: same
                      E-mails with defense counsel and JND re:
 7/15/2020    LPL     whether emotional distress checks should be        0.3   $465   $139.50
                      payable to only the borrower who applied
                      E-mails with class members Brent Zollman and
 7/15/2020    LPL     Debora Granja re: their applications for the       0.3   $465   $139.50
                      emotional distress fund
                      emails and tel. calls Team and D. Ag re severe
 7/15/2020    MLS     emotional distress fund; conf. call R. Paul and    0.5   $800   $400.00
                      D. Ag re same
                      Call with class member to answer questions
 7/15/2020    LCF                                                        0.1   $445    $44.50
                      regarding settlement
                      E-mails with A. Mura re: results of emotional
 7/16/2020    LPL                                                        0.2   $465    $93.00
                      distress claims process
                      Work with JND on emotional distress
                      determination letters and making sure they're
 7/16/2020    LPL                                                        1.6   $465   $744.00
                      mailed out to the correct class members; review
                      and analyze list of determinations
                      emails and tel. calls re emotional distress fund
 7/16/2020    MLS                                                        0.8   $800   $640.00
                      distributions and cover letter;




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                      Continue to work on notice to undeliverable
                      class members and potentially deceased class
                      members; work on determination of emotional
                      distress award and notifying class members,
 7/16/2020    LCF     including review and analyze draft cover letter      0.8   $445   $356.00
                      from JND; respond to inquiries from class
                      members regarding settlement status and
                      answer questions; continue to work on Reply in
                      Support of Final Approval
                      Conference call with M. Schrag and co-counsel
                      re: status of notice going out to class members,
 7/17/2020    LPL                                                          0.8   $465   $372.00
                      emotional distress claims, and final approval
                      reply brief
                      E-mails with class members re: updates on the
 7/17/2020    LPL     settlement approval process and their claims         0.6   $465   $279.00
                      for severe emotional distress
                      Conf call team re locating class members and
 7/17/2020    MLS     documents to submit w/ final approval reply;         0.7   $800   $560.00
                      emails re same
                      Work on various settlement administration
                      issues, including follow-up with Ms. Stascheit
                      regarding status of response from Wells Fargo,
                      review update from special master regarding
                      determination of emotional distress awards and
 7/17/2020    LCF                                                          0.6   $445   $267.00
                      how to finalize for JND to mail determination
                      letters; work on Reply in Support of Final
                      Approval, including outline information
                      potentially needed to finalize Reply and
                      declaration in support
                      Call with M. Schrag and JND re: status of
                      finding updated addresses or next-of-kind for
 7/20/2020    LPL                                                          0.5   $465   $232.50
                      four remaining class members with
                      undeliverable notices
                      E-mails with M. Schrag and JND re: cover
                      letter to go with notices being mailed out late to
 7/20/2020    LPL                                                          0.4   $465   $186.00
                      class members whose original notices were
                      returned as undeliverable
                      E-mails with JND for clarification on the final
 7/20/2020    LPL     number of undeliverable notices and our efforts      0.4   $465   $186.00
                      to find updated addresses
                      Work on letter to class members whose address
 7/20/2020    RMP                                                          0.2   $745   $149.00
                      was identified after close of opt out period
                      Work on undeliverable notices and potentially
 7/20/2020    LCF     deceased plaintiffs and discuss further efforts to   0.2   $445   $89.00
                      reach the same with JND

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                      E-mails with team and class member Brent
 7/22/2020    LPL     Zollman re: response from class members on       0.3   $465   $139.50
                      their emotional distress awards
                      Analyze timing of payments to class members
                      and discrepancy compared to settlement
 7/23/2020    LCF                                                      0.4   $445   $178.00
                      agreement and approval briefing and other
                      issues related to final approval
                      Call with class member Erick King re: his
 7/24/2020    LPL     settlement check; follow-up e-mail to JND re:    0.4   $465   $186.00
                      same
                      Review and analyze weekly status report;
 7/24/2020    LCF                                                      0.1   $445   $44.50
                      confirm all undeliverables now remailed
                      Call with class member Darin Windsor re: his
 7/27/2020    LPL     allocation of the severe emotional distress      0.9   $465   $418.50
                      fund; call with co-counsel R. Paul re: same
                      Analyze response to inquiry from class member
 7/27/2020    RMP                                                      0.1   $745   $74.50
                      re: emotional distress award
 7/28/2020     JJB    Emails with team re class member Lisa Cobren     0.4   $580   $232.00
                      E-mails with J. Bloomfield and L. Fellows re:
 7/29/2020    LPL     inquiry from class member Lisa Cobren on         0.4   $465   $186.00
                      filing a late claim for emotional distress
                      E-mails with client A. Hernandez re: the
 7/29/2020    LPL     settlement's value as compared to a different    0.3   $465   $139.50
                      settlement
                      Correspond with class member Lisa Cobren to
 7/29/2020    LCF     answer her questions regarding settlement and    0.3   $445   $133.50
                      severe emotional distress form
                      Review and respond to class member inquiries
 7/31/2020    LCF                                                      0.2   $445   $89.00
                      regarding settlement
                      Review settlement administrator report;
 8/1/2020     RMP                                                      0.1   $745   $74.50
                      analyze response to late emotional distress
                      E-mails with JND re: number of emotional
  8/3/2020    LPL     distress decisions that were appealed, and       0.2   $465   $93.00
                      upcoming filing on class notice
                      Call with class member Judith Stascheit
                      regarding original remediation payment and
                      timing for Wells Fargo to follow-up regarding
 8/3/2020     LCF                                                      0.3   $445   $133.50
                      the same; draft and send follow-up
                      correspondence to Wells Fargo regarding Ms.
                      Stascheit
                      conf. call JND re notice reach, late emotional
  8/6/2020    MLS     distress claims and declaration; review          1     $800   $800.00
                      declaration; emails re same




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                      Correspond with class member Rhonda Roberts
                      to answer her questions regarding severe
 8/6/2020     LCF                                                        0.2   $445   $89.00
                      emotional distress fund; follow-up with JND
                      regarding the same
                      Correspondence re: settlement administration
 8/6/2020     RMP                                                        0.2   $745   $149.00
                      and final approval
                      Review correspondence to and from settlement
 8/7/2020     RMP     administrator and from class members with          0.2   $745   $149.00
                      settlement questions
                      Work on confirming Rhonda Roberts is a class
                      member/co-borrower and able to get
                      information from JND regarding settlement,
 8/7/2020     LCF                                                        0.2   $445   $89.00
                      including follow-up with JND to confirm and
                      follow-up with Ms. Roberts to confirm
                      resolution
  8/9/2020    MLS     review Yanni determinations; emails re same        0.3   $800   $240.00
                      Call with class member Calvin Simmons to
 8/10/2020    LPL     give him an update on the settlement approval      0.3   $465   $139.50
                      process
                      Review and respond to Ms. Stascheit regarding
 8/10/2020    LCF     review of her request for initial remediation      0.1   $445   $44.50
                      payment
                      Work on JND's declaration, including review
                      Ms. Lam's proposed edits, confirm no further
 8/10/2020    LCF                                                        0.3   $445   $133.50
                      edits; work on further emotional distress forms
                      and late submissions
                      Work on undeliverables and late submissions
                      of economic distress forms, including
                      correspond with settlement administrator
 8/11/2020    LCF                                                        0.5   $445   $222.50
                      regarding next steps; work on initial check to
                      Ms. Stascheit and Wells Fargo's response to the
                      same, including outline thoughts regarding next
 8/12/2020    RMP     Correspondence re: settlement administration       0.1   $745   $74.50
                      Call with class member Richard Shipley to
 8/14/2020    LPL                                                        0.4   $465   $186.00
                      update him on the settlement approval process
 8/15/2020    MLS     emails re settlement status                        0.3   $800   $240.00
                      Correspond with Ms. Gladman regarding final
 8/18/2020    LCF                                                        0.1   $445   $44.50
                      approval hearing and next steps
                      Call with Wells Fargo's counsel re: addressing
                      court's concerns from the final approval hearing
 8/20/2020    LPL                                                        0.5   $465   $232.50
                      today on the 16 class members who have not
                      received notice
                      Conf. call with JND, defense counsel, and M.
 8/20/2020    LPL     Schrag re: additional efforts to locate the 16     0.6   $465   $279.00
                      class members who have not yet received

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                      E-mails with class members Charles Gomez
 8/20/2020    LPL     and Brent Zollman re: update from this             0.3   $465   $139.50
                      morning's final approval hearing and next steps
                      Review message from class member Clara
                      Holmes, including confirm class membership,
 8/20/2020    LCF                                                        0.1   $445    $44.50
                      and return call to answer her questions
                      regarding settlement
 8/21/2020     JJB    Call with team re unfound class members            0.6   $580   $348.00
                      E-mails with certain class members to provide
 8/21/2020    LPL     them an update on yesterday's final approval       0.7   $465   $325.50
                      hearing
                      Conf. call with M. Schrag, J. Bloomfied, and
                      co-counsel re: how to address Judge Alsup's
 8/21/2020    LPL                                                        0.6   $465   $279.00
                      concerns about the 16 class members whose
                      notices were returned as undeliverable
                      Correspond with Ms. Floyd to answer her
 8/21/2020    LCF                                                        0.1   $445    $44.50
                      questions about settlement approval status
                      Work on updating settlement website to reflect
                      new hearing date, including correspond with
 8/21/2020    LCF                                                        0.1   $445    $44.50
                      JND regarding need for update, and review
                      updated website to confirm accuracy
                      Call with team re plan for locating unfound
 8/24/2020     JJB                                                       0.8   $580   $464.00
                      class members
                      E-mails with team re: class member inquiries
 8/24/2020    LPL     about final approval and locating class            0.2   $465    $93.00
                      members whose notices were returned as
                      E-mails and calls with class members asking
 8/24/2020    LPL                                                        0.8   $465   $372.00
                      for an update on the final approval hearing
                      Conf. call with M. Schrag, J. Bloomfield, and
                      co-counsel re: proposed plan for reaching out
 8/24/2020    LPL     to 16 class members with undeliverable notices     0.8   $465   $372.00
                      and whether to allow them to apply for
                      emotional distress funds
                      Work on plan for dealing with unreached class
 8/24/2020    RMP                                                        1.5   $745   $1,117.50
                      members
                      Work on resolution of initial remediation
                      payment for Ms. Stascheit, including call with
                      Ms. Ireland and Ms. Brinson regarding Wells
 8/24/2020    LCF                                                        0.6   $445   $267.00
                      Fargo's response to her request for that payment
                      and additional information/next steps for Wells
                      Fargo to verify her eligibility for the payment
                      Call with class member Steve Schmeltzer re:
 8/25/2020    LPL     update on the status of final approval and our     0.2   $465    $93.00
                      search for the 16 unfound class members

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                      Correspond with Ms. Stascheit regarding
                      further update about initial remediation
 8/27/2020    LCF     payment and potential settlement payment,            0.2   $445    $89.00
                      including status of Wells Fargo's investigation
                      into her request for remediation payment
                      Analyze JND/WF spreadsheet with information
                      about 16 unfound class members; telephone
                      calls and emails to those class members; conf.
 8/28/2020    MLS                                                          4     $800   $3,200.00
                      call WF re same; conf. call J. Bloomfield and
                      L. Fellows re same and discuss pre 9/17 filing
                      or status conf.
                      Work on locating accurate addresses and
                      resending notices to undeliverable class
 8/28/2020    LCF                                                          0.9   $445   $400.50
                      members, including analyze additional contact
                      information from JND and Wells Fargo
 8/29/2020    MLS     tel. calls and emails re finding class members       0.5   $800   $400.00
 8/31/2020    JJB     Call with team re unfound class members              0.3   $580   $174.00
                      Conf. call with team and co-counsel re: next
 8/31/2020    LPL     steps on sending notice and dealing with funds       0.3   $465   $139.50
                      for 16 unfound class members
                      Review and analyze e-mails among JND,
                      defense counsel, and M. Schrag re: tracking
 8/31/2020    LPL                                                          0.4   $465   $186.00
                      down remaining 16 unfound class members
                      and next steps in terms of sending them notice
                      tel. call L. Lam re finding class members; draft
                      summary of status of searches; conf. call WF
 8/31/2020    MLS                                                          1.7   $800   $1,360.00
                      counsel re next steps in sending notice; tel. call
                      R. Paul re same.
                      Call with class member Calvin Simmons to
  9/1/2020    LPL     give him an update on the settlement approval        0.2   $465    $93.00
                      process
  9/1/2020    MLS     tel. call JND; emails re finding class members       0.8   $800   $640.00
                      Call and e-mails with M. Schrag re: total
  9/2/2020    LPL     number of emotional distress appeals that            0.4   $465   $186.00
                      Cathy Yanni needs to review
                      conf. call C. Yanni and L. Lam re processing
                      class member reconsiderations for emotional
  9/2/2020    MLS     distress claims; emails JND re finding class         1.7   $800   $1,360.00
                      members and sending notice; tel. calls L. Lam
                      and R. Paul re same
                      E-mails with class member Colleen Marchese
  9/3/2020    LPL     to provide her with an update on the settlement      0.2   $465    $93.00
                      approval process
                      Contact with Eddie Rivera about case status
 9/4/2020     RPN                                                          0.2   $240    $48.00
                      and address update

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                      Correspond with class member Kimberly
 9/4/2020     LCF     Gladman regarding settlement and approval            0.1   $445    $44.50
                      status
                      Further correspond with Ms. Brinson and Ms.
                      Ireland regarding class member Ms. Stascheit
 9/4/2020     LCF     and receipt of the initial remediation payment;      0.2   $445    $89.00
                      correspond with JND regarding class member
                      address update
                      Research how to retrieve unclaimed funds (i.e.
                      Wells Fargo's remediation check) for class
  9/9/2020    LPL                                                          0.5   $465   $232.50
                      member Sam McGiveron; e-mail to defense
                      counsel re: same
                      E-mails with class member Patrice Hill re:
 9/10/2020    LPL     providing her an update on the settlement            0.1   $465    $46.50
                      approval process
                      Call with team re locating next of kin for
 9/11/2020     JJB                                                         0.2   $580   $116.00
                      deceased class members
                      E-mails with class member Joomi Lim to
 9/11/2020    LPL                                                          0.2   $465    $93.00
                      update her on the status of settlement approval
                      Conf. call with M. Schrag, co-counsel, and
 9/11/2020    LPL     JND re: status of finding next-of-kin for four       0.2   $465    $93.00
                      deceased class members
                      Draft joint supplemental brief in support of
 9/11/2020    LPL     final approval re: the 16 unfound class              2.6   $465   $1,209.00
                      members; call with M. Schrag re: same
                      Check and confer with M. Schrag re: whether
                      we've thoroughly searched for co-borrowers for
 9/11/2020    LPL                                                          0.5   $465   $232.50
                      the four deceased class members with no next-
                      of-kin
                      work on WF order; review spreadsheets re co-
 9/11/2020    MLS     borrowers emails re same; conf. call re 9/17         1.7   $800   $1,360.00
                      filing; conf. call re deceased class members
                      Continue to work on finding deceased class
                      members and undeliverables, including review
 9/11/2020    LCF     and analyze additional information from Wells        0.4   $445   $178.00
                      Fargo and correspond with JND regarding
                      additional efforts to reach these class members
                      Call with M. Schrag and e-mails with JND re:
                      missing emotional distress claim appeal;
 9/14/2020    LPL                                                          0.7   $465   $325.50
                      review JND's declaration for upcoming joint
                      filing in support of final approval
                      emails and tel. calls re emotional distress
                      appeals; work on 9/17 filing; review/edit JND
 9/14/2020    MLS                                                          2.2   $800   $1,760.00
                      declaration; conf. call WF counsel re filing; tel.
                      calls and emails L. Lam and L. Fellows re same

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                      Calls with class members Erick King and
 9/17/2020    LPL     Christopher Booth to update them on the           0.5   $465   $232.50
                      settlement approval process
                      E-mails with class member Monte Hughes to
 9/21/2020    LPL                                                       0.2   $465   $93.00
                      update him on the status of the case
                      E-mails with class member Gina Russell to
 9/23/2020    LPL                                                       0.2   $465   $93.00
                      give her an update on the case
                      Further correspond with Ms. Brinson and Ms.
 9/28/2020    LCF     Ireland regarding Ms. Stascheit and finalizing    0.1   $445   $44.50
                      her remediation payment
                      Call to class member Sam McGiveron about
                      his remediation check in state's unclaimed
 9/29/2020    LPL                                                       0.4   $465   $186.00
                      property fund; e-mail to D. Kwan about getting
                      the corresponding form sent to his home
                      email L. Lam re class member remediation
 9/29/2020    MLS                                                       0.2   $800   $160.00
                      payment; email A. Mura re hearing
                      Correspond with Ms. Brinson and Ms. Ireland
 9/29/2020    LCF     regarding further resolution of Ms. Stascheit's   0.2   $445   $89.00
                      claim for remediation funds
                      E-mails to class members Alicia Hernandez,
                      Debora Granja, and Mary Brandt Anderson to
 10/1/2020    LPL                                                       0.4   $465   $186.00
                      update them on the continued final approval
                      hearing
                      E-mails with class rep D. Granja and confer
                      with M. Schrag re: whether it would be
 10/1/2020    LPL                                                       0.4   $465   $186.00
                      appropriate to ask JND to cut separate checks
                      for Granja and her co-borrower
                      Draft proposed client update, including analyze
 10/1/2020    LCF                                                       0.3   $445   $133.50
                      prior updates
                      E-mails to class members Brent Zollman and
 10/2/2020    LPL     Diana Trevino to update them on the continued     0.2   $465   $93.00
                      final approval hearing
                      E-mails with class members D. Granja and C.
 10/5/2020    LPL     Enis about asking JND to cut separate checks      0.4   $465   $186.00
                      for their economic damages settlement amount
                      E-mails with class member K. Rodall and call
 10/5/2020    LPL     with class member Calvin Simmons to update        0.5   $465   $232.50
                      them on the settlement approval process
                      Review and respond to correspondence from
                      class member Heriberto Rivera regarding
 10/5/2020    LCF                                                       0.1   $445   $44.50
                      address update and correspond with JND
                      regarding address update
                      E-mails and call to class member Jim Wicht to
 10/6/2020    LPL                                                       0.3   $465   $139.50
                      update him on the settlement approval process



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                      Correspond with the Floyds' bankruptcy trustee
 10/6/2020    LCF                                                       0.1   $445    $44.50
                      regarding final approval hearing
                      Review final update correspondence to clients
 10/6/2020    LCF                                                       0.1   $445    $44.50
                      and specific client responses to the same
                      E-mails with several class members to update
 10/7/2020    LPL                                                       0.6   $465   $279.00
                      them on today's final approval hearing
                      Calls and e-mails with class members to inform
                      them of how yesterday's final approval hearing
 10/8/2020    LPL                                                       2.4   $465   $1,116.00
                      went, and when they might expect to receive
                      their settlement checks
                      E-mails with class member Debora Granja and
                      JND re: splitting Granja's economic damages
 10/8/2020    LPL                                                       0.3   $465   $139.50
                      check with her co-borrower, Craig Enis, and
                      getting her address updated in JND's records
                      E-mails with class members to update them on
 10/9/2020    LPL                                                       0.6   $465   $279.00
                      the settlement approval process
 10/9/2020    RPN     Contact with Alesia Thornhill for case status     0.1   $240    $24.00
                      E-mails with class member Brent Zollman to
 10/10/2020   LPL                                                       0.1   $465    $46.50
                      update him on the settlement approval process
                      E-mail and calls with class members re: update
 10/12/2020   LPL     on the status of getting final approval for the   0.4   $465   $186.00
                      settlement
                      Calls and e-mails with class members to give
 10/13/2020   LPL     them an update on final approval and when         0.9   $465   $418.50
                      checks will be mailed out
                      E-mails with co-counsel re: conferring with
 10/13/2020   LPL     Wells Fargo on dates for getting settlement       0.3   $465   $139.50
                      checks out to class members
                      Analyze remaining settlement administration
10/13/2020    LCF     deadlines, including analyze order granting       0.7   $445   $311.50
                      final approval of settlement
                      Review and respond to Mr. Wicht regarding
                      case status; correspond with Mr. Seitzer,
10/13/2020    LCF     bankruptcy trustee for the Floyds, regarding      0.4   $445   $178.00
                      final approval, next steps, and amounts
                      allocation to the Floyds
                      E-mails with class representative D. Granja re:
 10/14/2020   LPL     timing on payment of settlement funds to class    0.2   $465    $93.00
                      members
                      Send summary of attorney fee award and
10/14/2020    LCF                                                       0.1   $445    $44.50
                      awards to Mr. and Mrs. Floyd to Mr. Seitzer




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                      Work on remaining settlement administration
                      dates such as timing to issue payments and
                      check stale date, including outline thoughts
                      regarding dates and circulate to Wells Fargo for
10/14/2020    LCF     review and confirmation of agreement; send         0.7   $445   $311.50
                      JND final approval order to update settlement
                      website; work on filing partially redacted class
                      list pursuant to Judge Alsup's final approval
                      order
                      E-mails with defense counsel and administrator
 10/15/2020   LPL     re: timeline for payments to class members and     0.3   $465   $139.50
                      funding
                      Calls with class members to update them on
 10/15/2020   LPL     final approval and settlement check distribution   0.6   $465   $279.00
                      date; e-mails with JND re: same
                      Contact with Alesia Thornhill about Court's
10/15/2020    RPN                                                        0.1   $240   $24.00
                      approval of settlement
10/15/2020    RMP     Work on closing out settlement                     0.3   $745   $223.50
10/16/2020    RMP     Work on settlement                                 0.2   $745   $149.00
                      E-mails with class member Marisol Martinez
 10/19/2020   LPL                                                        0.1   $465   $46.50
                      re: updating her on final settlement approval
                      Correspond with JND regarding location to
10/19/2020    LCF     which Mr. and Mrs. Floyd’s payments to be          0.1   $445   $44.50
                      sent
                      Correspond with Ms. Gladman regarding final
 10/19/2020   LCF                                                        0.1   $445   $44.50
                      approval
                      Correspond with Ms. Gladman regarding final
10/19/2020    LCF                                                        0.1   $445   $44.50
                      approval
                      Emails with team re class members with
 10/20/2020    JJB                                                       0.1   $580   $58.00
                      bankruptcy trustees
                      Draft update e-mail blast to clients/class
 10/20/2020   LPL                                                        0.4   $465   $186.00
                      members on final settlement approval
                      E-mails with J. Bloomfield and L. Fellows re: a
 10/20/2020   LPL     class member's check being made out to their       0.1   $465   $46.50
                      bankruptcy trustee instead of to them
                      Work on obtaining bankruptcy court approval
10/20/2020    LCF     for Mr. and Mrs. Floyd, including review draft     0.2   $445   $89.00
                      motion from bankruptcy trustee counsel
                      Work on getting e-mail update out to clients on
 10/21/2020   LPL     final settlement approval and when checks will     0.7   $465   $325.50
                      be mailed out
                      Calls with client Dwayne St. Ours re: updating
 10/21/2020   LPL                                                        0.2   $465   $93.00
                      him on final settlement approval
                      review/edit client email and Floyd BK fee
 10/21/2020   MLS                                                        0.3   $800   $240.00
                      statement

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                      E-mails with JND re: address updates for
 10/22/2020   LPL     certain class members; e-mails with class            0.5   $465   $232.50
                      members re: same
                      E-mails with class member Eric Cyr re: the
                      deadline for applying for emotional distress
 10/26/2020   LPL                                                          0.3   $465   $139.50
                      funds, and the settlement notice that JND sent
                      him in the mail
                      tel. calls E. Gibbs and A. Mura re expanding
                      class size and re-opening settlement. Tel. call
                      R. Paul re same; conf. call WF counsel re
 10/26/2020   MLS     same; Legal research re reopening settlement;        4.2   $800   $3,360.00
                      review C. Bell depo re same; emails re finding
                      discovery responses and all versions of CIT
                      charts
                      E-mails with class member Tina Coutley and
 10/28/2020   LPL     M. Schrag re: the settlement check being made        0.2   $465    $93.00
                      out to Tina's father's estate or her (as his heir)
                      E-mails with class member's heir Tina Coutley
 10/29/2020   LPL     re: working with JND to have her father's            0.4   $465   $186.00
                      settlement check made out to her
                      E-mails with class member Charlene Waters re:
 10/31/2020   LPL                                                          0.1   $465    $46.50
                      update on the status of the case
                      Call with team re distribution of settlement
 11/12/2020    JJB                                                         0.5   $580   $290.00
                      checks
                      Conf. call with M. Schrag, J. Bloomfield, and
 11/12/2020   LPL     co-counsel re: working with JND to distribute        0.5   $465   $232.50
                      settlement funds
                      review L. Fellows email re distribution; draft
 11/12/2020   MLS     follow up email; conf. call Team re distribution     1.2   $800   $960.00
                      plans; draft email to WF counsel re same
                      Conf. call with M. Schrag and JND's Ryan
                      Bahry re: logistics on WF funding the
 11/13/2020   LPL                                                          0.5   $465   $232.50
                      settlement and distributing money to class
                      members; follow-up call with M. Schrag re:
                      E-mails with class members re: confirming
 11/13/2020   LPL                                                          0.5   $465   $232.50
                      address information for their settlement checks
                      Review and analyze spreadsheet of class
                      members with their co-borrowers and their
 11/13/2020   LPL                                                          0.6   $465   $279.00
                      mailing addresses; e-mail to team about
                      potential errors on the spreadsheet
                      conf call JND and L. Lam re distribution;
 11/13/2020   MLS     review emails re co-borrowers re distribution;       1.2   $800   $960.00
                      tel. call L. Lam re same
                      Phone meeting with L .Lam and M. Schrag re:
 11/16/2020   EER                                                          0.2   $300    $60.00
                      dividing up additional funds

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 11/16/2020   EER     Review spreadsheet for L. Lam                      0.6   $300   $180.00
                      Calls and e-mails with M. Schrag, E. Rhodes,
                      and co-counsel re: reallocating the remaining
 11/16/2020   LPL                                                        1.4   $465   $651.00
                      $386k in funds across class members to get
                      their total economic damages amounts
                      Review JND's list of class member co-
                      borrowers and their mailing addresses for
 11/16/2020   LPL                                                        0.9   $465   $418.50
                      possible errors; e-mails with co-counsel and
                      JND re: same
 11/16/2020   MLS     emails L. Lam and JND re distribution              0.2   $800   $160.00
                      E-mail to JND re: cross-checking list of class
 11/17/2020   LPL     members and their co-borrowers for purposes        0.4   $465   $186.00
                      of settlement checks; review the same
                      Conference call with defense counsel, co-
                      counsel, and M. Schrag re: plan for distribution
 11/18/2020   LPL     of settlement checks, and status on gathering      0.9   $465   $418.50
                      information on new class members; e-mails
                      with team re: same
                      E-mails with class member Joomi Lim to
 11/18/2020   LPL     update her on the status of the settlement         0.2   $465   $93.00
                      approval process
                      Update calculation spreadsheet. Propose
 11/19/2020   EER     solution to rounding error and once approved       1     $300   $300.00
                      apply and recirculate.
                      Review and analyze list of class members and
                      co-borrowers and their addresses for purposes
 11/19/2020   LPL                                                        0.9   $465   $418.50
                      of the settlement checks; e-mail to JND and co-
                      counsel re: same
                      Work with co-counsel L. Fellows and E.
 11/19/2020   LPL     Rhodes to finalize economic damages amounts        0.8   $465   $372.00
                      for each class member
                      review emails re distribution amounts and plan;
 11/19/2020   MLS                                                        0.7   $800   $560.00
                      tel. calls L. Lam re same;
                      E-mails with class member Janet Jenkins to
 11/21/2020   LPL                                                        0.2   $465   $93.00
                      answer her questions about the settlement
                      Review court order staying disbursement of
 11/22/2020   RMP                                                        0.1   $745   $74.50
                      settlement; analyze strategy
                      Call with M. Schrag and e-mails with team and
                      defense counsel re: freezing distributions of
 11/23/2020   LPL                                                        1.4   $465   $651.00
                      any settlement funds and notifying class
                      members accordingly




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                      E-mails with class member Janet Jenkins re:
                      the amount of her share of the economic
 11/23/2020   LPL     damages fund; follow-up with L. Fellows and         0.4   $465   $186.00
                      Wells Fargo on the amount of remediation she
                      received
                      E-mails with team and defense counsel re:
 11/23/2020   LPL     updating settlement website to reflect freezing     0.3   $465   $139.50
                      of settlement funds
                      E-mails with class members re: update on the
 11/24/2020   LPL     status of settlement approval and their             0.2   $465    $93.00
                      settlement checks
                      E-mails with class members to update them on
 11/25/2020   LPL     the freezing of settlement fund distributions for   0.4   $465   $186.00
                      the time being
                      Calls and e-mails with class members to
                      answer their questions on settlement checks not
 11/30/2020   LPL                                                         1.9   $465   $883.50
                      going out today and the status conference set
                      for tomorrow morning
                      E-mails and calls with settlement administrator,
 12/1/2020    LPL     class members, and co-counsel re: resuming          2.4   $465   $1,116.00
                      distribution of settlement funds
                      Work with U. Chavez to call back Spanish-
 12/2/2020    LPL     speaking class member Irma Maria Berdinez           0.4   $465   $186.00
                      Dia
                      E-mails with class members to update them on
 12/2/2020    LPL                                                         0.3   $465   $139.50
                      the status of settlement check distribution
                      E-mails with class member Keith Rodall re:
 12/3/2020    LPL                                                         0.1   $465    $46.50
                      status of JND mailing out settlement checks
                      Call to class member Dwayne St. Ours to
 12/4/2020    LPL     update him on the status of settlement checks       0.2   $465    $93.00
                      getting mailed out
                      E-mails and calls with class members and JND
 12/7/2020    LPL     re: status of settlement checks being mailed out    0.5   $465   $232.50
                      today
                      E-mails with class members to update them on
 12/8/2020    LPL                                                         0.2   $465    $93.00
                      the status of settlement checks being mailed out
                      E-mails and calls with class members to update
 12/9/2020    LPL     them on the status of settlement checks being       0.8   $465   $372.00
                      mailed out
                      E-mails with class members to answer their
 12/10/2020   LPL                                                         1.1   $465   $511.50
                      questions on the status of their settlement
                      Call with L. Fellows re: final amounts of class
 12/10/2020   LPL                                                         0.3   $465   $139.50
                      members' settlement checks
                      E-mails and calls with class members re: the
 12/11/2020   LPL                                                         0.6   $465   $279.00
                      status of their settlement checks

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                      tel. calls and emails w/ class members and JND
 12/11/2020   MLS                                                         0.3   $800   $240.00
                      re settlement checks
                      emails L. Fellows email and distribution
 12/11/2020   MLS                                                         0.2   $800   $160.00
                      schedule w/ proposed report deadlines
                      Confer with M. Schrag and call with JND re:
 12/14/2020   LPL     whether JND intends to issue 1099s for class        0.5   $465   $232.50
                      members' settlement amounts
                      E-mails and calls with class members to answer
 12/14/2020   LPL     their questions about the status of their           0.6   $465   $279.00
                      settlement checks
                      emails class members re payments; emails L.
 12/14/2020   MLS                                                         0.3   $800   $240.00
                      Lam and JND re 1099s
                      Calls with class members to answer questions
 12/15/2020   LPL     about the status of their settlement checks; e-     0.4   $465   $186.00
                      mails with JND re: same
 12/15/2020   MLS     emails re class member distribution inquiries       0.2   $800   $160.00
                      Confer with M. Schrag and e-mails with JND
                      re: class member Jennifer Brehony's check that
 12/16/2020   LPL                                                         0.5   $465   $232.50
                      should be split with her co-borrower; call to co-
                      borrower R. Mendoza
                      Calls with class member Calvin Simmons re:
 12/16/2020   LPL     questions on why his settlement check is slow       0.3   $465   $139.50
                      to clear
                      tel calls and emails w/ class members re status
 12/16/2020   MLS     of checks; emails and tel. calls Team re            0.8   $800   $640.00
                      distribution issues w/ divorced class members
 12/17/2020   MLS     emails re distribution issues                       0.2   $800   $160.00
                      E-mails and call to class member Jennifer
 12/21/2020   LPL     Brehony re: possibly splitting up her settlement    0.3   $465   $139.50
                      amount between her and her co-borrower
                      E-mails and calls with JND, M. Schrag, and
                      class member Jennifer Brehony re: re-issuing
 12/22/2020   LPL                                                         0.8   $465   $372.00
                      her settlement check and discussing the same
                      with her co-borrower
                      emails and tel. calls L. Lam, L. Fellows and R.
 12/22/2020   MLS     Mendoza re distribution issue for divorced          0.8   $800   $640.00
                      couple; review draft agreement resolving issue
                      Calls with class member Richard Mendoza re:
 12/29/2020   LPL     signing an agreement for a split of his             0.4   $465   $186.00
                      settlement amount with his co-borrower
                      E-mails with JND and team re: responding to
  1/4/2021    LPL     class member Edwin Suazo's inquiry on why           0.2   $465   $93.00
                      his co-borrower is also on his settlement check
                      emails and tel. call L. Lam re class member
  1/4/2021    MLS                                                         0.3   $800   $240.00
                      inquiry re co-borrower

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                      Call with class member Edwin Suazo re: his
                      settlement check being made jointly payable to
  1/6/2021    LPL                                                           1.2   $465   $558.00
                      him and his co-borrower; follow-up e-mail to
                      him re: same
                      Calls with M. Schrag and settlement
                      administrator re: class member Edwin Suazo's
  1/6/2021    LPL                                                           0.9   $465   $418.50
                      settlement check being made jointly payable to
                      him and his co-borrower
                      tel. calls L. Lam re class member inquiry re co-
                      borrower; emails re same; review JND call
  1/6/2021    MLS                                                           0.8   $800   $640.00
                      history re same; tel. calls and emails w expert
                      re bills and retainer
                      Conference call with M. Schrag, R. Paul, and
                      L. Fellows re: how to address Brian Kelley's
  1/7/2021    LPL                                                           0.4   $465   $186.00
                      $7,500 retainer with respect to the settlement
                      fund
                      Conference call with M. Schrag, E. Gibbs, and
                      G. Munroe re: Brian Kelley's $7,500 retainer
  1/7/2021    LPL                                                           0.4   $465   $186.00
                      and how to address it in terms of the settlement
                      fund
                      tel. calls E. Gibbs and R. Paul re expert retainer
  1/7/2021    MLS                                                           0.5   $800   $400.00
                      issue
                      Call with L. Lam re: additional pro rata
 1/11/2021    EER                                                           0.2   $300   $60.00
                      distribution of overstated costs.
                      Draft notice to the Court re: unused $7,500
 1/11/2021    LPL     retainer fee for Brian Kelley; calls with JND         1.2   $465   $558.00
                      and E. Rhodes re: same
                      work on filing re expert retainer fee; tel. calls
 1/11/2021    MLS                                                           1     $800   $800.00
                      L. Lam re same
                      Help L. Lam with extra funds distribution on
 1/12/2021    EER                                                           0.5   $300   $150.00
                      pro rata basis.
                      Edits to request for supplemental distribution
 1/12/2021    LPL     of $7500 and review pro rata amounts per class        0.9   $465   $418.50
                      member; prepare proposed order for the same
                      E-mails with JND re: the status of resolving
                      class member Edwin Suazo's concern about his
 1/12/2021    LPL                                                           0.2   $465   $93.00
                      settlement check being made out to both co-
                      borrowers
                      review/edit filing and proposed order re expert
 1/12/2021    MLS     retainer fee; review data; emails and tel. calls re   0.7   $800   $560.00
                      same
                      Edit draft stip re overpayment; confer with
 1/13/2021    AMM                                                           0.6   $720   $432.00
                      team re same
 1/13/2021    EHG     review and comment on further distribution            0.4   $910   $364.00



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                      Further edits to request for supplemental
 1/13/2021    LPL     distribution of $7500 to class members; calls      0.5   $465   $232.50
                      with M. Schrag and JND re: same
                      work on expert retainer distribution filing;
 1/13/2021    MLS                                                        1.5   $800   $1,200.00
                      emails re same
                      E-mails with defense counsel and call with
 1/14/2021    LPL     JND re: distributing additional $7500 to class     0.4   $465   $186.00
                      members
                      emails and tel. calls re expert retainer
 1/14/2021    MLS                                                        0.2   $800   $160.00
                      distribution filing
                      Review final draft of motion for supplemental
 1/14/2021    RMP                                                        0.1   $745    $74.50
                      distribution
                      Finalize and file request for supplemental
                      distribution to class members; work with A.
 1/15/2021    LPL                                                        0.7   $465   $325.50
                      Penley and JND re: $7,500 wire from GLG to
                      settlement fund
                      emails def. counsel re second distribution; tel.
 1/15/2021    MLS                                                        0.2   $800   $160.00
                      calls L. Lam re same
                      E-mail to M. Schrag re: supplemental
 1/18/2021    LPL     distribution to class members and proposed         0.3   $465   $139.50
                      language for the cover letters in these checks
                      E-mails with defense counsel and JND re:
 1/19/2021    LPL     $7500 supplemental distribution to class           0.6   $465   $279.00
                      members
                      E-mails with class member Joomi Lim to
 1/19/2021    LPL     answer her questions on whether the settlement     0.2   $465    $93.00
                      is taxable
                      E-mails with class member Isaac Fry re: his
 1/21/2021    LPL     questions on whether his settlement amount is      0.3   $465   $139.50
                      taxable
                      Calls with Debora Granja to update her on the
 1/25/2021    LPL     case and phase 2 of the settlement; confer with    0.6   $465   $279.00
                      J. Bloomfield re: same
                      E-mails with defense counsel and JND re:
 1/25/2021    LPL     supplemental $7500 distribution to all class       0.4   $465   $186.00
                      members
 1/25/2021    MLS     emails re distribution                             0.2   $800   $160.00
                      E-mails with class member Mark Gomez and
 1/26/2021    LPL     JND re: status of the settlement and his           0.4   $465   $186.00
                      settlement check; call with M. Gomez re: same
                      E-mails with JND re: $7500 supplemental
 1/26/2021    LPL                                                        0.1   $465    $46.50
                      distribution
                      E-mail to defense counsel re: question about
  2/3/2021    LPL     mark on credit report for class member Richard     0.3   $465   $139.50
                      Foldhazy; confer with M. Schrag re: same

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                      emails re class member R. Foldhazy questions
  2/4/2021    MLS                                                        0.2   $800   $160.00
                      about credit damage
                      E-mails with U. Chavez re: responding to an
  2/8/2021    LPL                                                        0.2   $465   $93.00
                      inquiry from class member Irma Venitez
                      E-mails with class members Janet and David
 2/10/2021    LPL     Jenkins re: their original remediation amounts     0.3   $465   $139.50
                      from Wells Fargo
                      E-mails with M. Schrag and Uriel Chavez re:
 2/15/2021    LPL     responding to class member Irma Maria              0.1   $465   $46.50
                      Benitez's questions about her settlement checks
                      Conference call with team re: number of class
                      members who have not cashed their settlement
 2/18/2021    LPL                                                        0.5   $465   $232.50
                      checks; review list of those class members
                      prepared by settlement administrator
                      conf. call Team re uncashed checks and plan to
 2/18/2021    MLS     follow up with class members; emails re same;      0.5   $800   $400.00
                      analyze spreadsheet re same
                      Confer with M. Schrag re: whether Brian
 2/19/2021    LPL     Kelley's retainer was applied; call with Kelley    0.4   $465   $186.00
                      re: same
                      E-mail to Brian Kelley re: his past invoices and
 2/21/2021    LPL                                                        0.1   $465   $46.50
                      status of $7500 retainer
                      Calls with clients re status of their uncashed
 2/22/2021     JJB                                                       1.3   $580   $754.00
                      checks; emails with JND re same
                      E-mails with Brian Kelley and call with M.
 2/22/2021    LPL     Schrag re: his past invoices and status of $7500   0.5   $465   $232.50
                      retainer
                      Call with Ryan Bahry at JND and e-mail to
                      team re: status of number of uncashed checks
 2/22/2021    LPL                                                        0.3   $465   $139.50
                      and next steps in reminding class members to
                      cash their checks
                      emails and tel. calls L. Lam and J. Bloomfield
 2/22/2021    MLS     re reaching out to class members to encourage      0.5   $800   $400.00
                      them to cash their checks
                      E-mail to class member Yariel Perez re: his
 2/23/2021    LPL                                                        0.1   $465   $46.50
                      economic damages check being re-issued
                      E-mails with JND and defense counsel re:
 2/25/2021    LPL     reissuing and splitting class member Shirley       0.1   $465   $46.50
                      Ritter's economic damages check
                      emails re request from class member to issue
 2/25/2021    MLS                                                        0.3   $800   $240.00
                      separate checks to her and ex spouse
                      Follow-up e-mail with Wells Fargo re: class
  3/1/2021    LPL     member Richard Foldhazy's inquiry on WF            0.1   $465   $46.50
                      removing a mark from his credit report



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                      E-mail to settlement administrator re: status of
  3/1/2021    LPL     uncashed checks and next reminders for class       0.1   $465    $46.50
                      members to cash their checks
                      Emails re class members who haven't yet
                      cashed their economic damages checks; review
  3/4/2021     JJB                                                       0.8   $580   $464.00
                      information for class member H. Torres; call to
                      H. Torres
                      E-mails and confer with M. Schrag and J.
                      Bloomfield re: reaching out to class members
  3/4/2021    LPL                                                        0.6   $465   $279.00
                      who have not yet cashed their economic
                      damages checks
                      analyze spreadsheet of class members w/
                      uncashed checks; emails and tel. calls L. Lam
  3/4/2021    MLS                                                        1     $800   $800.00
                      and J. Bloomfield re follow up efforts needed
                      to contact them. emails JND re same
                      Emails re class members with uncashed
  3/5/2021     JJB    economic damages checks; calls with class          1.3   $580   $754.00
                      member T. Hood; call to H. Torres
                      E-mails with JND, M. Schrag, and J.
                      Bloomfield re: reaching out to class members
  3/5/2021    LPL                                                        0.4   $465   $186.00
                      who have not cashed their economic damages
                      checks
                      emails and plan re reaching out to people w/
  3/5/2021    MLS                                                        0.3   $800   $240.00
                      uncashed checks
                      E-mails with team re: follow-up reminder to
  3/7/2021    LPL     class members who haven't yet cashed their         0.2   $465    $93.00
                      economic damages checks
                      Emails with team re H. Torres and other class
  3/8/2021     JJB    members who haven't cashed their economic          1.6   $580   $928.00
                      damages checks; research re same
                      E-mails with class member Yariel Perez re:
  3/8/2021    LPL     status of his economic damages check being re-     0.2   $465    $93.00
                      issued
                      E-mail to Wells Fargo re: combining efforts to
  3/8/2021    LPL     reach out to class members who have not yet        0.2   $465    $93.00
                      cashed their economic damages checks
                      Call with M. Schrag re: efforts to reach out to
  3/8/2021    LPL     class members who have not yet cashed their        0.3   $465   $139.50
                      economic damages checks
                      Review and analyze M. Schrag's edits to
                      customized letter to be sent out to class
  3/8/2021    LPL                                                        0.2   $465    $93.00
                      members to remind them to cash their
                      economic damages checks
                      research re class members who haven't cashed
  3/8/2021    MLS                                                        1.3   $800   $1,040.00
                      checks; review/edit JND letter re same

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                      Call with class member Yariel Perez re: status
  3/9/2021    LPL                                                        0.2   $465    $93.00
                      of his re-issued check
                      Conference call on outreach to clients with
 3/10/2021     DH                                                        0.4   $125    $50.00
                      checks to be cashed.
                      Identify missing contact information for clients
 3/10/2021     DH                                                        1.7   $125   $212.50
                      with checks to be cashed.
                      Emails with team re class members who
 3/10/2021     JJB    haven't yet cashed economic damages checks;        1.2   $580   $696.00
                      team call re same; research re same
                      Calls and e-mails with M. Schrag, J.
                      Bloomfield, D. Higgs, H. Bohol, and co-
 3/10/2021    LPL                                                        2.5   $465   $1,162.50
                      counsel re: efforts to reach out to class
                      members who have not yet cashed their
                      E-mails with JND re: draft letter to send to
 3/10/2021    LPL     class members who have not yet cashed their        0.1   $465    $46.50
                      economic damages checks
                      E-mails with defense counsel re: working
                      together to find contact information for class
 3/10/2021    LPL                                                        0.3   $465   $139.50
                      members who have not yet cashed their
                      economic damages checks
                      conf. call Team re reaching out to class
                      members who haven't cashed checks; follow up
 3/10/2021    MLS                                                        2.3   $800   $1,840.00
                      emails re same; internet research re same; tel.
                      calls and emails to clients re same.
                      Identify missing contact information for clients
 3/11/2021     DH                                                        1.4   $125   $175.00
                      with checks to be cashed.
 3/11/2021     DH     Call clients regarding checks to be cashed.        1.8   $125   $225.00
                      Call w/ attorneys re WF project; start research,
 3/11/2021    HCB                                                        1.9   $220   $418.00
                      contacting WF clients re Settlement check
                      Emails with team re class members who
 3/11/2021     JJB                                                       0.3   $580   $174.00
                      haven't cashed their economic damages checks
                      research re class members who haven't cashed
 3/11/2021    MLS                                                        0.7   $800   $560.00
                      checks; work on prelim approval brief
 3/12/2021     DH     Call clients regarding checks to be cashed.        1.7   $125   $212.50
                      Continue Research for WF Clients contact info;
 3/12/2021    HCB     reach out to WF Client re WF Settlement            4     $220   $880.00
                      Check; obtain current info
                      Emails with team re class members who
 3/12/2021     JJB    haven't cashed their economic damages checks;      2.2   $580   $1,276.00
                      research re same
                      Confer with M. Schrag, J. Bloomfield, and
                      paralegals re: efforts to find class members
 3/12/2021    LPL     who have not cashed their economic damages         0.9   $465   $418.50
                      checks and reach out to them by phone and e-
                      mail

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                      emails Team re communications with class
 3/12/2021    MLS     members in effort to have them cash checks;       0.7   $800   $560.00
                      review spreadsheet tracking same
                      Multiple calls with Spanish-speaking class-
 3/15/2021     AA                                                       0.8   $220   $176.00
                      member + flag questions to team.
                      Contact clients regarding checks that have not
 3/15/2021     DH                                                       1.8   $125   $225.00
                      been cashed.
                      Continue Research for WF Clients contact info;
 3/15/2021    HCB     reach out to WF Client re WF Settlement           3.5   $220   $770.00
                      Check; obtain current info
                      Emails with team re class members who
 3/15/2021     JJB    haven't cashed their economic damages checks;     1.1   $580   $638.00
                      research re same
                      Work with Honeyleen Bohol and Dennis Higgs
 3/15/2021    LPL     to reach out to class members who have not yet    3.1   $465   $1,441.50
                      cashed their economic damages checks
                      emails, analysis and research re class members
 3/15/2021    MLS                                                       1.5   $800   $1,200.00
                      who haven't cashed checks
                      Follow-up call with Spanish speaking class-
 3/16/2021     AA     member + texts + email to attys to confirm info   0.5   $220   $110.00
                      + confirmation email to class-member.
                      Contact class members regarding settlement
 3/16/2021     DH                                                       1.2   $125   $150.00
                      checks that have yet to be cashed.
                      Continue Research for WF Clients contact info;
 3/16/2021    HCB     reach out to WF Client re WF Settlement           4     $220   $880.00
                      Check; obtain current info
                      Emails with team re T. Hood and other class
 3/16/2021     JJB    members who haven't cashed their economic         0.8   $580   $464.00
                      damages checks; call with T. Hood
                      E-mails with Wells Fargo, co-counsel, and
                      internal team re: finding and reaching out to
 3/16/2021    LPL                                                       0.7   $465   $325.50
                      class members who have not yet cashed their
                      economic damages checks
                      Work with Honeyleen Bohol and team to reach
                      out to class members who have not yet cashed
 3/16/2021    LPL                                                       0.9   $465   $418.50
                      their economic damages checks; confer with
                      JND re: same
                      E-mails with class member Yariel Perez re: the
 3/16/2021    LPL     amount of his economic damages and                0.2   $465    $93.00
                      supplemental settlement check
                      emails re complications involving divorced
 3/16/2021    MLS     class members w/ deceased former spouses          0.5   $800   $400.00
                      cashing checks
                      Contact class members regarding settlement
 3/17/2021     DH                                                       0.3   $125    $37.50
                      checks that have yet to be cashed.

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                      Continue Research for WF Clients contact info;
                      reach out to WF Client re WF Settlement
 3/17/2021    HCB                                                        4     $220   $880.00
                      Check; obtain current info; email to attys re
                      same
                      Work with team on reaching out to class
                      members who have not yet cashed their
 3/17/2021    LPL     economic damages checks, and how to handle         1.9   $465   $883.50
                      splitting up certain co-borrowers' economic
                      damages payments
                      emails re efforts to get class members to cash
                      checks; emails re WF edits to draft settlement;
 3/17/2021    MLS                                                        1.5   $800   $1,200.00
                      tel. call R. Paul re same; draft letter to WF
                      counsel re draft settlement agreeement
                      Continue Research for WF Clients contact info;
 3/18/2021    HCB     reach out to WF Client re WF Settlement            2     $220   $440.00
                      Check; obtain current info
                      E-mails with team and JND re: working to
                      contact and follow-up with class members who
 3/18/2021    LPL                                                        0.5   $465   $232.50
                      have not yet cashed their economic damages
                      checks
                      Contact clients regarding settlement checks that
 3/19/2021     DH                                                        1.2   $125   $150.00
                      have not been cashed.
                      Continue Research for WF Clients contact info;
 3/19/2021    HCB     reach out to WF Client re WF Settlement            2     $220   $440.00
                      Check; obtain current info
                      E-mails with H. Bohol and team re: reaching
 3/19/2021    LPL     out to class members who have not yet cashed       0.4   $465   $186.00
                      their economic damages checks
                      E-mails with H. Bohol and M. Schrag re:
 3/21/2021    LPL     reissuing economic damages check in class          0.1   $465    $46.50
                      member Frances Garrett's name
                      Conference call regarding progress on
 3/22/2021     DH     contacting clients with checks that need to be     0.7   $125    $87.50
                      cashed.
                      Contact class members regarding settlement
 3/22/2021     DH                                                        0.3   $125    $37.50
                      checks to be cashed.
                      Conf. call with M. Schrag, J. Bloomfield,
                      litigation assistants, and co-counsel re: status
 3/22/2021    LPL                                                        0.7   $465   $325.50
                      on efforts to reach out to class members who
                      have not yet cashed their economic damages
                      E-mails with team, Wells Fargo, and JND re:
                      status and next steps on efforts to reach out to
 3/22/2021    LPL                                                        1.1   $465   $511.50
                      class members who have not yet cashed their
                      economic damages checks



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                      Conf. call w/ Team doing outreach to clients
 3/22/2021    MLS     who have not cashed checks; emails Team and       1.5   $800   $1,200.00
                      to class members re cashing checks
                      Send confirmation email to class-members +
 3/23/2021     AA     confirmation email to attys. Log                  0.6   $220   $132.00
                      communications in Salesforce.
                      Contact class members regarding checks that
 3/23/2021     DH                                                       0.3   $125    $37.50
                      haven't been cashed.
                      Continue working with Honeyleen Bohol, JND,
                      and team to reach out to class members who
 3/23/2021    LPL     have not yet cashed their checks and help         1.4   $465   $651.00
                      determine how to reissue checks for certain
                      class members
                      Call with Cheryle Loden about her call with the
 3/23/2021    RPN                                                       0.1   $240    $24.00
                      claims administrator
                      Review updated spreadsheet of class members
                      who haven't cashed their economic damages
 3/24/2021     JJB                                                      0.8   $580   $464.00
                      checks; call with team and claims administrator
                      re same
                      Continue working with H. Bohol, D. Higgs,
                      and JND on reaching out to class members who
 3/24/2021    LPL                                                       1.4   $465   $651.00
                      have not yet cashed their settlement checks,
                      and determining how to reissue checks
                      conf. call Team and JND re class members
 3/24/2021    MLS                                                       1.3   $800   $1,040.00
                      cashing checks; emails Team re same
 3/25/2021    HCB     Call re WF uncashed checks update                 0.5   $220   $110.00
                      Work with Honeyleen Bohol, JND, and team
                      re: finding and reaching out to class members
 3/25/2021    LPL                                                       0.9   $465   $418.50
                      who have not yet cashed their economic
                      damages checks
                      emails re class members who haven't cashed
 3/25/2021    MLS                                                       0.2   $800   $160.00
                      checks
                      Call WF Client A. Chaudhry and email
 3/26/2021    HCB                                                       0.5   $220   $110.00
                      communication re settlement check
                      Research; Continue calling/emailing possible
 3/26/2021    HCB     contact info of WF clients w/ uncashed            1     $220   $220.00
                      settlement checks
                      Emails with team re H. Torres economic
 3/26/2021     JJB                                                      0.2   $580   $116.00
                      damages check
                      Call with M. Schrag and e-mails with team and
                      JND re: status on reaching out to class
 3/26/2021    LPL                                                       1.1   $465   $511.50
                      members who have not yet cashed their
                      economic damages checks and next steps




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                      Continue working/e-mailing with H. Bohol and
                      JND re: reaching out to class members who
 3/26/2021    LPL     have not yet cashed their economic damages        0.9   $465   $418.50
                      checks, and how to reissue certain class
                      members' checks
                      Review JND report of uncashed checks emails
                      to and from Team and JND re efforts to
 3/26/2021    MLS                                                       1.3   $800   $1,040.00
                      find/encourage class members who haven't
                      cashed checks
                      E-mails with class member Shirley Ritter about
 3/27/2021    LPL                                                       0.1   $465    $46.50
                      the status of her reissued settlement checks
                      Continue Research; Spoke w/ Clients re status
 3/29/2021    HCB     of re-issued checks; send emails or calls to      2     $220   $440.00
                      potential numbers
                      E-mails with team and JND re: status of certain
 3/29/2021    LPL                                                       0.7   $465   $325.50
                      class members' reissued settlement checks
                      emails re reaching class members re cashing
 3/29/2021    MLS                                                       0.3   $800   $240.00
                      checks
                      Contact class members regarding checks that
 3/30/2021     DH                                                       0.1   $125    $12.50
                      have yet to be cashed.
                      emails re wiring settlement funds to class
                      member who moved to Pakistan; review
 3/30/2021    MLS                                                       0.5   $800   $400.00
                      spreadsheet from JND w/ new info re class
                      members who haven't cashed checks
                      review/analyze spreadsheet of uncashed
 3/31/2021    MLS                                                       0.5   $800   $400.00
                      checks; draft email to team re next steps
                      E-mails with Honeyleen Bohol, M. Schrag, and
                      JND re: getting in touch with class members
  4/1/2021    LPL     who have not yet cashed their economic            1.4   $465   $651.00
                      damages checks and sending them reissued
                      checks
                      emails Team re class members w/ uncashed
  4/1/2021    MLS                                                       0.3   $800   $240.00
                      checks
                      E-mails with Honeyleen Bohol and JND re:
  4/2/2021    LPL     reissuing settlement checks for certain class     0.3   $465   $139.50
                      members
  4/2/2021    MLS     emails Team re uncashed checks                    0.2   $800   $160.00
                      E-mails with H. Bohol, D. Higgs, and JND re:
  4/5/2021    LPL     status of certain class members' reissued         0.6   $465   $279.00
                      settlement checks
                      Contact class members regarding settlement
  4/6/2021     DH                                                       0.2   $125    $25.00
                      checks to be cashed.




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                      E-mails with JND re: update on status of any
                      uncashed checks and efforts to reach out to
  4/6/2021    LPL                                                             0.3   $465   $139.50
                      class members who have not cashed their
                      checks
  4/6/2021    MLS     emails re class members w/ uncashed checks              0.2   $800   $160.00
                      Call with Robert Dale to determine possible
  4/6/2021    RPN                                                             0.3   $240    $72.00
                      participation in class action
                      Conf. call with M. Schrag, J. Bloomfield, co-
                      counsel, and JND re: status of uncashed checks
  4/7/2021    LPL                                                             0.5   $465   $232.50
                      and efforts to reach out to class members who
                      have not cashed their checks
                      Review and analyze updated list of class
  4/7/2021    LPL     members who have not cashed their settlement            0.3   $465   $139.50
                      checks
                      review report on uncashed checks conf. call
  4/7/2021    MLS     Team and JND re same and efforts to get class           0.8   $800   $640.00
                      members to deposit checks
  4/9/2021    MLS     emails Team re class members cashing checks             0.2   $800   $160.00
                      E-mail to JND to seek status on amount of
 4/12/2021    LPL     cashed/deposited and reissued checks to                 0.2   $465    $93.00
                      include in motion for preliminary approval
                      Call with M. Schrag and e-mail to co-counsel
 4/14/2021    LPL     re: filing interim accounting on our settlement         0.4   $465   $186.00
                      distribution
                      review JND email re outstanding checks; tel.
                      call and emails re interim accounting and plan
 4/14/2021    MLS                                                             1.3   $800   $1,040.00
                      to finalize first distribution; tel. call E. Gibbs re
                      same
                      review JND email re status of new checks
 4/15/2021    MLS     issued and stale date; conf. call Team and JND          0.3   $800   $240.00
                      re same
                      E-mail to H. Bohol re: current status on class
 4/17/2021    LPL                                                             0.1   $465    $46.50
                      members' uncashed checks
                      Speak w WF Clients re status of uncashed
 4/19/2021    HCB                                                             0.5   $220   $110.00
                      check.
                      E-mails and call with M. Schrag re: filing an
 4/23/2021    LPL                                                             0.2   $465    $93.00
                      interim post-distribution accounting
                      E-mail to JND re: preparing interim post-
 4/23/2021    LPL                                                             0.3   $465   $139.50
                      distribution accounting
                      emails and tel. calls L. Lam re post distribution
 4/23/2021    MLS     accounting; review model admin. declarations            0.3   $800   $240.00
                      and filings
 4/26/2021    HCB     Email/Call to client re checks                          0.5   $220   $110.00




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                      Draft post-distribution accounting filing; work
                      with JND on post-distribution accounting chart
 4/27/2021    LPL     pursuant to N.D. Cal.'s procedural guidance for    4.6   $465   $2,139.00
                      class action settlements and accompanying
                      JND declaration
                      Calls with M. Schrag and e-mails with defense
 4/27/2021    LPL     counsel re: interim post-distribution accounting   1.1   $465   $511.50
                      and accompanying JND declaration
                      work on interim distribution filing; emails and
 4/27/2021    MLS                                                        2     $800   $1,600.00
                      tel. calls L. Lam and R. Bharry re same
                      E-mails with H. Bohol and co-counsel re: class
 4/28/2021    LPL     member's question on whether her remediation       0.2   $465    $93.00
                      check will affect her bankruptcy estate/action
                      Research probate information for potentially
 4/28/2021    RPN     deceased plaintiffs in order to find               1.8   $240   $432.00
                      survivors/heirs to contact about settlement
 4/29/2021     DH     Respond to inquiries from class members.           0.8   $125   $100.00
                      emails WF counsel re new checks issued; tel.
 4/30/2021    MLS                                                        0.5   $800   $400.00
                      call L. Lam re same
                      Emails with C. Teague bankruptcy trustee K.
  5/4/2021     JJB    Goodman re Notice of Final Hearing; review         0.7   $580   $406.00
                      and analyze same
                      Emails with C. Teague bankruptcy trustee K.
  5/5/2021     JJB    Goodman re Notice of Final Hearing; call to C.     0.9   $580   $522.00
                      Teague re same
                      Email and call to C. Teague re Notice of Final
  5/6/2021     JJB                                                       0.6   $580   $348.00
                      Hearing
                      E-mails with JND re: status of uncashed checks
 5/10/2021    LPL     and amounts of settlement funds that have not      0.3   $465   $139.50
                      yet been cashed
                      Review and analyze amended notice of final
                      hearing in Teague matter; emails with
 5/17/2021     JJB                                                       1.3   $580   $754.00
                      bankruptcy trustee re same; emails re checks to
                      class member D. Kellam
                      Emails with C. Teague bankruptcy trustee re
 5/25/2021     JJB    notice of final hearing; call with C. Teague re    0.5   $580   $290.00
                      same
                      E-mails with co-counsel re: schedule for
 5/31/2021    LPL     sending uncashed checks to unclaimed property      0.1   $465    $46.50
                      funds and filing a final post-distribution
                      Discuss C. Teague bankruptcy trustee issues
  6/1/2021     JJB                                                       0.4   $580   $232.00
                      with M. Schrag and C. Teague
                      Analyze bankruptcy issue for plaintiff Cozetta
  6/1/2021    RMP                                                        0.2   $745   $149.00
                      Teague
  6/2/2021     JJB    Emails with C. Teague bankruptcy trustee           0.2   $580   $116.00

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                      Call with JND re: today's check void date and
                      timeframe for sending uncashed money to state
  6/2/2021    LPL                                                        0.4   $465   $186.00
                      unclaimed property funds; e-mail to team re:
                      same
                      Call with R. Paul and C. Teague bankruptcy
  6/3/2021     JJB                                                       0.3   $580   $174.00
                      trustee re notice of final hearing
                      Phone call with Coszetta Teague's bankruptcy
  6/3/2021    RMP                                                        0.2   $745   $149.00
                      trustee
                      Emails with C. Teague bankruptcy trustee; call
  6/7/2021     JJB                                                       0.3   $580   $174.00
                      to C. Teague
                      E-mail to JND and confer with M. Schrag re:
                      sending money to state unclaimed property
 6/14/2021    LPL                                                        0.4   $465   $186.00
                      funds and preparing post-distribution final
                      accounting
                      tel. call, email L. Lam and JND re final
 6/14/2021    MLS                                                        0.2   $800   $160.00
                      accounting
                      E-mails with team and defense counsel re: class
                      member Keats' settlement amount and paying it
 6/21/2021    LPL                                                        0.2   $465   $93.00
                      to her directly instead of sending it to a state
                      unclaimed property fund
                      emails re wiring payment per class member
 6/21/2021    MLS                                                        0.2   $800   $160.00
                      request
                      Analyze issue re: class member check;
 6/21/2021    RMP                                                        0.1   $745   $74.50
                      correspondence with JND
                      E-mails with JND re: final post-distribution
                      accounting and sending class member Fayga
 6/22/2021    LPL                                                        0.2   $465   $93.00
                      Keats a new check for her economic damages
                      amount
                      emails re class member check reissuance;
 6/22/2021    MLS                                                        0.3   $800   $240.00
                      review JND declaration re accounting
                      Call with M. Schrag and e-mails with JND re:
 6/23/2021    LPL     draft of final post-distribution accounting and    0.2   $465   $93.00
                      supporting declaration
                      review/edit final accounting document; tel. call
 6/23/2021    MLS                                                        0.5   $800   $400.00
                      L. Lam re same
                      Edits to draft status report on current
 6/24/2021    LPL     distribution and accounting; calls with M.         1.5   $465   $697.50
                      Schrag and R. Bahry re: same
                      review/edit accounting filing and JND
 6/24/2021    MLS                                                        0.5   $800   $400.00
                      declaration; tel. call L. Lam re same
                      Correspondence re: final accounting of
 6/24/2021    RMP     settlement funds; review draft of JND              0.3   $745   $223.50
                      declaration re: final accounting




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                      Draft and edit pleading to accompany status
 6/25/2021    LPL     report and current accounting; edits to the same     1.1    $465    $511.50
                      and to JND supporting declaration
                      Conf. call with team re: status report, current
 6/25/2021    LPL     accounting, and sending money to state               0.3    $465    $139.50
                      unclaimed property funds
                      review/edit interim accounting filing; conf. call
 6/25/2021    MLS                                                          0.5    $800    $400.00
                      Team re same
                      Review supplemental interim accounting; work
 6/25/2021    RMP                                                          0.4    $745    $298.00
                      on plan for final accounting
                      E-mails with defense counsel re: draft of status
 6/28/2021    LPL                                                          0.1    $465     $46.50
                      report and update on current accounting
                      Finalize and file status report on settlement
 6/28/2021    LPL                                                          0.4    $465    $186.00
                      fund distribution
                      review interim accounting report; emails and
 6/28/2021    MLS                                                          0.3    $800    $240.00
                      tel. calls L. Lam re same
                      E-mails with JND re: finalizing escheatment
 7/30/2021    LPL                                                          0.2    $465     $93.00
                      process and preparing a final accounting
                      emails R. Barry and E. Gibbs re JND's
 7/30/2021    MLS     completion of transfer to unclaimed property         0.2    $800    $160.00
                      fund
                      draft certification and proposed order re final
                      accounting; review final approval order; review
  8/4/2021    MLS                                                          1.2    $800    $960.00
                      JND dec re same; emails L. Fellows and R.
                      Paul re same
                      emails E. Gibbs re edits to final accounting
  8/5/2021    MLS     filing; work on revised final accounting filing;     1.3    $800    $1,040.00
                      emails and tel. calls E. Gibbs, and L. Lam re
                      Finalize and file final accounting and proposed
  8/6/2021    LPL     order for distribution of second half of             0.5    $465    $232.50
                      attorney's fees
                      finalize final accounting filing; emails L. Lam
  8/6/2021    MLS                                                          0.5    $800    $400.00
                      and defense counsel re same
                      Review spreadsheet regarding class member
 9/21/2021    HCB     calls re uncashed check; Draft statement re          1      $220    $220.00
                      Wells Fargo class member outreach
                      Call with M. Shrag re status update on
 9/28/2021    AMM                                                          0.3    $720    $216.00
                      payments
                                                         Project Total:   286.3          $147,048.50




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                                 Project: Negotiating supplemental settlement
    Date     Timekeeper                        Description                       Hours x Rate = Fee
                            Conf. call with defense counsel re: newly
                            discovered additional class members not
 10/23/2020        LPL                                                       1.1      $465       $511.50
                            included in the settlement; follow-up call with
                            M. Schrag and R. Paul re: same
                            Conf. call Team and WF counsel re new class
                            members found and plan to address w/ court
 10/23/2020       MLS       and collect data for these class members;        1.5      $800      $1,200.00
                            follow up call R. Paul; texts w/ E. Gibbs re
                            same; emails re same
                            E-mails with M. Schrag and E. Gibbs re: how
                            Wells Fargo's discovery of additional class
 10/24/2020        LPL                                                       0.2      $465        $93.00
                            members will affect the final approval order
                            and settlement agreement
                            draft memo re newly found class members;
 10/24/2020       MLS                                                         1       $800       $800.00
                            review emails re same
                            Call with M. Schrag and E. Gibbs re potential
 10/26/2020      AMM                                                          1       $720       $720.00
                            additional class members
                            Emails with team re Wells Fargo discovery
                            responses and depo testimony on how class
 10/26/2020        JJB                                                       3.7      $580      $2,146.00
                            members were identified; review C. Bell depo
                            transcript and discovery responses re same
                            Conference call with M. Schrag, R. Paul, and
                            defense counsel re: how to include the newly
 10/26/2020        LPL      found class members in the current settlement    0.9      $465       $418.50
                            or in a follow-on phase of the settlement; e-
                            mails with M. Schrag and E. Gibbs re: same
                            Conference call with co-counsel and defense
 10/26/2020        LPL      counsel re: newly found class members and        0.5      $465       $232.50
                            how to wrap them into the proposed settlement
                            E-mails with team re: discovery requests and
 10/26/2020        LPL      deposition testimony on our efforts to ascertain 0.4      $465       $186.00
                            a complete list of class members
                            Begin to analyze next steps in light of Wells
                            Fargo's recent notification of additional
                            Hernandez class members; correspond with
 10/26/2020       LCF                                                        1.1      $445       $489.50
                            Ms. Groves and Ms. Brinson regarding
                            additional, but still preliminary, information
                            about "discovery" of more class members
                            Phone call with opposing counsel re: settlement
 10/26/2020       RMP       of new class members; analyze settlement         1.6      $745      $1,192.00
                            strategy
                            Review and analyze orders in Hofstetter and
 10/27/2020        JJB                                                       0.8      $580       $464.00
                            Eagen; emails with team re same

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                      legal research re motions to partially reopen
 10/27/2020   MLS     judgment to amend settlement to pay newly           2.5   $800   $2,000.00
                      found class members. emails Team re same
                      Analyze settlement issues for new
 10/27/2020   RMP                                                         0.3   $745   $223.50
                      supplemental class members
                      Edit draft Notice re Additional Class Members;
 10/28/2020   AMM                                                         1     $720   $720.00
                      confer with co-counsel on same
                      Review and analyze law and prior orders on re-
 10/28/2020   LPL     opening settlements after finding additional        0.9   $465   $418.50
                      class members after preliminary approval
                      work on joint notice re newly discovered class
                      members; tel. calls and emails E. Gibbs, A.
 10/28/2020   MLS     Mura, R. Paul and WF counsel re same; legal         3.2   $800   $2,560.00
                      research re same; tel. call S. Tindall re
                      Hernandez v. creative learning center case
                      Analyze discovery/settlement strategy for
 10/28/2020   RMP                                                         0.2   $745   $149.00
                      supplemental class members
                      Review Wells Fargo's draft notice of additional
 10/28/2020   LCF     class members to be filed and redline additional    0.2   $445    $89.00
                      edits
                      Review draft of notice to J. Alsup of additional
                      class members; phone call with opposing
 10/29/2020   RMP                                                         2.2   $745   $1,639.00
                      counsel re: notice to court; analyze settlement
                      issues
                      Review and analyze draft notice of additional
                      class members; call with Wells Fargo counsel
 10/29/2020    JJB                                                        1.3   $580   $754.00
                      and R. Paul re same; emails with team re same;
                      call with M. Schrag re same
                      work on joint filing re newly found class
                      members; tel. calls and emails WF counsel re
 10/29/2020   MLS                                                         2.7   $800   $2,160.00
                      same; emails E. Gibbs and A. Mura re same;
                      tel. calls and emails R. Paul re same
                      Work on joint status report to notify court of
                      new class members, including correspondence
                      with Ms. Groves regarding Wells Fargo’s
 10/29/2020   LCF     further edits, analyze additional edits and final   0.8   $445   $356.00
                      draft; analyze Wells Fargo’s proposed
                      remediation and notifying class members about
                      pending action
                      Analyze and edit draft letter to Wells Fargo
                      demanding notice of pending action to be
 10/30/2020   LCF                                                         0.2   $445    $89.00
                      included in any correspondence sent to putative
                      class members
                      Review letter to WF re: contact with absent
 10/30/2020   RMP                                                         0.3   $745   $223.50
                      class members; work on settlement strategy

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                      Review and analyze published opinions from
                      Wells Fargo regarding discovery of additional
 10/31/2020   LCF                                                        0.6   $445   $267.00
                      class members, including review final approval
                      orders from those cases
 11/8/2020    RMP     Review supplemental class list                     0.1   $745    $74.50
                      Preliminarily review additional information
 11/9/2020    LCF                                                        0.1   $445    $44.50
                      from Wells Fargo about “new” class members
                      Correspond with Wells Fargo regarding timing
 11/11/2020   LCF     to receive additional information about newly      0.1   $445    $44.50
                      identified borrowers
                      Review and analyze Wells Fargo's spreadsheet
 11/12/2020   LPL     of newly identified impacted borrowers/class       0.2   $465    $93.00
                      members
                      review L. Fellows email re timeline for data re
 11/13/2020   MLS                                                        0.3   $800   $240.00
                      new class members; tel. call R. Paul re same;
 11/13/2020   RMP     Analyze issues re: new class members               0.3   $745   $223.50
                      Review and begin to analyze additional "new"
                      class member information from Wells Fargo,
                      including run preliminary damage calculations
 11/16/2020   LCF     for new group of borrowers, and outline            0.5   $445   $222.50
                      thoughts regarding additional information
                      needed to analyze claim value and proposed
                      settlement demand
                      Review, highlight and annotate C. Bell depo
                      transcript re WF's failure to list all class
                      members on CIT chart; review final approval
 11/17/2020   MLS     order re instructing JND on distribution; emails   3.7   $800   $2,960.00
                      WF counsel, Team and JND re distribution
                      including co borrower amounts; email R. Paul
                      re distribution of costs/fees
                      Emails with L. Fellows re CIT charts; review
 11/18/2020    JJB                                                       0.8   $580   $464.00
                      and analyze same
                      Conf. call WF counsel re distribution and next
                      steps in second part of settlement; review
                      emails from WF counsel and L. Fellows re
 11/18/2020   MLS                                                        2.2   $800   $1,760.00
                      same; finish Bell depo highlights and draft
                      email R. Paul re same and also re OCC
                      remediation and impact on settlement
                      Conference call with opposing counsel re:
 11/18/2020   RMP     updated data issues and status of information      1     $745   $745.00
                      on new class; analyze settlement strategy




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                      Correspond with Wells Fargo’s counsel
                      regarding additional data about newly found
 11/18/2020   LCF     class members, remediation details, contents of      0.5   $445   $222.50
                      communications with class members, and
                      potential allocation plan
                      tel. call R. Paul re phase 2 of settlement--
 11/19/2020   MLS                                                          0.3   $800   $240.00
                      structural issues and remediation data needed
 11/19/2020   RMP     Work on settlement strategy                          0.4   $745   $298.00
                      Research and analysis of Wells Fargo discovery
 11/22/2020    JJB    responses and depo testimony re identification       2.5   $580   $1,450.00
                      of class members
                      Research and analysis of Wells Fargo discovery
 11/23/2020    JJB    responses and depo testimony re identification       3.1   $580   $1,798.00
                      of class members; email to team re same
                      E-mails with team re: past discovery
 11/23/2020   LPL     requests/responses on how Wells Fargo                0.4   $465   $186.00
                      ascertained list of class members
                      tel. calls and emails Team re 12/1 status report;
                      review J. Bloomfield email re discovery
 11/23/2020   MLS     analysis; search for and review additional           2.3   $800   $1,840.00
                      meet/confer emails re CIT chart (class list); tel.
                      call R. Paul re same; emails defense counsel re
 11/23/2020   RMP     Work on settlement strategy                          0.1   $745    $74.50
                      Call with co-counsel and defense counsel re:
 11/24/2020   LPL     upcoming status conference with the Court on         0.5   $465   $232.50
                      the discovery of affected borrowers
                      conf. call WF counsel re 12/1 hearing and
                      explanation for newly found class members;
 11/24/2020   MLS                                                          1.2   $800   $960.00
                      tel. call R. Paul re same; follow up emails
                      Team re discovery propounded on affected
                      Conference call with opposing counsel re: plan
 11/24/2020   RMP     for discussing new class members with court;         0.8   $745   $596.00
                      analyze settlement strategy
                      Correspond with Wells Fargo regarding
                      additional information learned about how
 11/24/2020   LCF     additional class members previously                  0.4   $445   $178.00
                      undiscovered and potential resolution of their
                      claims
                      E-mails with team re: summary of our call with
 11/25/2020   LPL     Wells Fargo on how they discovered newly             0.2   $465    $93.00
                      identified affected borrowers
 11/25/2020   MLS     emails E. Gibbs re 12/1 hearing strategy             0.5   $800   $400.00
                      research Bell depo and exhibits; assemble
 11/26/2020   MLS     passages to draft memo to Team to prep for           1.2   $800   $960.00
                      12/1/ hearing

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                      Emails with team re Wells Fargo discovery
 11/27/2020    JJB    responses and depo testimony re identification     0.3   $580   $174.00
                      of class members
                      E-mails with M. Schrag and team re:
                      information and talking points for upcoming
 11/27/2020   LPL                                                        0.4   $465   $186.00
                      status conference on newly discovered
                      impacted borrowers
                      tel. call A. Groves re WF analysis of reasons
                      Sharepoint file wasn't found; draft summary of
 11/27/2020   MLS                                                        4     $800   $3,200.00
                      same; review evidence and Bell depo to prep
                      for 12/1/ hearing; emails Team re same
                      Prepare for status conference regarding
                      additional class members; review C. Bell's
 11/27/2020   LCF                                                        0.3   $445   $133.50
                      deposition testimony and relevant exhibits and
                      outline thoughts
                      Research and analysis of issues in preparation
 11/28/2020    JJB    for 12/1 hearing re newly discovered class         4.2   $580   $2,436.00
                      members
                      Review Ex. 419 to prep for 12/1 hearing;
 11/28/2020   MLS                                                        0.7   $800   $560.00
                      emails re same
                      Prepare for court hearing re: discovery of new
 11/28/2020   RMP                                                        0.1   $745    $74.50
                      class members
                      review evidence re WF review of loan files;
 11/29/2020   MLS                                                        0.7   $800   $560.00
                      emails Team re 12/1 hearing
                      Conference call with team re: talking points for
 11/30/2020   LPL     tomorrow's status conference on the newly          0.5   $465   $232.50
                      discovered impacted borrowers
                      E-mails and call with A. Mura and M. Schrag
 11/30/2020   LPL     re: prepping for status conference on newly        0.7   $465   $325.50
                      discovered affected borrowers
                      Prep for status conference on newly discovered
                      impacted borrowers by reviewing notes from
                      Wells Fargo, past discovery requests on
 11/30/2020   LPL                                                        1.7   $465   $790.50
                      identifying class members, and outlining points
                      from current class members on importance of
                      receiving settlement checks
                      Conf. call with team and defense counsel re:
 11/30/2020   LPL     tomorrow's status conference on newly              0.5   $465   $232.50
                      identified impacted borrowers
                      Prep for hearing on new class members; legal
                      research re same; prepare for questions re
                      discovery efforts; review depo exhibits; conf.
 11/30/2020   MLS                                                        5.5   $800   $4,400.00
                      call Team re strategy for hearing; conf. call WF
                      counsel re hearing; tel. call L. Lam and A.
                      Mura re hearing strategy; draft outline

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 11/30/2020   RMP     Prepare for court hearing on new class               0.6   $745   $447.00
                      Prepare for tomorrow's hearing about next
                      steps for new class members, including review
                      and analyze relevant discovery and outline
 11/30/2020   LCF     talking points regarding discovery taken to          2.6   $445   $1,157.00
                      identify class members; correspond with
                      counsel for Wells Fargo about facts learned
                      regarding identification of additional clients
                      Prepare for and appear at status conference on
 12/1/2020    LPL                                                          0.9   $465   $418.50
                      newly discovered affected borrowers
                      prep for hearing and hearing on reopening
                      settlement and unfreezing distribution; tel. calls
                      and emails E. Gibbs and A. Mura re same; tel.
 12/1/2020    MLS                                                          3.2   $800   $2,560.00
                      calls and emails class members re same; emails
                      w/ settlement admin re distribution;
                      communicate Cathy Yanni re next phase
                      Appear at hearing regarding payments to
                      original class members and procedure to
 12/1/2020    LCF                                                          0.4   $445   $178.00
                      finalize settlement for additional class
                      members; review speaking outline in
                      Court hearing re: discovery of additional class
 12/1/2020    RMP                                                          0.4   $745   $298.00
                      members
 12/4/2020    MLS     review stip re Judge Ryu; email re same              0.2   $800   $160.00
                      conf. call C. Yanni and D Agretelis re newly
 12/4/2020    MLS                                                          0.3   $800   $240.00
                      found class members
                      review/edit stip re mediation; emails L.
 12/7/2020    MLS                                                          0.2   $800   $160.00
                      Fellows and A. Groves re same
                      Work on stipulation to mediate with Judge
 12/7/2020    LCF                                                          0.1   $445    $44.50
                      Ryu, including review revised draft from Wells
                      review/edit draft stip re mediation; emails re
 12/8/2020    MLS                                                          0.2   $800   $160.00
                      same; emails JND re distribution
                      Review correspondence re: remediation
 12/9/2020    RMP     payments and timing of further settlement            0.1   $745    $74.50
                      discussions
                      Review Judge Ryu's settlement conference
 12/11/2020   LCF     order and related deadlines to provide pre-          0.1   $445    $44.50
                      mediation information
                      Review orders from Judge Ryu re: settlement
 12/11/2020   RMP                                                          0.1   $745    $74.50
                      conference
                      Analyze strategy to maximize class settlement;
 12/17/2020   RMP     work on allocation methodology given                 0.4   $745   $298.00
                      differences in UPB data
                      Work on potential settlement strategy and
 12/17/2020   LCF                                                          0.3   $445   $133.50
                      begin to outline potential options
  1/4/2021    RMP     Draft proposed settlement agreement                  0.4   $745   $298.00

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                      Analyze settlement strategy, research relevant
  1/5/2021    LCF     case law, research Judge Alsup's relevant           1.7   $445   $756.50
                      orders, and begin to outline thoughts
  1/6/2021    MLS     conf. call Team prep for Judge Ryu call             0.3   $800   $240.00
                      Prepare for call with J. Ryu re: settlement
  1/6/2021    RMP     conference; draft proposed settlement               0.4   $745   $298.00
                      agreement for supplemental class members
                      Prepare for pre-mediation call with Judge Ryu,
  1/6/2021    LCF                                                         0.2   $445   $89.00
                      analyze potential strategy
  1/7/2021    MLS     conf. call Judge Ryu re mediation                   0.2   $800   $160.00
                      Attend pre- settlement conference with
                      Magistrate Judge Ryu, analyze next steps to
  1/7/2021    LCF     prepare for settlement conference; continue to      0.5   $445   $222.50
                      research and outline relevant case law
                      regarding potential settlement strategy
                      Pre-settlement conference call with J. Ryu;
  1/7/2021    RMP                                                         0.5   $745   $372.50
                      prepare for mediation
 1/12/2021    EHG     c/w team re settlement options, strategy            0.8   $910   $728.00
                      Conference call with M. Schrag, E. Gibbs, and
 1/12/2021    LPL     A. Mura re: ideas for negotiations in upcoming      1     $465   $465.00
                      settlement conference with Judge Ryu
                      Conf. call E. Gibbs, L. Lam and A. Mura re
 1/12/2021    MLS     structure of settlement; prepare                    0.8   $800   $640.00
                      calculations/estimates in prep for call
                      tel. call D. Agretelis and email C. Yanni re
 1/12/2021    MLS     proposal for administering severe emotional         0.3   $800   $240.00
                      distress fund in second settlement
                      Continue to analyze settlement strategy and
 1/12/2021    LCF                                                         0.1   $445   $44.50
                      next steps to prepare for mediation
                      Prepare for settlement conference; research law
 1/12/2021    RMP                                                         0.3   $745   $223.50
                      on prior similar scenarious
                      email E. Gibbs and tel. call R. Paul re structure
 1/13/2021    MLS                                                         0.5   $800   $400.00
                      of second half of settlement
                      Draft proposed settlement agreement; analyze
 1/13/2021    RMP                                                         1.1   $745   $819.50
                      settlement strategy
                      Draft proposed settlement agreement;
 1/15/2021    RMP     correspondence with opposing counsel re:            0.5   $745   $372.50
                      remediation data
                      Draft proposed settlement agreement; analyze
 1/18/2021    RMP                                                         0.7   $745   $521.50
                      negotiation points for new settlement
 1/19/2021    RMP     Draft Settlement Conference Statement               0.5   $745   $372.50
                      Review and analyze initial remediation and
 1/20/2021    LPL     loan data on class members from Wells Fargo;        0.9   $465   $418.50
                      e-mails with team re: same



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                      review WF spreadsheet w/ data for 713 new
 1/20/2021    MLS     class members; email Team re issues and             1.2   $800   $960.00
                      questions about data
                      Continue to review draft settlement agreement,
                      outline potential timing revisions; begin to
 1/20/2021    LCF                                                         1.3   $445   $578.50
                      review and analyze additional damages' data
                      from Wells Fargo in advance of upcoming
                      Review and edit draft settlement agreement; e-
 1/21/2021    LPL                                                         2.8   $465   $1,302.00
                      mail to team re: same
                      Call with co-counsel L. Fellows re: questions
 1/21/2021    LPL     about edits to draft settlement agreement for       0.4   $465   $186.00
                      these newly discovered class members
                      Conference call with M. Schrag and co-counsel
                      re: draft settlement agreement and initial
 1/21/2021    LPL                                                         0.7   $465   $325.50
                      loan+remediation data from Wells Fargo;
                      follow-up call with M. Schrag re: same
                      review/edit draft settlement agreement; review
                      WF spreadsheet re data for newly identified
                      class members; tel. call L. Lam re same; conf.
                      call Team re structure of new settlement and
 1/21/2021    MLS                                                         3.8   $800   $3,040.00
                      role of new and old class reps; prep for
                      meet/confer w/ WF counsel; emails E. Gibbs
                      and A. Mura re new settlement issues and class
                      rep issues; email R. Paul re same
                      Analyze remediation data; analyze settlement
 1/21/2021    RMP                                                         0.7   $745   $521.50
                      strategy; prepare for settlement conference
                      Continue to prepare for upcoming mediation,
                      including finish proposed revisions to
                      settlement agreement and circulate, analyze
                      timing issues, co-borrowers, and secondary
                      distribution to unclaimed property fund;
 1/21/2021    LCF                                                         4.5   $445   $2,002.50
                      continue to analyze additional damages' data
                      from Wells Fargo, run damage calculations to
                      compare to Wells Fargo's calculations, compare
                      potential settlement and additional plaintiffs to
                      initial group of plaintiffs; analyze overall
 1/22/2021    EHG     review mediation email, respond re same             0.3   $910   $273.00
 1/22/2021    LPL     Further edits to draft settlement agreement         1.1   $465   $511.50
                      Legal research re: whether we can use a class
 1/22/2021    LPL     rep who is not a named plaintiff in the case; e-    2.2   $465   $1,023.00
                      mails with M. Schrag re: same
                      Conference call with M. Schrag, co-counsel,
                      and defense counsel re: settlement discussions
 1/22/2021    LPL                                                         0.8   $465   $372.00
                      and upcoming settlement conference with
                      Judge Ryu

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                      conf. call WF team re structure of second
                      settlement; review/edit draft settlement
 1/22/2021    MLS     agreement; follow up emails and tel. calls R.      2.3   $800   $1,840.00
                      Paul and E. Gibbs; review data re new class
                      members
                      Begin to meet and confer with Wells Fargo in
                      advance of settlement conference, confer
                      regarding initial analysis of damages and
 1/22/2021    LCF     potential settlement structure; follow-up          0.8   $445   $356.00
                      correspondence regarding identified
                      discrepancy with days delinquency for one
                      class member's settlement calculations
 1/24/2021    RMP     Work on settlement strategy                        0.1   $745    $74.50
                      Conference call with M. Schrag and team re:
 1/25/2021    LPL                                                        0.6   $465   $279.00
                      upcoming settlement conference with Judge
                      conf. call Team re settlement data and structure
 1/25/2021    MLS     issues; email E. Gibbs re same; email def.         1     $800   $800.00
                      counsel re same;
                      Analyze next steps to make settlement demand,
                      including need for administration costs,
 1/25/2021    LCF                                                        0.4   $445   $178.00
                      additional data from Wells Fargo, and quote
                      from C. Yanni to serve as special master
                      Work on settlement agreement; work on
 1/25/2021    RMP                                                        1.3   $745   $968.50
                      mediation strategy
                      Review and analyze transcript for 12/1/20
 1/26/2021    LPL     hearing re: Wells Fargo's discovery of             0.3   $465   $139.50
                      additional class members
                      emails E. Gibbs re settlement strategy; emails
                      C. Yanni and team re quote for emotional
 1/26/2021    MLS                                                        0.8   $800   $640.00
                      distress fund; review contract re same; email
                      WF counsel re same
                      Review and analyze draft of Plaintiffs'
 1/27/2021    LPL                                                        0.4   $465   $186.00
                      exchanged settlement statement for Judge Ryu
                      emails WF counsel and R. Paul re data needed
 1/27/2021    MLS     to complete demand and extending briefing          0.5   $800   $400.00
                      deadline for settlement conf. statements
                      Revise draft of Exchanged Settlement
 1/27/2021    LCF     Statement and circulate for further review;        1.3   $445   $578.50
                      analyze potential settlement demand and class
                      Work on settlement demand; draft settlement
 1/27/2021    RMP     conference statement; correspondence with          0.9   $745   $670.50
                      opposing counsel re: settlement conference
 1/28/2021    EHG     review additional settlement data                  0.4   $910   $364.00
                      E-mails with team re: following up with Wells
 1/28/2021    LPL                                                        0.1   $465    $46.50
                      Fargo for data on 11 borrowers/class members

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                      emails co-counsel and wells fargo counsel re
 1/28/2021    MLS     settlement demand, extending briefing schedule      1.3   $800   $1,040.00
                      on settlement conf.; email E. Gibbs re same;
                      Work on damage calculations and update
 1/28/2021    LCF     regarding anticipated timing to receive             0.1   $445    $44.50
                      additional information needed to prepare
 1/28/2021    RMP     Work on settlement offer                            0.1   $745    $74.50
                      E-mails with M. Schrag and co-counsel re:
 1/29/2021    LPL     draft settlement demand to Wells Fargo; call        0.7   $465   $325.50
                      with M. Schrag and R. Paul re: same
                      Draft settlement demand; tel. calls and emails
 1/29/2021    MLS     R. Paul and L. Fellows re same; review L.           2.8   $800   $2,240.00
                      Fellows spreadsheet; revise calculations
                      Prepare draft settlement demand, including
                      prepare damage calculations using Hernandez
 1/29/2021    LCF     formula, average data for 11 class members          2.9   $445   $1,290.50
                      missing data, draft proposed settlement demand
                      to send to Wells Fargo
 1/29/2021    RMP     Work on preparing settlement demand                 0.4   $745   $298.00
                      follow up email to WF counsel re demand;
 1/31/2021    MLS                                                         0.5   $800   $400.00
                      work on calculations of input re demand
                      emails re settlement conf. and missing data; tel.
  2/1/2021    MLS                                                         0.3   $800   $240.00
                      call R. Paul re same
  2/1/2021    RMP     Prepare for settlement conference                   0.1   $745    $74.50
                      Conference call with team and defense counsel
                      re: upcoming settlement conference with Judge
  2/2/2021    LPL                                                         0.7   $465   $325.50
                      Ryu and settlement amount for this second
                      half; follow-up e-mails with co-counsel re:
                      review emails re damages analysis and
                      communications w/ Judge Ryu; conf. call WF
  2/2/2021    MLS     counsel re settlement demand inputs; follow up      1.3   $800   $1,040.00
                      tel. call R. Paul re same; review spreadsheets re
                      inputs to damages demand.
                      Conference call with opposing counsel re:
  2/2/2021    RMP                                                         0.7   $745   $521.50
                      settlement; analyze settlement strategies
                      Correspond with Wells Fargo regarding initial
                      settlement demand and data still missing for 11
                      borrowers, prepare for the same; analyze
  2/2/2021    LCF     correspondence with Judge Ryu and timing to         0.6   $445   $267.00
                      provide settlement documents in light of
                      potential resolution without need for
                      involvement of Judge Ryu
                      Conference call with M. Schrag, co-counsel,
  2/3/2021    LPL     and defense counsel re: proposed structure for      0.6   $465   $279.00
                      this phase of the settlement

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                      emails re settlement demand calculations;
  2/3/2021    MLS                                                      0.8   $800   $640.00
                      review/edit demand to defense counsel
                      Analyze potential economic damages for class
                      members, correspond with E. Ireland and G.
                      Shergill to determine discrepancy between
                      Wells Fargo’s and Plaintiffs’ proposed
  2/3/2021    LCF                                                      0.9   $445   $400.50
                      economic damage calculations, update team
                      regarding resolution; draft proposed, revised
                      settlement demand with revised economic
                      damages
                      emails Team re settlement calculations and
  2/4/2021    MLS                                                      1.3   $800   $1,040.00
                      demand; tel. call and email WF counsel re
  2/5/2021    RMP     Draft Settlement Agreement                       1.1   $745   $819.50
                      review/edit draft settlement agreement; review
  2/7/2021    MLS     WF settlement proposal; discuss same w/ R.       1.5   $800   $1,200.00
                      Paul; draft counter proposal
                      Review settlement offer from Wells Fargo;
  2/7/2021    RMP     consider response; draft Settlement Agreement    0.9   $745   $670.50
                      with counter-demand
  2/8/2021    EHG     c/w MLS re status of negotiations, next moves    0.3   $910   $273.00
                      Call to S. Campos re cancelation of upcoming
  2/8/2021     JJB                                                     0.4   $580   $232.00
                      settlement conference; emails re same
                      Call with Debora Granja to keep her updated
  2/8/2021    LPL     on the latest settlement discussions; e-mails    0.4   $465   $186.00
                      with team re: same
                      tel. calls and emails R. Paul and E. Gibbs re
                      settlement strategy; email to WF counsel re
  2/8/2021    MLS     counter demand and canceling settlement conf.;   1.5   $800   $1,200.00
                      review/edit draft settlement agreement to send
                      to WF
  2/8/2021    RMP     Settlement discussions                           0.1   $745    $74.50
  2/9/2021    RMP     Settlement negotiations                          0.1   $745    $74.50
                      review emails from J. Ryu and A. Groves and
 2/10/2021    MLS                                                      0.2   $800   $160.00
                      order taking mediation off calendar
                      Research re potential class member A. Skov;
 2/12/2021     JJB                                                     0.5   $580   $290.00
                      emails re same
                      Review status of settlement negotiations and
 2/14/2021    LCF     response from Wells Fargo, analyze next steps,   0.3   $445   $133.50
                      and outline thoughts
 2/16/2021    MLS     emails re settlement demand                      0.2   $800   $160.00
                      Draft allocation plan to attach to settlement
 2/18/2021    RMP     agreement; analyze remaining settlement issues   1.3   $745   $968.50
                      to resolve




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                      Draft exhibits to settlement agreement (notice
 2/23/2021    RMP     plan, proposed preliminary approval order, and      0.9   $745   $670.50
                      severe emotional distress claim form)
                      Emails defense counsel re new data on new
 2/26/2021    MLS     class members; emails Team re same; analyze         1.5   $800   $1,200.00
                      new data and damages/settlement calculations
                      Work on updated damage calculations for
                      additional borrowers, including revise
                      calculations to include additional borrowers,
 2/26/2021    LCF     compare settlement calculations to numbers          2.4   $445   $1,068.00
                      provided by Wells Fargo, draft correspondence
                      to Wells Fargo outlining discrepancies and
                      schedule time to discuss discrepancies
                      Review new information from Wells Fargo
 2/28/2021    RMP                                                         0.2   $745   $149.00
                      about class data; analyze settlement demand
                      Legal research re: attorney's fee awards that are
                      being paid in addition to a fund for class
  3/1/2021    LPL                                                         0.9   $465   $418.50
                      member compensation; e-mails with M. Schrag
                      re: same
                      Continue to work on settlement allocation and
                      delinquency calculations, correspond with G.
                      Shergill and E. Ireland regarding Wells Fargo's
  3/1/2021    LCF                                                         0.5   $445   $222.50
                      delinquency calculations and compare to
                      Plaintiffs', review damage calculations and
                      prior correspondence to prepare for call
                      Research on whether Judge Alsup typically
                      enters a final judgment after the final approval
  3/3/2021    LPL                                                         0.9   $465   $418.50
                      motion (to indicate whether we need to move
                      to reopen any final judgment here)
                      Continue to work on damage calculations for
                      second group of impacted borrowers, including
                      work to resolve discrepancy between
  3/4/2021    LCF                                                         0.9   $445   $400.50
                      delinquency formula between Wells Fargo and
                      plaintiffs, confirm no substantive impact
                      between different calculations
  3/8/2021    LCF     Work on damage calculations                         0.8   $445   $356.00
                      Work on Wells Fargo's proposed letter to
 3/12/2021    LCF     borrowers providing initial remediation             0.1   $445    $44.50
                      payment and offer to mediate
                      Review and analyze Wells Fargo's proposed
 3/18/2021    LPL                                                         0.5   $465   $232.50
                      edits to settlement agreement
                      Review Wells Fargo's edits to draft settlement
 3/19/2021    RMP                                                         0.8   $745   $596.00
                      agreement




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                      review and analyze data from WF re 10 new
 3/24/2021    MLS     class members emails re incorporating into         0.3   $800   $240.00
                      settlement agreement
                      Draft Settlement Agreement; review proposed
 3/25/2021    RMP                                                        1     $745   $745.00
                      edits from Wells Fargo
                      Review and analyze Wells Fargo’s edits to
                      draft settlement agreement, outline thoughts
                      regarding timing proposed, compare to court’s
 3/25/2021    LCF     approval orders and agreement from Hernandez       2.7   $445   $1,201.50
                      I; revise damage calculations to include 10
                      additional borrowers from Wells Fargo, outline
                      revised numbers
                      Call with M. Schrag re: reviewing co-counsel's
 3/26/2021    LPL     edits to the draft settlement agreement and        0.2   $465    $93.00
                      motion for preliminary approval
                      review/edit settlement agreement and prelim
 3/26/2021    MLS                                                        1.3   $800   $1,040.00
                      approval brief; emails L. Fellows re same
                      Finalize revised draft of settlement agreement
 3/27/2021    LCF     and send to Wells Fargo with respect for a call;   0.6   $445   $267.00
                      work on draft settlement agreement
 3/27/2021    RMP     Work on settlement agreement                       0.1   $745    $74.50
                      Work on settlement agreement, including draft
                      chart analyzing relevant settlement dates and
 3/29/2021    LCF                                                        1.5   $445   $667.50
                      administration of settlement, compare to draft
                      to ensure dates are feasible
 3/31/2021    MLS     emails re finalizing settlement                    0.2   $800   $160.00
  4/1/2021    RMP     Correspondence re: settlement discussions          0.1   $745   $74.50
  4/3/2021    RMP     Review settlement issues                           0.1   $745   $74.50
                      Work on final distribution amounts/economic
                      damages, including incorporate additional
                      damages information for remaining 10
                      plaintiffs, analyze updated economic damages
  4/5/2021    LCF     figure; work on finalizing settlement, including   0.9   $445   $400.50
                      analyze settlement timing and providing
                      payments to class members before end of the
                      year, correspond with K. Brinson and A.
                      Groves regarding timing to finalize settlement
                      Legal research on whether additional fees were
                      awarded after additional class members were
  4/6/2021    LPL                                                        0.4   $465   $186.00
                      discovered in Soto v. American Honda Motor
                      Co.
                      Call with R. Paul and M. Schrag re: latest draft
 4/12/2021    LPL     of settlement agreement; review Wells Fargo's      0.6   $465   $279.00
                      edits to settlement agreement



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                      review/edit settlement agreement; emails WF
                      counsel re same; conf. call L. Lam and R. Paul
 4/12/2021    MLS                                                        2.7   $800   $2,160.00
                      re same; tel. call A. Groves re punch list of
                      terms to finalize agreement; email re same
 4/12/2021    RMP     Work on finalizing settlement papers               0.4   $745   $298.00
                      Work on settlement agreement and final
                      damages, including review redline of
 4/12/2021    LCF                                                        0.2   $445    $89.00
                      agreement from Wells Fargo, analyze revised
                      emotional distress fund amount proposed by
                      Emails with L. Lam re execution of settlement
 4/13/2021     JJB                                                       0.2   $580   $116.00
                      agreement
                      review email from A. Groves re emotional
                      distress fund; tel. calls and emails L. Lam and
 4/13/2021    MLS     L. Fellows re response to same and plans to        1.3   $800   $1,040.00
                      finalize settlement agreement and prlelim
                      approval brief
                      Email to S. Campos re execution of settlement
 4/14/2021     JJB                                                       0.2   $580   $116.00
                      agreement
                      Review and edit settlement agreement; e-mail
 4/14/2021    LPL     latest version back to Wells Fargo for final       1.1   $465   $511.50
                      review
                      review/edit WF new draft of settlement
                      agreement; emails L. Fellows re same; work on
 4/14/2021    MLS     prelim approval exhibits and brief; emails and     2.3   $800   $1,840.00
                      tel. call L. Lam re lodestar; emails WF counsel
                      re edits to settlement
                      Work on draft settlement agreement, update
 4/14/2021    LCF                                                        0.6   $445   $267.00
                      economic damages and attorneys' fees numbers
                      E-mails and confer with M. Schrag and defense
 4/15/2021    LPL     counsel re: latest draft of settlement agreement   0.3   $465   $139.50
                      and amount of attorney's fees
                      Work on draft allocation plan, including review
                      and edit Wells Fargo's proposed edits to the
 4/15/2021    LCF                                                        0.5   $445   $222.50
                      plan; work on draft notice and other exhibits,
                      review Wells Fargo's latest edits
                      E-mails with team and defense counsel re:
 4/16/2021    LPL     getting a finalized and signed version of the      0.3   $465   $139.50
                      settlement agreement
                      Review latest draft of settlement agreement;
 4/16/2021    RMP                                                        0.7   $745   $521.50
                      correspondence re: settlement approval papers
                      Work on settlement agreement, revise most
 4/16/2021    LCF                                                        0.2   $445    $89.00
                      recent draft from Wells Fargo
 4/18/2021    RMP     Review settlement documents                        0.1   $745    $74.50




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                      Proofread "final" settlement agreement, analyze
                      status of outstanding exhibits to finalize
                      agreement, outline thoughts, finalize settlement
 4/19/2021    LCF                                                        3.3   $445   $1,468.50
                      agreement and severe emotional distress form,
                      send to Wells Fargo; review and edit draft of
                      Motion for Preliminary Approval
 4/19/2021    RMP     Work on finalizing settlement papers               0.6   $745   $447.00
                      review WF edits to settlement agreement;
 4/25/2021    MLS                                                        0.3   $800   $240.00
                      emails re same
                      Call with M. Schrag re: outstanding items that
 4/26/2021    LPL     need to be finalized for settlement agreement      0.3   $465   $139.50
                      and motion for preliminary approval
                      E-mail to defense counsel re: minimum
                      remediation amount to second group of class
 4/28/2021    LPL                                                        0.2   $465    $93.00
                      members (to report in preliminary approval
                      motion)
                      Work on final settlement documents, including
                      proofread and edit final drafts of Settlement
                      Agreement and related exhibits, including
 4/28/2021    LCF                                                        2.8   $445   $1,246.00
                      Allocation Plan, Notice, Proposed Order, and
                      Severe Emotional Distress Claim Form, outline
                      further edits
                      Work on finalizing settlement agreement;
 4/28/2021    RMP                                                        0.3   $745   $223.50
                      review inquiries from class members
                      Emails with L. Lam re execution of settlement
 4/29/2021     JJB                                                       0.3   $580   $174.00
                      agreement; email to S. Campos re same
                      E-mails with co-counsel, defense counsel, and
                      class reps about finalizing settlement
 4/29/2021    LPL                                                        0.5   $465   $232.50
                      agreement and its exhibits, and then getting
                      settlement agreement signed
                      review final settlement; tel. call L. Lam re
 4/30/2021    MLS     signatures and steps needed to complete            0.7   $800   $560.00
                      preliminary approval papers
                      E-mails with class rep Granja and co-counsel
  5/1/2021    LPL     re: version of settlement agreement that has       0.2   $465    $93.00
                      been executed by Plaintiffs
  5/1/2021    RMP     Work on finalizing settlement agreement            0.3   $745   $223.50
                      E-mail to defense counsel re: settlement
  5/2/2021    LPL     agreement signed by class reps Granja and          0.1   $465    $46.50
                      Campos
                      emails from class members; emails re
  5/3/2021    MLS                                                        0.5   $800   $400.00
                      finalizing settlement; tel. calls L. Lam re same
                      Call with Wells Fargo and co-counsel re: next
  5/7/2021    LPL     steps for finalizing settlement agreement and      0.3   $465   $139.50
                      preliminary approval motion

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                         Correspond with Wells Fargo regarding
  5/7/2021      LCF      finalizing the settlement agreement,                 0.3    $445    $133.50
                         outstanding issues
                         E-mails with defense counsel re: status on
 5/12/2021      LPL                                                           0.1    $465     $46.50
                         Wells Fargo signing the settlement agreement
                         Review correspondence re: settlement
 5/12/2021     RMP                                                            0.1    $745     $74.50
                         documents
                         E-mails with team and call with M. Schrag re:
 5/14/2021      LPL      Wells' signing the settlement agreement and          0.4    $465    $186.00
                         timeline for preliminary approval motion
                         review/edit proposed settlement/distribution
 5/14/2021     MLS       schedule; emails re same; tel. call L. Lam re        0.3    $800    $240.00
                         same
 5/14/2021     RMP       Analyze timeline for settlement process              0.1    $745     $74.50
                         Work on settlement timeline and revising the
 5/14/2021      LCF                                                           0.7    $445    $311.50
                         same, outline general settlement procedure
                         Work on schedule for settlement proceedings;
 5/17/2021     RMP                                                            0.6    $745    $447.00
                         work on finalizing settlement
                         Work on settlement timeline and finalizing
                         settlement process, outline further revisions
 5/17/2021      LCF                                                           0.8    $445    $356.00
                         and next steps to finalize and file for
                         preliminary approval
 5/21/2021     RMP       Correspondence re: finalizing settlement             0.1    $745      $74.50
  6/7/2021     RMP       Correspondence re: settlement timeline               0.2    $745     $149.00
                                                            Project Total:   197.1          $126,259.00

              Project: Notice to and communications with supplemental class members
    Date   Timekeeper                       Description                      Hours x Rate = Fee
                        Call with M. Schrag re: drafting preliminary
 2/8/2021     LPL                                                        0.2      $465        $93.00
                        approval brief
                        Draft motion for preliminary approval; analyze
                        data for 10 of the remaining class members for
 2/12/2021    LCF       whom Wells Fargo did not initially provide       1.3      $445       $578.50
                        data, confirm calculations match Wells Fargo's
                        purported calculations
                        E-mails and call with M. Schrag and J.
 2/17/2021    LPL       Bloomfield re: lodestar and hours to submit      0.3      $465       $139.50
                        with preliminary approval motion
                        Prepare for second preliminary approval by
                        auditing and categorizing time records for work
 2/17/2021    MLS                                                        2.3      $800      $1,840.00
                        done after first final approval; emails and tel.
                        calls L. Lam and J. Bloomfield re same




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                      Review time records for Hernandez I,
                      Hernandez II, and Ryder for upcoming
 2/18/2021    LPL                                                       1.2   $465   $558.00
                      preliminary approval motion; e-mail to M.
                      Schrag and J. Bloomfield re: same
 2/18/2021    LPL     Draft outline of motion for preliminary           0.6   $465   $279.00
 2/19/2021    LPL     Draft motion for preliminary approval             0.4   $465   $186.00
                      Draft motion for preliminary approval of new
 2/22/2021    RMP                                                       0.7   $745   $521.50
                      class settlement
                      Continue drafting motion for preliminary
 2/23/2021    LPL                                                       2.4   $465   $1,116.00
                      approval; call with M. Schrag re: same
                      Continue drafting motion for preliminary
 2/24/2021    LPL                                                       3.1   $465   $1,441.50
                      approval
                      Continue drafting motion for preliminary
 2/25/2021    LPL     approval of supplemental settlement; call with    6.4   $465   $2,976.00
                      M. Schrag re: same
                      emails defense counsel re new data and revised
 2/25/2021    MLS     class list; tel. call L. Lam re preliminary       0.5   $800   $400.00
                      approval motion
                      E-mail to M. Schrag re: draft motion for
 2/26/2021    LPL                                                       0.1   $465    $46.50
                      preliminary approval of supplemental
                      review and audit time for prelim approval
 2/28/2021    MLS                                                       0.3   $800   $240.00
                      motion
                      Calls and e-mails with M. Schrag and A. Mura
  3/1/2021    LPL     re: drafting motion for preliminary approval of   0.6   $465   $279.00
                      supplemental settlement
                      work on motion for prelim approval of
  3/1/2021    MLS                                                       3.5   $800   $2,800.00
                      supplemental settlement
                      Edits to draft motion for preliminary approval;
  3/2/2021    LPL                                                       3.6   $465   $1,674.00
                      e-mails with M. Schrag re: same
                      work on preliminary approval motion; legal
  3/2/2021    MLS     research re same; emails and tel. calls L. Lam    4.7   $800   $3,760.00
                      re same
  3/3/2021    LPL     Continue editing motion for preliminary           5.3   $465   $2,464.50
                      E-mails and calls with M. Schrag re: draft
  3/3/2021    LPL                                                       0.5   $465   $232.50
                      motion for preliminary approval of settlement
                      work on motion for preliminary approval; tel.
  3/3/2021    MLS                                                       1.5   $800   $1,200.00
                      calls and emails L. Lam re same
                      Analyze allocation formula with supplemental
  3/4/2021    RMP                                                       0.7   $745   $521.50
                      data; draft motion for preliminary approval
  3/6/2021    RMP     Draft motion for preliminary approval             0.9   $745   $670.50
                      Review and analyze co-counsel's edits to
 3/10/2021    LPL                                                       0.4   $465   $186.00
                      motion for preliminary approval
                      Review, analyze, and outline proposed edits to
 3/10/2021    LCF     draft Motion for Preliminary Approval of          1.4   $445   $623.00
                      second settlement

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                      Draft class notice; work on settlement approval
 3/11/2021    RMP                                                        0.8   $745   $596.00
                      papers
                      work on preliminary approval motion; emails
 3/12/2021    MLS                                                        1     $800   $800.00
                      re getting WF edits to settlement agreement
 3/13/2021    RMP     Draft motion for preliminary approval              0.3   $745   $223.50
                      Review and analyze M. Schrag's further edits to
 3/17/2021    LPL                                                        0.4   $465   $186.00
                      draft motion for preliminary approval
                      Work on draft preliminary approval brief for
                      supplemental settlement, including analyze
                      further edits, research status of other cases
 3/17/2021    LCF                                                        1.7   $445   $756.50
                      against Wells Fargo to incorporate into the
                      draft; finalize amended tolling agreement and
                      send signed copy to Wells Fargo
                      E-mails with M. Schrag re: draft class counsel
 3/27/2021    LPL     declaration in support of motion for               0.1   $465    $46.50
                      preliminary approval
                      Draft class counsel declaration in support of
 3/29/2021    LPL     motion for preliminary approval of                 2.9   $465   $1,348.50
                      supplemental class action settlement
                      E-mails with A. Gossard, M. Schrag, and A.
 3/29/2021    LPL     Mura about calculating lodestar for submission     0.2   $465    $93.00
                      with motion for preliminary approval
                      work on prelim approval brief; emails def.
 3/29/2021    MLS     counsel re emotional distress fund; conf. L.       1.7   $800   $1,360.00
                      Lam re same
                      Further edits to class counsel declaration in
 3/30/2021    LPL     support of motion for preliminary approval of      2.3   $465   $1,069.50
                      supplemental settlement
                      E-mails with Honeyleen Bohol, JND, and team
 3/30/2021    LPL     re: reissuing settlement checks to certain class   0.8   $465   $372.00
                      members
                      work on declaration for prelim approval
 3/30/2021    MLS                                                        1.7   $800   $1,360.00
                      motion; emails re amount of emotional distress
                      Conf. call with Wells Fargo and co-counsel re:
  4/5/2021    LPL                                                        0.6   $465   $279.00
                      settlement agreement and preliminary approval
                      conf. call WF counsel re settlement terms,
                      prelim approval brief and final approval
  4/5/2021    MLS                                                        1.3   $800   $1,040.00
                      schedule; follow up call Team re same; review
                      schedule
                      Draft motion for preliminary approval; analyze
  4/5/2021    RMP     negotiations to close out settlement; phone call   1.6   $745   $1,192.00
                      with opposing counsel re: settlement agreement
                      work on Prelim approval moion; emails Team
  4/6/2021    MLS                                                        1     $800   $800.00
                      re same
  4/6/2021    RMP     Draft motion for preliminary approval              1     $745   $745.00

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                      Review and edit latest draft of motion for
  4/7/2021    LPL     preliminary approval; e-mails with M. Schrag,     1.5   $465   $697.50
                      E. Gibbs, and defense counsel re: same
                      E-mails with A. Penley, M. Schrag, and co-
  4/7/2021    LPL     counsel re: litigation expenses to mention in     0.3   $465   $139.50
                      preliminary approval brief
                      work on prelim approval motion and
  4/7/2021    MLS                                                       0.5   $800   $400.00
                      declaration; emails re same and re costs
                      Edits to class counsel declaration ISO
  4/8/2021    LPL     preliminary approval; e-mail to defense counsel   0.7   $465   $325.50
                      re: same
                      E-mails with team and call with A. Penley re:
  4/8/2021    LPL                                                       0.4   $465   $186.00
                      calculating litigation costs incurred to date
                      Work with A. Penley to gather and calculate
  4/8/2021    LPL                                                       0.5   $465   $232.50
                      GLG's litigation expenses to date
                      review/edit prelim approval motion and
  4/8/2021    MLS                                                       0.7   $800   $560.00
                      declaration; emails re litigation costs
  4/8/2021    RMP     Work on settlement approval papers                0.9   $745   $670.50
                      work on preliminary approval declaration and
  4/9/2021    MLS                                                       0.5   $800   $400.00
                      emails L, Lam and R. Paul re litigation costs
                      E-mails with A. Mura re: latest draft of motion
 4/10/2021    LPL                                                       0.1   $465    $46.50
                      for preliminary approval
                      Further edits to motion for preliminary
 4/12/2021    LPL                                                       0.4   $465   $186.00
                      approval; confer with M. Schrag re: same
                      Confer with A. Mura and M. Schrag re: status
 4/13/2021    LPL                                                       0.3   $465   $139.50
                      of draft preliminary approval motion
                      E-mails with team, defense counsel, and call
 4/13/2021    LPL     with M. Schrag re: Wells Fargo's proposed         0.7   $465   $325.50
                      edits to the settlement agreement
                      Work on reviewing and calculating GLG
 4/13/2021    LPL     lodestar to date for preliminary approval         1.4   $465   $651.00
                      motion; call with M. Schrag re: same
                      Work on calculating GLG lodestar for
 4/14/2021    LPL     preliminary approval motion; confer with M.       1.1   $465   $511.50
                      Schrag and J. Bloomfield re: same
 4/14/2021    RMP     Work on settlement approval papers                0.1   $745    $74.50
 4/15/2021    EER     Adding up lodestar time for L. Lam                0.4   $300   $120.00
                      Continue working on calculating current
 4/15/2021    LPL     lodestar to submit with preliminary approval      1.6   $465   $744.00
                      motion; e-mails with E. Rhodes re: same
                      work on prelim approval exhibits: class notice,
 4/15/2021    MLS     JND declaration, and allocation plan; emails      2.5   $800   $2,000.00
                      Team re same; review final numbers
                      Work on settlement approval papers;
 4/15/2021    RMP                                                       0.4   $745   $298.00
                      correspondence with opposing counsel re: same

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                      E-mails with A. Mura re: current draft of
 4/16/2021    LPL                                                         0.2   $465    $93.00
                      motion for preliminary approval
                      Review and analyze A. Mura's edits to draft
 4/16/2021    LPL                                                         0.4   $465   $186.00
                      preliminary approval motion
                      Further edits to motion for preliminary
 4/16/2021    LPL     approval; calls with M. Schrag and e-mails          3.9   $465   $1,813.50
                      with team re: same
                      Review/edit Keough Declaration; work on
                      preliminary approval brief; emails and tel. calls
 4/16/2021    MLS                                                         3.7   $800   $2,960.00
                      L. Lam and A. Mura re same; tel. call R. Paul
                      and emails WF counsel re timing
                      Conf. call with M. Schrag and co-counsel re:
                      further edits to preliminary approval motion,
 4/19/2021    LPL                                                         0.4   $465   $186.00
                      settlement agreement, and certain attachments
                      to settlement agreement
                      Further edits to motion for preliminary
 4/19/2021    LPL                                                         0.9   $465   $418.50
                      approval; call with M. Schrag re: same
                      Further edits to class counsel declaration in
 4/20/2021    LPL                                                         0.8   $465   $372.00
                      support of preliminary approval
                      Work on settlement approval papers; follow up
 4/20/2021    RMP                                                         0.2   $745   $149.00
                      with potential class members
                      review/edit proposed order on prelim approval;
 4/23/2021    MLS     email WF counsel re same; review L. Fellows         0.8   $800   $640.00
                      summary of status settlement exhibits
                      Incorporate Wells Fargo's edits to current draft
 4/26/2021    LPL                                                         1.3   $465   $604.50
                      of motion for preliminary approval
                      E-mail to defense counsel re: outstanding items
 4/26/2021    LPL     for sign-off on motion for preliminary approval     0.6   $465   $279.00
                      and settlement agreement
                      Work on updated GLG lodestar for preliminary
 4/26/2021    LPL     approval motion; e-mails with L. Fellows re:        0.6   $465   $279.00
                      same
                      tel. call L. Lam re status of all settlement and
                      preliminary approval related documents;
 4/26/2021    MLS                                                         0.8   $800   $640.00
                      review emails to WF re same; review edits to
                      exhibits; email to C. Yanni re declaration;
                      Work on lodestar for work spent post-
                      settlement and work on Hernandez II, review
 4/26/2021    LCF                                                         3.6   $445   $1,602.00
                      relevant time records and exercise billing
                      judgment
                      Continue to work on lodestar for work spent
                      post-settlement and work on Hernandez II,
 4/27/2021    LCF                                                         2     $445   $890.00
                      review relevant time records and exercise
                      billing judgment



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                      Review time in preparation of request for
 4/27/2021    KDJ                                                        0.4   $260   $104.00
                      attorney fees
                      Work on closing out settlement; draft
 4/27/2021    RMP                                                        1.1   $745   $819.50
                      settlement approval papers
                      Edits to Yanni declaration in support of
 4/28/2021    LPL                                                        0.4   $465   $186.00
                      preliminary approval
                      review settlement papers and edits to proposed
                      order and preliminary approval declaration;
 4/29/2021    MLS     email WF counsel re same; emails and tel. calls    1.7   $800   $1,360.00
                      L. Fellows and WF counsel re class definition
                      issue; emails re Yanni declaration;
                      Work on settlement documents, including
                      proposed preliminary approval order and
                      allocation plan, outline edits, correspond with
 4/29/2021    LCF                                                        2.9   $445   $1,290.50
                      Wells Fargo regarding agreement to revise;
                      revise final settlement documents and circulate
                      execution copies to Wells Fargo
                      Work on further editing and finalizing
 4/30/2021    LPL     preliminary approval and settlement agreement      1.7   $465   $790.50
                      exhibits; calls with M. Schrag re: same
                      Work on preliminary approval brief, including
 4/30/2021    LCF                                                        0.2   $445    $89.00
                      work on lodestar
                      Call with M. Schrag and e-mail to co-counsel
  5/3/2021    LPL     re: submitting Yanni's agreement with JND to       0.2   $465    $93.00
                      act as special master
  5/5/2021    LCF     Work on preliminary approval brief                 0.1   $445    $44.50
                      Call with M. Schrag re: plan for finalizing
  5/6/2021    LPL                                                        0.3   $465   $139.50
                      preliminary approval motion and exhibits
                      Calculate class counsel's current lodestar and
  5/6/2021    LPL     multiplier to include with preliminary approval    0.5   $465   $232.50
                      motion
                      Incorporate Wells Fargo's edits and further edit
  5/7/2021    LPL                                                        3.3   $465   $1,534.50
                      motion for preliminary approval
                      E-mail to JND re: attaching agreement with
  5/7/2021    LPL     Cathy Yanni to Keough declaration ISO              0.1   $465    $46.50
                      preliminary approval
                      review edit preliminary approval brief and WF
                      edits; emails re same; tel. call L. Lam re same;
  5/7/2021    MLS                                                        1.5   $800   $1,200.00
                      review/ edit JND declaration emails JND re
                      same
                      E-mails with JND and defense counsel re: edits
  5/9/2021    LPL     to JND declaration in support of preliminary       0.3   $465   $139.50
                      approval
                      Work on edits to preliminary approval motion
  5/9/2021    RMP                                                        0.5   $745   $372.50
                      and order

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                      Further edits to class counsel declaration in
 5/10/2021    LPL     support of preliminary approval; confer with      2.1   $465   $976.50
                      M. Schrag re: same
                      E-mails with team and D. Kwan re: finalizing
 5/10/2021    LPL     motion for preliminary approval; review tables    1.1   $465   $511.50
                      of contents and authorities
                      work on preliminary approval papers; emails
 5/10/2021    MLS                                                       0.8   $800   $640.00
                      and tel. calls L. Lam re same
 5/10/2021    RMP     Draft motion for preliminary approval             0.6   $745   $447.00
                      Work on motion for preliminary approval,
 5/10/2021    LCF                                                       0.5   $445   $222.50
                      review current draft and outline any further
                      E-mails with R. Paul re: language in the
 5/11/2021    LPL     introduction of motion for preliminary            0.2   $465    $93.00
                      approval; confer with M. Schrag re: same
                      review edit prelim approval motion; emails and
 5/11/2021    MLS                                                       0.3   $800   $240.00
                      tel. calls L. Lam re same
                      Consider request from Wells Fargo to delay
 5/13/2021    RMP     submission of settlement approval; work on        0.3   $745   $223.50
                      schedule for settlement approval
                      Conf. call and e-mails with M. Schrag and co-
 5/17/2021    LPL     counsel re: timing for preliminary approval       0.6   $465   $279.00
                      motion
                      emails re finalizing settlement and prelim
 5/20/2021    MLS                                                       0.2   $800   $160.00
                      approval papers
                      E-mails with team and call with M. Schrag re:
 5/21/2021    LPL                                                       0.3   $465   $139.50
                      plan for filing motion for preliminary approval
                      Work on motion for preliminary approval and
 5/21/2021    LCF                                                       0.1   $445    $44.50
                      updated attorney fee amount
 5/25/2021    LCF     Work on motion for preliminary approval           0.1   $445    $44.50
                      Confer with M. Schrag re: new timeline for
  6/1/2021    LPL                                                       0.1   $465    $46.50
                      filing preliminary approval motion
                      E-mails with team re: near-final drafts of
  6/4/2021    LPL     preliminary approval motion and its supporting    0.3   $465   $139.50
                      papers
                      work on preliminary approval brief; emails A.
                      Mura, E. Gibbs and L. Lam re Briseno case;
  6/4/2021    MLS                                                       2.3   $800   $1,840.00
                      emails def. counsel re filing prelim approval
                      and circulating settlement signatures
                      Draft motion for preliminary approval of
  6/4/2021    RMP                                                       0.7   $745   $521.50
                      settlement
                      Revise and edit draft motion for preliminary
  6/4/2021    LCF     approval, joint declaration, and declaration of   1.4   $445   $623.00
                      C. Yanni




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                      Review latest drafts of preliminary approval
  6/5/2021    LPL     motion and supporting declaration; e-mail to       0.5   $465   $232.50
                      team re: same
                      work on preliminary approval papers; emails
  6/5/2021    MLS                                                        0.5   $800   $400.00
                      Team re same
  6/5/2021    RMP     Finalize settlement approval papers                0.3   $745   $223.50
                      Work on declaration in support of motion for
  6/5/2021    LCF                                                        0.5   $445   $222.50
                      preliminary approval, outline further edits
                      E-mails with co-counsel L. Fellows re: filing
  6/7/2021    LPL     motion for preliminary approval of                 1.3   $465   $604.50
                      supplemental settlement; calculate current GLG
                      emails re prelim approval papers and final
  6/7/2021    MLS     check numbers from JND; conf. L. Lam re            0.5   $800   $400.00
                      same; tel. calls L. Fellows re same
                      Work on preliminary approval timeline and
                      relevant dates; revise lodestar for preliminary
  6/7/2021    LCF                                                        0.4   $445   $178.00
                      approval motion, review for exercise of
                      business judgment
                      Finalize Motion for Preliminary Approval,
                      Declaration in Support and related exhibits for
  6/8/2021    LCF     filing, proofread final drafts, work with JND to   2.3   $445   $1,023.50
                      obtain updated numbers regarding checks
                      cashed from the first phase of the settlement
  6/8/2021    RPN     Finalize motion for settlement approval            0.6   $240   $144.00
                      Review and finalize motion for preliminary
  6/9/2021    LPL     approval of supplemental settlement and its        1.2   $465   $558.00
                      supporting documents
                      finalize prelim approval filing; emails and tel.
  6/9/2021    MLS                                                        1     $800   $800.00
                      L. Fellows re same; conf. L. Lam re same
                      Correspondence re: Yanni declaration in
  6/9/2021    RMP                                                        0.1   $745    $74.50
                      support of preliminary approval
                      Finalize and assist with filing preliminary
                      approval papers and related exhibits, revise
                      final declaration and C. Yanni declaration,
  6/9/2021    LCF                                                        1.5   $445   $667.50
                      further correspondence with JND regarding
                      updated numbers of checks deposited from first
                      phase of settlement
                      tel. calls and emails L. Lam and R. Paul re
 6/10/2021    MLS                                                        0.3   $800   $240.00
                      hearing date for prelim approval motion
                      Prepare proposed order on motion to approve
 6/10/2021    RPN                                                        0.7   $240   $168.00
                      settlement for emailing to chambers
                      Review order re-setting preliminary approval
 6/10/2021    RMP     hearing; correspondence with opposing counsel      0.1   $745    $74.50
                      re: moving the hearing
 6/14/2021    RMP     Correspondence re settlement approval papers       0.1   $745    $74.50

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                      E-mail to co-counsel L. Fellows re: preliminary
 6/21/2021    LPL     approval hearing date and final accounting for     0.1   $465   $46.50
                      Hernandez I
                      Call with M. Schrag re: prepping for upcoming
 7/10/2021    LPL                                                        0.1   $465   $46.50
                      hearing on motion for preliminary approval
                      Prepare for hearing on motion for preliminary
 7/13/2021    RMP                                                        0.2   $745   $149.00
                      approval
 7/15/2021    RMP     Prepare for preliminary approval hearing           0.3   $745   $223.50
 7/16/2021    RMP     Prepare for preliminary approval hearing           0.4   $745   $298.00
 7/18/2021    RMP     Prepare for preliminary approval hearing           0.5   $745   $372.50
                      E-mail to R. Paul with notes on status of
                      administrator's work on Part 1 of the settlement
 7/19/2021    LPL                                                        0.4   $465   $186.00
                      in preparation for preliminary approval hearing
                      tomorrow
 7/19/2021    RMP     Prepare for preliminary approval hearing           0.6   $745   $447.00
                      Prepare for preliminary approval hearing,
 7/19/2021    LCF     update proposed timeline and outline timing for    0.7   $445   $311.50
                      final approval hearing
                      Review motion for preliminary approval in
 7/20/2021    LPL                                                        0.4   $465   $186.00
                      preparation for preliminary approval hearing
                      Attend preliminary approval hearing by
 7/20/2021    LPL                                                        0.4   $465   $186.00
                      telephone; call with co-counsel re: same
                      Review and edit draft order granting
 7/20/2021    LPL                                                        0.3   $465   $139.50
                      preliminary approval
                      Attend hearing on motion for preliminary
                      approval, finalize preparations, draft and
                      circulate revised proposed order as ordered by
 7/20/2021    LCF     Judge Alsup; outline timing to send notice and     1.4   $445   $623.00
                      complete emotional distress before final
                      approval, correspond with E. Ireland regarding
                      timing and draft of proposed order
                      Prepare for and handle preliminary approval
 7/20/2021    RMP                                                        1.1   $745   $819.50
                      hearing; work on settlement administration
                      Finalize and file proposed order granting
 7/21/2021    LPL                                                        0.4   $465   $186.00
                      preliminary approval
                      E-mail to JND re: court granting preliminary
 7/21/2021    LPL                                                        0.1   $465   $46.50
                      approval and next steps in preparing class
                      Correspondence re: proposed preliminary
 7/21/2021    RMP                                                        0.1   $745   $74.50
                      approval order
                      Work on revised, proposed order, including
 7/21/2021    LCF                                                        0.1   $445   $44.50
                      review and analyze Wells Fargo's further edits
                      Review preliminary approval order; develop
 7/26/2021    RMP                                                        0.2   $745   $149.00
                      plan for monitoring settlement administration




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                         Work on settlement, review preliminary
 7/26/2021      LCF      approval order entered, revise settlement           0.7    $445     $311.50
                         timeline
                                                           Project Total:   145.1           $83,480.50

                 Project: Motion for preliminary approval of supplemental settlement
   Date      Timekeeper                     Description                       Hours x Rate = Fee
                        E-mails with co-counsel re: draft of letter from
  3/9/2021      LPL     Wells Fargo to new class members informing        0.2      $465        $93.00
                        them of the calculation error and remediation
                        Work on potential letter to borrowers from
  3/9/2021      LCF     Wells Fargo in connection with initial payment    0.2      $445        $89.00
                        and mediation demand, outline thoughts
                        E-mail to L. Fellows re: proposed edits to letter
                        Wells Fargo will send to newly identified class
 3/12/2021      LPL                                                       0.1      $465        $46.50
                        members to tell them about the calculation
                        error and remediation
 3/12/2021      RMP     Draft class notice                                0.3      $745       $223.50
                        E-mails with L. Fellows and office manager A.
                        Gossard re: draft letter to newly found class
 3/15/2021      LPL                                                       0.3      $465       $139.50
                        members about Wells Fargo's calculation error
                        and remediation
                        Edits to draft letter from Wells Fargo to newly
                        found class members regarding the calculation
 3/16/2021      LPL                                                       0.3      $465       $139.50
                        error, remediation, and our class action; e-mail
                        to Wells Fargo re: same
                        Work on Wells Fargo's proposed letter to
                        borrowers regarding remediation and request to
 3/16/2021      LCF     call borrowers to advise of forthcoming           0.3      $445       $133.50
                        mediation offer, analyze further edits related to
                        Hernandez case, outline thoughts
                        E-mails with A. Gossard re: phone line for
 3/17/2021      LPL     newly found class members to contact us about     0.3      $465       $139.50
                        our class action
                        E-mails with M. Schrag and defense counsel re:
                        draft language to be added to the notice about
 3/25/2021      LPL                                                       0.2      $465        $93.00
                        how economic damages checks will be made
                        out to all co-borrowers on a mortgage
                        review/edit Notice language; review exhibits to
 3/25/2021      MLS                                                       0.5      $800       $400.00
                        settlement agreement
                        review WF edits to class notice and proposed
 4/22/2021      MLS                                                       0.3      $800       $240.00
                        order
                        Review and analyze Wells Fargo's edits to draft
 4/23/2021      LPL     notice and proposed order granting preliminary    0.5      $465       $232.50
                        approval

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                      Work on draft Notice and Proposed Order,
 4/23/2021    LCF                                                          0.3   $445   $133.50
                      review further edits and outline thoughts
                      Training call on outreach with new class
 4/27/2021     DH                                                          0.3   $125    $37.50
                      members.
                      Emails with L. Lam and M. Schrag re incoming
 4/27/2021     JJB    calls from potential class members; review           0.4   $580   $232.00
                      incoming calls
                      E-mails with team re: incoming calls from new
 4/27/2021    LPL                                                          0.4   $465   $186.00
                      class members
                      Calls to new class members who called us
 4/27/2021    LPL                                                          0.6   $465   $279.00
                      inquiring about the case
                      Call and e-mails with H. Bohol and D. Higgs
                      re: calling back new class members who called
 4/27/2021    LPL                                                          1.3   $465   $604.50
                      our firm seeking additional information about
                      our case
                      emails re incoming calls from Hernandez II
 4/27/2021    MLS     class members; work on Yanni decl.; emails           1.7   $800   $1,360.00
                      and tel. call D. Agretelis re same
                      Work on responses to newly identified class
                      member inquiries after receiving Wells Fargo's
 4/27/2021    LCF                                                          0.3   $445   $133.50
                      remediation letter, outline talking points and
                      process to quickly respond to inquiries
                      Respond to inquiries from class members about
 4/28/2021     DH                                                          0.5   $125    $62.50
                      the case
                      Further edit, finalize, and file post-distribution
 4/28/2021    LPL                                                          2.3   $465   $1,069.50
                      interim accounting and status update
                      E-mails with H. Bohol, D. Higgs, and co-
                      counsel re: coordinating and divvying calls
 4/28/2021    LPL                                                          0.9   $465   $418.50
                      back to new class members who have called or
                      e-mailed us
                      tel. calls and emails class members re new
                      remediation checks. emails Team re same; tel.
                      calls and emails D. Agretelis re Yanni
 4/28/2021    MLS                                                          1.8   $800   $1,440.00
                      declaration; work on Yanni declaration; review
                      edits to allocation plan and emails re finalizing
                      settlement agreement and exhibits.
 4/28/2021    RPN     Contact with four clients about their case           1.1   $240   $264.00
                      Review and respond to class member inquiries
 4/28/2021    LCF     regarding remediation letter received from           0.7   $445   $311.50
                      Wells Fargo
                      Contact with three clients their about her letter
 4/29/2021    RPN     and check and the current status of the              0.7   $240   $168.00
                      settlement process




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                      Conf. call with M. Schrag and H. Bohol re:
 4/30/2021    LPL     how calls with second set of class members        0.3   $465   $139.50
                      have been going
  5/3/2021     DH     Respond to inquiries from class members.          0.3   $125    $37.50
  5/3/2021     JJB    Call to T. Kexel; emails with L. Lam re same      0.5   $580   $290.00
                      E-mails with H. Bohol and D. Higgs re:
  5/3/2021    LPL     responding to new class members who have          0.6   $465   $279.00
                      reached out to GLG regarding our class action
  5/3/2021    RPN     Contact with class members about case status      0.3   $240   $72.00
                      Correspond with class members T. Brengle to
                      answer his questions regarding letter received
  5/3/2021    LCF                                                       0.5   $445   $222.50
                      from Wells Fargo; review other class member
                      inquiries
  5/4/2021     DH     Respond to inquiries from class members.          0.7   $125   $87.50
                      E-mails with class members and team re:
                      responding to class member inquiries regarding
  5/4/2021    LPL                                                       0.3   $465   $139.50
                      their remediation checks and our class action
                      settlement
  5/4/2021    MLS     emails and tel. calls class members               0.3   $800   $240.00
                      Call Elizabeth Sabathe and discuss case bullet
  5/4/2021    RPN                                                       0.1   $240   $24.00
                      points
  5/4/2021    RMP     Review inquiries from class members               0.2   $745   $149.00
  5/5/2021     DH     Respond to inquiries from class members.          0.2   $125    $25.00
  5/5/2021    HCB     Calls to Class Members                            1.1   $220   $242.00
                      E-mails with team and call with H. Bohol re:
  5/5/2021    LPL     responding to calls and e-mails from second       0.4   $465   $186.00
                      group of class members
                      emails from class members; emails to/from WF
  5/5/2021    MLS     re status of settlement agreement and WF edits    0.3   $800   $240.00
                      to preliminary approval brief
                      Review and respond to inquiries from putative
  5/5/2021    LCF                                                       0.2   $445   $89.00
                      class members
  5/6/2021     DH     Respond to inquiries from class members.          0.9   $125   $112.50
                      Calls to Class Members about the
  5/6/2021    HCB                                                       0.5   $220   $110.00
                      case/settlement
                      E-mails with H. Bohol and call with D. Higgs
  5/6/2021    LPL     re: responding to calls and e-mails from second   0.6   $465   $279.00
                      group of class members
  5/6/2021    RPN     Contact with Kathi Ford about case status         0.2   $240   $48.00
 5/10/2021    DH      Respond to inquiries from class members.          0.4   $125   $50.00
                      E-mails with D. Higgs re: responding to class
 5/10/2021    LPL     member's question about sharing his               0.2   $465   $93.00
                      remediation check with his co-borrower




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                      Review and respond to inquiries from putative
 5/10/2021    LCF     class members, answer their questions              0.3   $445   $133.50
                      regarding settlement
 5/11/2021     DH     Respond to inquiries from class members.           0.1   $125   $12.50
 5/13/2021     DH     Respond to inquiries from class members.           0.2   $125   $25.00
                      Call with class member Michael Mish re: his
 5/14/2021    LPL     questions about whether mediation will affect      0.2   $465   $93.00
                      the settlement
                      E-mails with H. Bohol re: calls from borrowers
 5/17/2021    LPL                                                        0.3   $465   $139.50
                      who may be newly found class members
 5/18/2021     DH     Respond to inquiries from class members.           0.2   $125   $25.00
                      E-mails with H. Bohol re: fielding calls from
 5/18/2021    LPL                                                        0.4   $465   $186.00
                      this second group of class members
                      Spoke with Raul Lio about settlement and his
 5/18/2021    RPN                                                        0.4   $240   $96.00
                      desire to possibly mediate
 5/20/2021     DH     Respond to inquiries from class members.           0.2   $125    $25.00
 5/20/2021     JJB    Emails with team re class member inquiry           0.2   $580   $116.00
                      Call with class member Thomas Adams to
 5/20/2021    LPL     answer his questions about Wells Fargo's           0.4   $465   $186.00
                      remediation program and our settlement
                      Call w/ Class member Bartmess' atty M
 5/24/2021    HCB                                                        0.3   $220   $66.00
                      Milazzo re case
                      Call with lawyer for class member Joseph
 5/24/2021    LPL     Bartmess to answer his questions about our         0.4   $465   $186.00
                      settlement and Wells' remediation program
 5/24/2021    MLS     emails re class member inquiries                   0.2   $800   $160.00
                      Call with three potential class members about
 5/24/2021    RPN                                                        0.9   $240   $216.00
                      their potential cases
                      Call w/ class member L. Sizemore; email to
 5/25/2021    HCB                                                        0.3   $220   $66.00
                      atty re question regarding bankruptcy
                      Call w/ WF client re bankruptcy issue; follow
 5/26/2021    HCB                                                        0.7   $220   $154.00
                      up with atty re class member question
                      Work on class member inquiries, outline
 5/28/2021    LCF                                                        0.1   $445   $44.50
                      thoughts regarding inquiry from L. Sizemore
                      E-mails with team re: inquiry from class
 5/31/2021    LPL                                                        0.2   $465   $93.00
                      member Alfred Sallie and calling him back
                      Call to class member A. Sallie; emails with L.
  6/1/2021     JJB                                                       0.3   $580   $174.00
                      Lam re same
                      E-mails with J. Bloomfield re: answering class
  6/1/2021    LPL     member Alfred Sallie's questions about our         0.1   $465   $46.50
                      case and settlement
  6/1/2021    RPN     Contact with Alfred Sallie to discuss his claims   0.6   $240   $144.00
  6/7/2021    HCB     Call wf class member Atty. Lois Sizemore           0.1   $220   $22.00
                      emails to class members re mediation; tel. call
 6/11/2021    MLS                                                        0.2   $800   $160.00
                      L. Lam re hearing date for prelim approval

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                      Respond to phone inquiries from class
  7/6/2021     DH                                                        0.2   $125   $25.00
                      members.
                      Call w/ client re case update; status of
 7/21/2021    HCB                                                        0.4   $220   $88.00
                      settlement
                      E-mail to JND re: Court's order granting
 7/26/2021    LPL                                                        0.1   $465   $46.50
                      preliminary approval of supplemental
                      E-mail to defense counsel re: finalizing class
 7/26/2021    LPL     list so that JND can prepare notice to send to     0.1   $465   $46.50
                      supplemental class members
                      E-mails with L. Fellows re: getting final Word
 7/28/2021    LPL     versions of class notice and emotional distress    0.2   $465   $93.00
                      claim form to JND
                      Call w/ atty of class member re WF Class
  8/3/2021    HCB                                                        0.5   $220   $110.00
                      Action. Follow up required; informed attys
                      Call with counsel for class member Lauren
  8/3/2021    LPL     Sherma re: background on the case and the          0.4   $465   $186.00
                      settlement
                      tel call class member; email L. Lam re same;
                      emails JND re class notice schedule; review
  8/5/2021    MLS                                                        0.8   $800   $640.00
                      schedule and discuss w/ L. Fellows; emails
                      JND re same
                      Correspondence with JND re: timeline for
  8/5/2021    RMP                                                        0.6   $745   $447.00
                      settlement administration; draft fee application
  8/6/2021    HCB     Class Member outreach (respond to left vms)        0.4   $220   $88.00
                      Calls and e-mails with class members and
  8/6/2021    LPL     potential class members seeking additional         0.8   $465   $372.00
                      information on the case and settlement
                      Review and edit draft class notice and
  8/6/2021    RMP                                                        0.6   $745   $447.00
                      emotional distress claim form
                      Call with M. Schrag re: getting class notice out
  8/9/2021    LPL                                                        0.2   $465   $93.00
                      to newly identified borrowers
                      Calls and e-mails back to potential class
  8/9/2021    LPL     members re: background on the case and             0.9   $465   $418.50
                      whether they're a part of the settlement
                      Review and analyze final versions of emotional
  8/9/2021    LPL     distress claim form and class notice; confer       0.4   $465   $186.00
                      with M. Schrag re: same
                      conf. call L. Fellows and R. Bharry re notice
  8/9/2021    MLS     date and class member address protocols;           0.5   $800   $400.00
                      emails re class notice
                      Contact with four potential clients to determine
  8/9/2021    RPN                                                        1.5   $240   $360.00
                      if they are part of class
                      Work on settlement administration, timing to
  8/9/2021    LCF     send notice, correspond with JND regarding         0.3   $445   $133.50
                      same

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                      Work on finalizing settlement class list and
 8/10/2021    LCF                                                        0.2   $445    $89.00
                      class notice
                      Work on settlement administration issues; draft
 8/10/2021    RMP                                                        0.3   $745   $223.50
                      proposed final approval order
                      review time line; emails re notice mailing date;
 8/11/2021    MLS     emails re Yanni payment timeline; emails           0.8   $800   $640.00
                      Yanni re schedule
                      Analyze plaintiff damages, including analyze
                      damage calculations with updated class list,
                      compare to Wells Fargo's calculations provided
                      to JND and ensure no edits; analyze and edit
 8/11/2021    LCF                                                        5     $445   $2,225.00
                      updated class notice and emotional distress,
                      send edits to JND; draft motion for final
                      approval, incorporate citations to revised
                      motion for preliminary approval
                      Correspondence with opposing counsel and
                      JND re: settlement administration issues; draft
 8/11/2021    RMP                                                        0.5   $745   $372.50
                      joint declaration in support of final approval
                      and fee application
                      Review settlement calculations provided by
 8/11/2021    KDJ     WF to class administrator to ensure final          0.7   $260   $182.00
                      numbers match our calculations
                      E-mails with special master Cathy Yanni re:
 8/12/2021    LPL     planning for severe emotional distress claims      0.2   $465    $93.00
                      process
                      E-mails with JND re: updating settlement
 8/12/2021    LPL     website and preparing to mail out notice to        0.4   $465   $186.00
                      supplemental class
                      Contact with Morteza Ghassemieh regardnig
 8/12/2021    RPN                                                        0.1   $240    $24.00
                      potential claims
                      Review and edit revised settlement website;
 8/12/2021    RMP     review online claim form; work on settlement       1.2   $745   $894.00
                      administration; draft final approval order
                      Contact with Morteza Ghassemieh and Dan
 8/13/2021    RPN     Mohlenhoff regarding their potential claims        0.3   $240    $72.00
                      and status as class members
                      Work on settlement administration and fee
 8/13/2021    RMP                                                        0.5   $745   $372.50
                      application
                      Call with Cathy Yanni re: timing/schedule for
 8/17/2021    LPL                                                        0.5   $465   $232.50
                      severe emotional distress claims
                      zoom meeting w/ C. Yanni, Ag, L. Lam and L.
 8/17/2021    MLS     Fellows re processing severe emotional distress    0.3   $800   $240.00
                      claims; emails re same




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                      Work on settlement, including correspond with
 8/17/2021    LCF     Special Master to outline procedure to review       0.4   $445   $178.00
                      claims submitted
                      Work on settlement administration and next
 8/18/2021    LCF                                                         0.2   $445    $89.00
                      steps
                      Call with class members re case update; answer
 8/19/2021    HCB                                                         0.5   $220   $110.00
                      questions re received class notices
                      Confer with H. Bohol on updated addresses for
 8/19/2021    LPL     class members Kexel and Gogas; e-mail to            0.3   $465   $139.50
                      JND re: same
                      E-mails with M. Schrag and H. Bohol re:
 8/20/2021    LPL     responding to potential class members who           0.2   $465    $93.00
                      have reached out to our firm about the case
                      Review JND's settlement administration
 8/21/2021    RMP                                                         0.1   $745    $74.50
                      weekly report
                      Call with class member Michael Mish re:
 8/27/2021    LPL     update on the settlement approval process and       0.5   $465   $232.50
                      what he would receive under the settlement
                      Review correspondence with JND re: class
 8/27/2021    RMP     member inquiry; draft proposed final approval       0.5   $745   $372.50
                      order
                      Reach out to class member re issues w online
 8/30/2021    HCB     emotional distress application submission.          0.3   $220    $66.00
                      provided suggestion to troubleshoot
                      E-mails with H. Bohol re: responding to
 8/30/2021    LPL     inquiries from borrowers on whether they are        0.3   $465   $139.50
                      included in the class
 8/30/2021    MLS     emails and tel. calls re class notice issues        1.5   $800   $1,200.00
                      tel. calls and emails w/Team and JND re JND
 8/31/2021    MLS     Notice error; work on joint filing re same; conf.   3     $800   $2,400.00
                      call WF re same
                      E-mails with class member Amy Bishop and
  9/2/2021    LPL     JND re: Ms. Bishop's questions on how to            0.3   $465   $139.50
                      submit a claim for severe emotional distress
                      Call w class member asking for a case update;
  9/7/2021    HCB                                                         0.3   $220    $66.00
                      call with LPL re case update
                      E-mails with class member Amy Bishop to
  9/7/2021    LPL                                                         0.2   $465    $93.00
                      help her submit her emotional distress claim
                      E-mails with class member Amy Bishop re: her
  9/8/2021    LPL                                                         0.3   $465   $139.50
                      claim for severe emotional distress
                      Follow up call w/ class member re class notice
  9/9/2021    HCB                                                         0.2   $220    $44.00
                      update; email following up
                      E-mails with Gretchen Eoff at JND re: next
 9/14/2021    LPL     steps on tracking down updated addresses for        0.2   $465    $93.00
                      notices returned as undeliverable

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                      Spoke to class member. Informed me that she
                      has yet to receive updated class action notice.
 9/15/2021    HCB     Emailed LPL to inquire as to whether JND has        0.5   $220   $110.00
                      sent the notices; Call back non-WF member
                      who left vm.
                      Call with M. Schrag re: working with JND and
                      Wells Fargo to track down updated contact
 9/15/2021    LPL                                                         0.1   $465    $46.50
                      information for class members w/
                      undeliverable addresses
                      Create s/f profile for WFII class members; log
 9/16/2021    HCB                                                         0.5   $220   $110.00
                      in LPL call
                      E-mails with class member Kenneth Madison
 9/16/2021    LPL     re: his apology letter and remediation check,       0.1   $465    $46.50
                      and further benefits under the settlement
                      E-mails with JND and Wells Fargo about
 9/16/2021    LPL     tracking down updated information on class          0.4   $465   $186.00
                      members whose notices remain undeliverable
                      Call with class member Michele Heckel to give
 9/16/2021    LPL     her background on the case and settlement, and      0.5   $465   $232.50
                      to answer any questions she had
                      Correspondence with JND re: final draft of
 9/16/2021    RMP     notice and finding addresses for undelivered        0.1   $745    $74.50
                      notices
                      Call with class member Ken Madison to give
 9/17/2021    LPL     him background information on the case and          0.5   $465   $232.50
                      settlement
                      Respond to inquiry from Clayton Riddell
 9/17/2021    RPN                                                         0.4   $240    $96.00
                      regarding potential class member status
                      Work on undeliverable notices, including
 9/17/2021    LCF     analyze additional efforts to reach class           0.2   $445    $89.00
                      members
 9/19/2021    RMP     Follow up with JND re settlement                    0.1   $745    $74.50
                      Work on plan to follow up with class members
 9/20/2021    RMP     who did not receive class notice; work on           0.3   $745   $223.50
                      update to Court re: settlement administration
                      Calls and e-mails with team re: our supervision
 9/21/2021    LPL                                                         0.4   $465   $186.00
                      over JND's settlement administration process
                      work on status report re oversight of JND;
 9/21/2021    MLS     research emails re same; tel. calls and emails L.   1.7   $800   $1,360.00
                      Lam and L. Fellows re same
                      Work on draft status report regarding resending
                      class notice and efforts to reach unfound class
 9/21/2021    LCF     members, including begin to gather relevant         0.9   $445   $400.50
                      emails and facts regarding efforts to reach
                      unfound class members

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                      Call with class member Susan Gaudiosi re:
 9/22/2021    LPL     background on the case, the settlement, and her   0.5   $465   $232.50
                      benefits under the settlement
                      Calls and e-mails with team and JND re: the
 9/22/2021    LPL                                                       2.9   $465   $1,348.50
                      mailing addresses that JND sent notice to
                      Contact with Michael Mish about completing
 9/22/2021    RPN                                                       0.2   $240    $48.00
                      his emotional distress packet
                      Calls and e-mails with team and defense
                      counsel re: whether Wells Fargo has more
 9/23/2021    LPL                                                       2.2   $465   $1,023.00
                      updated addresses for class members for notice
                      purposes
                      tel. calls and emails L. Lam and WF counsel re
 9/23/2021    MLS                                                       1     $800   $800.00
                      searching for addresses for returned notices
                      Analyze information from Wells Fargo re:
 9/23/2021    RMP     available information to update class member      0.1   $745    $74.50
                      addresses
                      Continue to work on confirming most updated
                      class member addresses used to send class
 9/23/2021    LCF                                                       0.5   $445   $222.50
                      notice, including analyze information
                      potentially available from Wells Fargo
                      E-mails with defense counsel re: obtaining
 9/24/2021    LPL     updated addresses for class members and notice    0.3   $465   $139.50
                      purposes
                      Review administrator report on settlement
 9/25/2021    RMP                                                       0.1   $745    $74.50
                      administration from JND
                      Call with M. Schrag and e-mail to defense
 9/26/2021    LPL     counsel re: getting more updated class member     0.2   $465    $93.00
                      addresses from Wells Fargo for class notice
                      Call with Wells Fargo re: status of the bank
 9/27/2021    LPL     getting updated class member addresses for        0.3   $465   $139.50
                      purposes of mailing notice
                      Phone call with opposing counsel re: finding
 9/27/2021    RMP     addresses for class members; analyze strategy     0.3   $745   $223.50
                      for finding class member addresses
                      Work on revised class notices and continuing
                      to locate best class member addresses,
 9/27/2021    LCF                                                       0.4   $445   $178.00
                      including working with Wells Fargo to obtain
                      updated address information from them
                      Conf. call with team and Wells Fargo to
 9/28/2021    LPL     discuss getting updated addresses for class       0.2   $465    $93.00
                      members for notice purposes
                      Continue to work on obtaining best addresses
 9/30/2021    LCF                                                       0.1   $445    $44.50
                      and process to send notice to class members




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                      Call with JND and M. Schrag re: getting new
 10/1/2021    LPL     notices mailed out to class members for whom        0.2   $465    $93.00
                      we have updated addresses
                      emails and tel. calls re updating addresses for
 10/1/2021    MLS                                                         0.5   $800   $400.00
                      undeliverable notices
                      Contact class members for whom we have
 10/1/2021    RPN                                                         5     $240   $1,200.00
                      contact data and confirm receipt of class notice
                      Continue to work on locating undeliverable
                      class members, review additional information
                      from Wells Fargo regarding locating class
                      members; work on contacting class members
                      with whom we have previously spoken to
 10/1/2021    LCF     confirm receipt of notice and potentially update    1     $445   $445.00
                      contact information, draft follow-up
                      correspondence for class members, review and
                      analyze specific class member questions and
                      draft responses; correspond with class member
                      Raoul to answer his questions regarding
                      Correspondence with WF counsel re: updating
 10/1/2021    RMP                                                         0.1   $745    $74.50
                      class member addresses
                      Contact class members for whom we have
 10/2/2021    RPN                                                         0.2   $240    $48.00
                      contact data and confirm receipt of class notice
                      Work with JND and co-counsel L. Fellows to
                      get new notices out to a group of 68 borrowers
 10/4/2021    LPL                                                         0.9   $465   $418.50
                      for whom we have updated addresses from
                      Wells Fargo
                      E-mails with Wells Fargo re: getting more
                      updated addresses for remaining class members
 10/4/2021    LPL                                                         0.2   $465    $93.00
                      (whose notices have not been returned as
                      undeliverable)
                      emails and tel. calls JND, WF and Team re new
 10/4/2021    MLS                                                         0.5   $800   $400.00
                      addresses for undeliverable notices
                      Supervise JND's notice of updated mailings,
                      including participate in Zoom call to assist with
                      quality control of final, stuffed envelopes;
 10/4/2021    LCF     continue to work on locating undeliverable          0.6   $445   $267.00
                      class members from initial notice mailing,
                      including outline further edits to correspond
                      with class members with whom we had
                      Work on finding addresses where class notices
 10/4/2021    RMP                                                         0.1   $745    $74.50
                      were returned as undeliverable
                      E-mails with Wells Fargo re: updated addresses
 10/5/2021    LPL                                                         0.3   $465   $139.50
                      it has provided for certain class members




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                      Contact class members for whom we have
                      contact data, confirm receipt of class notice,
 10/5/2021    RPN     and answer any questions about the notice;          1     $240   $240.00
                      prepare current address data of plaintiffs for
                      claims administrator
                      Continue to work to find updated addresses for
                      undeliverable notices, including review initial
 10/5/2021    LCF     list of addresses from Wells Fargo's further        0.1   $445   $44.50
                      research, and begin to outline next steps to also
                      attempt to locate additional addresses
                      Correspondence with and about JND to
 10/5/2021    RMP                                                         0.1   $745   $74.50
                      monitor efforts to locate class members
                      Zoom call with JND to conduct quality control
                      review on notice mailings (to those for whom
 10/6/2021    LPL                                                         0.6   $465   $279.00
                      Wells Fargo had updated addresses); follow-up
                      e-mail to team re: same
                      emails re mailing notice to undeliverable; tel.
 10/6/2021    MLS     call class member re settlement process; tel.       0.5   $800   $400.00
                      call L. Lam re same
                      Contact class members to send them PDFs of
 10/6/2021    RPN                                                         0.4   $240   $96.00
                      their class notice
                      Review inquiry from class member and
 10/6/2021    RMP     correspondence from JND re: notices to class        0.1   $745   $74.50
                      members
                      Perform database searches to locate current
 10/7/2021    RPN     contact information for plaintiffs without          2.9   $240   $696.00
                      address updates
                      Call with JND and M. Schrag re: status on
 10/8/2021    LPL     getting updated address information for notices     0.3   $465   $139.50
                      that have been returned as undeliverable
                      review weekly report re class notice; tel. calls
                      and emails Team re same; tel. call JND re same
 10/8/2021    MLS                                                         1.2   $800   $960.00
                      and plan to update and clarify report and get
                      further updated addresses
                      Review and analyze JND's weekly
 10/10/2021   RMP     administrative report and formulate response        0.1   $745   $74.50
                      questions
                      Call and e-mails with class member Jonathan
 10/11/2021   LPL     Gropper re: background on the case, settlement,     0.7   $465   $325.50
                      and benefits he is receiving under the
                      Call with M. Schrag re: status on getting
 10/11/2021   LPL     notices out to any updated addresses we have        0.2   $465   $93.00
                      for class members




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                      Contact with Dana Morehead about settlement;
                      perform database searches to locate current
 10/11/2021   RPN                                                         4.6   $240   $1,104.00
                      contact information for plaintiffs without
                      address updates
                      Outline timeline for C. Yanni to complete
 10/11/2021   LCF                                                         0.2   $445    $89.00
                      review of emotional distress claims
                      Call w/ successor in interest on behalf of class
 10/12/2021   HCB                                                         0.3   $220    $66.00
                      member re class action settlement
                      Conf. call with team re: status of notice process
 10/12/2021   LPL     and any additional steps we can take to find        0.5   $465   $232.50
                      more updated addresses
                      E-mails with H. Bohol re: class member David
 10/12/2021   LPL     Clark and whether his check can be made to his      0.2   $465    $93.00
                      brother (successor-in-interest)
                      Contact with Jonathan Rudzki about his
 10/12/2021   RPN                                                         0.1   $240    $24.00
                      multiple properties and how they relate to the
                      Review and analyze efforts to locate class
 10/12/2021   LCF     members, outline next steps; update settlement      0.5   $445   $222.50
                      administration timeline
                      Update successor in interest of class member re
                      class action update; request document proof;
                      send follow up email and forward documents to
 10/13/2021   HCB                                                         0.5   $220   $110.00
                      attys; email JND Administrator and provided
                      them with the proof naming caller as successor
                      in interest
                      Call w/ class member and provided an update
 10/13/2021   HCB                                                         0.3   $220    $66.00
                      re class action settlement
                      Correspond with class member B. Alvarez
                      regarding her severe emotional distress claim
 10/13/2021   LCF                                                         0.1   $445    $44.50
                      form and send additional claim information to
                      JND to be added to her file
                      E-mails with team and JND re: status of getting
 10/14/2021   LPL                                                         0.2   $465    $93.00
                      notice out to class members
                      Continue to work on finding undeliverable
 10/14/2021   LCF     class members, including review JND's weekly        0.2   $445    $89.00
                      status report
 10/14/2021   RMP     Oversight of JND re: settlement administration      0.1   $745    $74.50
                      Call with team and e-mails with JND re:
 10/15/2021   LPL     working to get updated addresses for notices        0.6   $465   $279.00
                      returned as undeliverable
                      E-mails with M. Schrag, J. Bloomfield, and H.
 10/15/2021   LPL     Bohol re: plan for getting back to class            0.4   $465   $186.00
                      members who have reached out with questions




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                      work on status report; draft notice status update
                      for E. Gibbs; tel. calls and emails L. Lam and
 10/15/2021   MLS                                                         3     $800   $2,400.00
                      JND re same; Conf. call Team re updating
                      addresses; email to C. Yanni re schedule;
                      Review JND's weekly update; work on plan for
 10/15/2021   RMP                                                         0.4   $745   $298.00
                      following up on undelivered notices
                      Supervise settlement and notice administration,
                      including analyze status of mailings and
                      returned notices, outline next steps to continue
 10/15/2021   LCF                                                         1     $445   $445.00
                      to reach class members and follow-up efforts to
                      search for potential contact information for
                      approximately 71 undeliverable notices
                      Draft proposed update to Court re: supervision
 10/16/2021   RMP                                                         0.3   $745   $223.50
                      of JND
                      E-mails with counsel for potential class
 10/17/2021   LPL     member about the class member's option to opt-      0.1   $465    $46.50
                      out of the settlement
                      Call with potential class member's counsel to
                      provide background on the case, settlement,
 10/18/2021   LPL                                                         0.6   $465   $279.00
                      and whether borrower is a part of the class; e-
                      mail to team re: same
                      Contact plaintiffs without address updates to
 10/18/2021   RPN     confirm contact information for forwarding of       2.3   $240   $552.00
                      class notice
                      Review address update request from L. Smith,
                      forward to JND, and respond to L. Smith
 10/18/2021   LCF                                                         0.2   $445    $89.00
                      confirming update sent; review potential opt-
                      out request
                      Work on plan for locating class members
 10/18/2021   RMP                                                         0.2   $745   $149.00
                      whose notice was returned as undeliverable
 10/19/2021   HCB     Call w/ WF Client re case settlement update         0.3   $220    $66.00
                      Call with JND, M. Schrag, and co-counsel re:
                      status of undeliverables and efforts to track
 10/19/2021   LPL                                                         0.5   $465   $232.50
                      down people for whom we do not have an
                      updated address
                      conf. call JND re undeliverable notices and
 10/19/2021   MLS     remailing plans; tel. call R. Paul re same;         0.5   $800   $400.00
                      emails L. Lam re same
                      Contact with Michael Reilly to confirm he is in
                      Hernandez II; contact plaintiffs without address
 10/19/2021   RPN                                                         4.3   $240   $1,032.00
                      updates to confirm contact information for
                      forwarding of class notice




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                      Review correspondence with class member L.
                      Kennedy regarding updated address and send
                      update to JND, and send PDF of class notice to
                      L. Kennedy; analyze continued efforts to reach
 10/19/2021   LCF                                                         0.6   $445   $267.00
                      undeliverable class members, including
                      correspond with JND regarding efforts and
                      outline next steps to further research remaining
                      undeliverable class members
                      Review inquiry from class member; call with
 10/19/2021   RMP                                                         0.4   $745   $298.00
                      JND re: work on finding more class members
                      E-mails with M. Schrag and J. Bloomfield re:
 10/20/2021   LPL     returning calls and e-mails from potential class    0.2   $465   $93.00
                      members
                      E-mails with team re: list of class members
 10/20/2021   LPL     whose notices were undeliverable with no            0.2   $465   $93.00
                      updated addresses
                      Contact with Joel Abbamonte for case status;
                      contact plaintiffs without address updates to
 10/20/2021   RPN                                                         3.7   $240   $888.00
                      confirm contact information for forwarding of
                      class notice
                      Review updated list of class members with
 10/20/2021   RMP                                                         0.1   $745   $74.50
                      updated addresses from JND
                      Contact with Michael Reilly about his part in
 10/21/2021   RPN     the case and filing his severe emotional distress   0.4   $240   $96.00
                      claim
                      Correspond with class member M. Reilly to
 10/21/2021   LCF     answer his questions regarding settlement and       0.2   $445   $89.00
                      severe emotional distress fund
                      Follow up on efforts to reach class members
 10/21/2021   RMP     whose notice was returned as undeliverable;         0.2   $745   $149.00
                      work on motion for final approval
                      Review list of 41 undeliverable plaintiffs
                      against previous Accurint searches to see if
                      they are on that list and if any of them are
 10/21/2021   RPN                                                         3.2   $240   $768.00
                      deceased; contact plaintiffs without address
                      updates to confirm contact information for
                      forwarding of class notice
                      E-mails with M. Schrag and JND about class
                      members who could not upload support for
 10/22/2021   LPL                                                         0.2   $465   $93.00
                      their emotional distress claim on the settlement
                      website
                      Contact plaintiffs without address updates to
 10/22/2021   RPN     confirm contact information for forwarding of       3.8   $240   $912.00
                      class notice



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                      Correspondence with class member Michael
                      Reilly to assist him in completing his severe
 10/23/2021   RMP                                                        0.4   $745   $298.00
                      emotional distress claim form; correspondence
                      with JND re: settlement administration
                      Call w/ Class member's son in law re case
 10/25/2021   HCB     settlement update. Follow up w/ attys re follow    0.5   $220   $110.00
                      up questions brought up during call
                      E-mails and calls with H. Bohol, M. Schrag,
                      and JND re: class member Jan Eddowes, her
 10/25/2021   LPL                                                        1.1   $465   $511.50
                      notice, and her son-in-law's questions about the
                      settlement
                      Calls and e-mails with JND and M. Schrag re:
 10/25/2021   LPL     leaving the online form for emotional distress     0.5   $465   $232.50
                      claims open
                      Contact with Michael Reilly about the
                      settlement and possible mediation; contact with
 10/25/2021   RPN                                                        0.8   $240   $192.00
                      James Eldred and James Shelby about severe
                      emotional distress form
                      Correspond with M. Reilly to answer his
                      further questions regarding the proposed
                      settlement and the severe emotional distress
 10/25/2021   LCF                                                        0.3   $445   $133.50
                      fund; correspond with JND regarding updated
                      contact information for J. Abbamonte, send
                      him class notice via email
                      Correspondence with class member re: severe
                      emotional distress claim form; work on final
 10/25/2021   RMP                                                        0.6   $745   $447.00
                      approval papers; follow up on inquiry from
                      potential class members
                      Call w/ Class member re emotional distress
 10/26/2021   HCB     fund application; follow up w/ attys re class      0.8   $220   $176.00
                      member inquiries
                      Call with JND and M. Schrag re: handling the
 10/26/2021   LPL                                                        0.3   $465   $139.50
                      online emotional distress claim form
                      E-mails with H. Bohol re: class member
 10/26/2021   LPL     questions about the emotional distress claims      0.2   $465   $93.00
                      process
                      E-mails with counsel for class member Lauren
 10/26/2021   LPL                                                        0.2   $465   $93.00
                      Sherma re: Lauren's class notice and claim
                      emails and tel. calls class members (and
                      counsel) re emotional distress claims and
 10/26/2021   MLS                                                        1.2   $800   $960.00
                      updating addresses; tel. calls and emails L. Lam
                      re same and re settlement website




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                      Contact with Bobbie Snyder about her
                      upcoming mediation (she had concerns that the
 10/26/2021   RPN     mediator in contact with her was unaware of          0.1   $240   $24.00
                      the severe emotional distress form she had filed
                      in the class action)
                      Follow up on inquiries from potential class
 10/26/2021   RMP                                                          0.2   $745   $149.00
                      members
                      E-mails with team re: opt-out request from
 10/27/2021   LPL                                                          0.4   $465   $186.00
                      class member Walter Ellinwood
                      E-mails with team re: status of online claim
 10/27/2021   LPL                                                          0.3   $465   $139.50
                      form and number of notices remaining
                      Call with Tanis Kelly re: opt-out and whether
                      the class member can accept the settlement
 10/27/2021   LPL                                                          0.6   $465   $279.00
                      without jeopardizing Medicaid; call with M.
                      Schrag and L. Fellows re: same
                      E-mails and calls with team re: status of
 10/27/2021   LPL     emotional distress claims and number of              0.5   $465   $232.50
                      undeliverable notices
                      E-mails with class member Deborah Baran re:
 10/27/2021   LPL     whether the first phase of the settlement is final   0.2   $465   $93.00
                      and complete
                      emails JND re emotional distress claims; conf.
                      call C. Yanni and D. Agretelis re same; review
 10/27/2021   MLS                                                          1.2   $800   $960.00
                      opt out letter; emails and tel. calls L. Lam and
                      L. Fellows re same;
                      Contact with two class members about
 10/27/2021   RPN     completing the severe emotional distress claim       0.6   $240   $144.00
                      late
                      Research probate information for potentially
 10/27/2021   RPN     deceased plaintiffs in order to find                 1.2   $240   $288.00
                      survivors/heirs to contact about settlement
                      Review final administrative update from JND
                      regarding number of notices delivered and
                      remaining undeliverable notices and outline
                      thoughts regarding potential next steps to
 10/27/2021   LCF     further supervise JND's administration of the        0.8   $445   $356.00
                      claims process and submission of emotional
                      distress claims to C. Yanni; review and analyze
                      request for exclusion from power of attorney,
                      outline potential follow-up
 10/27/2021   RMP     Review opt-out; analyze potential response           0.1   $745   $74.50




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                      Call with POA for class member Walter
                      Ellinwood re: his options for staying in the
 10/28/2021   LPL     settlement and handling the money he would         0.5   $465   $232.50
                      receive under the settlement; e-mail to team re:
                      same
                      emails JND and Team re emotional distress
                      claims and finding new addresses for
 10/28/2021   MLS     undeliverable notices; emails re opt out and       1.5   $800   $1,200.00
                      heirs to same; emails to/from class member re
                      emotional distress claims
                      Correspondence with JND re: settlement
 10/28/2021   RMP                                                        0.1   $745    $74.50
                      administration
                      Review final list of 27 undeliverable notices
                      from JND, compare to prior efforts to reach
 10/28/2021   LCF     plaintiffs, and outline potential next steps to    0.5   $445   $222.50
                      reach out; work on sending severe emotional
                      distress claims to C. Yanni
                      Review final list of 27 Undeliverables for any
                      contact information we may have found and
                      possible deceased status of any plaintiff;
                      research probate information for potentially
 10/28/2021   RPN                                                        5.4   $240   $1,296.00
                      deceased plaintiffs in order to find
                      survivors/heirs to contact about settlement;
                      contact with Lisa Kennedy about the death of
                      James Kennedy
                      Call with POA for class member Walter
 10/29/2021   LPL                                                        0.5   $465   $232.50
                      Ellinwood; e-mail to team re: same
                      tel. calls and emails Team re opt out and
                      potential heirs of opt out's deceased co-
 10/29/2021   MLS                                                        0.7   $800   $560.00
                      borrower. emails Team and JND re emotional
                      distress claims and submitting to special master
                      Continue to work on locating remaining 27
                      undeliverable class member notices, analyze
 10/29/2021   LCF                                                        0.2   $445    $89.00
                      further edits to reach representatives of
                      potentially deceased class members
                      Review inquiry from potential class member;
                      work on plan for contacting representatives of
 10/29/2021   RMP                                                        0.3   $745   $223.50
                      deceased class members; analyze basis for class
                      member who opted-out
                      Search Accurint for contact information for list
                      of 27 Undeliverables, then attempt contact with
 10/29/2021   RPN     them; research probate information for             5     $240   $1,200.00
                      potentially deceased plaintiffs in order to find
                      survivors/heirs to contact about settlement



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                      Continue to work on locating remaining 27
                      undeliverable class member notices, including
 10/30/2021   LCF                                                        0.1   $445    $44.50
                      send JND updated addresses for two additional
                      class members
 10/31/2021   RMP     Analyze response to opt-out                        0.1   $745    $74.50
                      E-mails with JND and call with M. Schrag re:
 11/1/2021    LPL     emotional distress claims that have been           0.3   $465   $139.50
                      submitted and leaving the online claim form
                      Attempt contact with list of 27 Undeliverables;
                      research probate information for potentially
                      deceased plaintiffs in order to find
 11/1/2021    RPN                                                        1.2   $240   $288.00
                      survivors/heirs to contact about settlement;
                      contact with five class members about
                      completing their severe emotional distress
                      Continue to supervise JND's administration of
                      notice program, including work on analyzing
                      severe emotional distress claims likely filed by
 11/1/2021    LCF     non-class members, continue to work on             0.3   $445   $133.50
                      locating additional 27 undeliverable class
                      members; correspond with class members C.
                      Brady and J. Barrett to send their class notices
                      E-mails and call with class member Tabatha
 11/2/2021    LPL     Patton about her class notice and applying for     0.3   $465   $139.50
                      emotional distress funds
                      Attempt contact with list of 27 Undeliverables;
                      research probate information for potentially
                      deceased plaintiffs in order to find
                      survivors/heirs to contact about settlement;
 11/2/2021    RPN                                                        0.5   $240   $120.00
                      contact with Eugene Chung about his class
                      notice and potential severe emotional distress
                      claim; contact with Joel Abbamonte about his
                      remediation check and mediation
 11/2/2021    RMP     Review weekly settlement administrator's           0.1   $745    $74.50
                      E-mails with team re: opt-out class member
 11/3/2021    LPL     Walter Ellinwood and his deceased co-              0.5   $465   $232.50
                      borrower
                      E-mails with class member Tabatha Patton re:
 11/3/2021    LPL                                                        0.2   $465    $93.00
                      how to apply for severe emotional distress
                      Analyze sufficiency of opt out request on
 11/3/2021    LCF     behalf of one deceased co-borrower, outline        0.1   $445    $44.50
                      potential next steps
                      emails re opt out issue and reports on
 11/4/2021    MLS                                                        2     $800   $1,600.00
                      emotional distress claims; work on attorney fee




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                      Continue to analyze effectiveness of opt-out
                      received from one co-borrower where other co-
 11/4/2021    LCF     borrower is now deceased, review                    0.1   $445   $44.50
                      correspondence from JND regarding the same,
                      outline thoughts
                      Continue to supervise JND's administration of
                      notice program, analyze receipt of non-class
 11/5/2021    LCF                                                         0.1   $445   $44.50
                      member claims and confirm with Wells Fargo
                      not co-borrowers
 11/6/2021    RMP     Review JND's weekly administrator's report          0.1   $745   $74.50
                      Call with class member Thea Malfetti to give
                      her background on the case, the settlement, and
 11/8/2021    LPL                                                         0.7   $465   $325.50
                      what it means for her; follow-up e-mails re:
                      same
                      E-mails with team about getting back to class
 11/8/2021    LPL     members who have reached out to GLG with            0.5   $465   $232.50
                      questions
                      E-mail to H. Bohol and J. Bloomfield re:
 11/9/2021    LPL                                                         0.2   $465   $93.00
                      fielding calls from class members about the
                      Research probate information for potentially
 11/9/2021    RPN     deceased plaintiffs in order to find                0.8   $240   $192.00
                      survivors/heirs to contact about settlement
                      Analyze issues re: severe emotional distress
 11/12/2021   RMP                                                         0.3   $745   $223.50
                      claims
                      Correspond with class member T. Malfetti
                      regarding submission of her severe emotional
                      distress claim and additional information,
 11/12/2021   LCF                                                         0.2   $445   $89.00
                      confirm sent to JND; analyze next steps to
                      finalize severe emotional distress claims initial
                      submissions
                      Research probate information for potentially
 11/12/2021   RPN     deceased plaintiffs in order to find                1.7   $240   $408.00
                      survivors/heirs to contact about settlement
                      Continue to supervise JND's administration of
                      the severe emotional distress fund, review
                      initial class member awards, analyze potential
 11/16/2021   LCF                                                         0.9   $445   $400.50
                      follow-up needed; continue to review and edit
                      draft motion for final approval and attorneys'
                      fees, review additional research




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                      Review list of people with whom we have
                      made contact and determine if they have filed a
                      severe emotional distress claim; review contact
                      notes for potential additional information
                      related to severe emotional distress claims;
 11/16/2021   RPN                                                         2     $240   $480.00
                      contact with class member Cheryl Garcia about
                      nature of lawsuit and legitimacy of remediation
                      check from Wells Fargo; contact with James
                      Eldred about the legitimacy of the Wells Fargo
                      remediation check
                      Work on communications with class members
 11/16/2021   RMP                                                         0.4   $745   $298.00
                      re: emotional distress awards
                      Continue to supervise JND's administration of
                      severe emotional distress fund, review draft
                      notice of claim denial for non-class member
                      claims, confirm no edits; continue to revise and
 11/17/2021   LCF     edit motion for final approval, continue to         4.1   $445   $1,824.50
                      research relevant jurisprudence regarding fee
                      analysis; revise draft proposed order granting
                      final approval, including analyze status of
                      locating potential undeliverable plaintiffs
                      Research probate information for potentially
                      deceased plaintiffs in order to find
                      survivors/heirs to contact about settlement;
 11/17/2021   RPN     review contact status of the 27 plaintiffs with     2.6   $240   $624.00
                      undeliverable addresses, per JND; contact with
                      four clients about submitting an appeal for their
                      severe emotional distress claim determination
                      emails re class member inquiries; work on final
 11/18/2021   MLS                                                         1.2   $800   $960.00
                      approval and fee application
                      Research probate information for potentially
                      deceased plaintiffs in order to find
                      survivors/heirs to contact about settlement;
 11/18/2021   RPN                                                         0.3   $240    $72.00
                      contact with two clients about submitting an
                      appeal for their severe emotional distress claim
                      determinations
                      tel. calls and emails re late emotional distress
 11/19/2021   MLS                                                         0.3   $800   $240.00
                      claims; review joint declaration draft




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                         Contact with Pablo Isales Jr about his class
                         notice and possibly submitting a severe
                         emotional distress claim; contact with three
                         plaintiffs about appealing their severe
 11/19/2021    RPN       emotional distress claim determinations; search       2.6    $240    $624.00
                         for contact information for possible next-of-kin
                         of believed-to-be-deceased plaintiffs on the list
                         of 27 undeliverables given to us by the claims
                         administrator
                         Work on settlement administration/notice to
 11/21/2021    RMP                                                             0.1    $745    $74.50
                         class members
                         Contact with Shawn Johnston about mediation;
                         search for contact information for possible next-
 11/22/2021    RPN       of-kin of believed-to-be-deceased plaintiffs on       1.5    $240    $360.00
                         the list of 27 undeliverables given to us by the
                         claims administrator
                         Call with JND re: clarifying that correct
 11/23/2021     LPL      emotional distress determination letters were         0.2    $465    $93.00
                         sent to certain class members
                         Search for contact information for possible
                         next-of-kin of believed-to-be-deceased
 11/23/2021    RPN       plaintiffs on the list of 27 undeliverables given     1.4    $240    $336.00
                         to us by the claims administrator and attempt to
                         contact them.
                         E-mails with J. Bloomfield re: contacting class
                         members who have reached out to us and
 11/24/2021     LPL                                                            0.2    $465    $93.00
                         explaining the severe emotional distress fund to
                         them
                         Contact with Thea Malfetti about her severe
                         emotional distress claim determination letter;
                         search for contact information for possible next-
 11/24/2021    RPN       of-kin of believed-to-be-deceased plaintiffs on       1.7    $240    $408.00
                         the list of 27 undeliverables given to us by the
                         claims administrator and attempt to contact
                         them.
                         Call with class member Tabatha Patton re: her
 11/29/2021     LPL      questions on the severe emotional distress            0.2    $465    $93.00
                         claim appeal process
                                                             Project Total:   189.8          $81,581.50

                  Project: Final approval / fee motion for supplemental settlement
    Date   Timekeeper                    Description                         Hours x Rate = Fee
 6/18/2021    RMP      Work on plan for final approval                  0.1        $745       $74.50
                       Draft motion for final approval of settlement;
 7/28/2021    RMP                                                       0.5        $745      $372.50
                       monitor settlement administration

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                      Draft motion for final approval, work on
                      settlement administration, correspond with
 7/28/2021    LCF                                                         1     $445   $445.00
                      Wells Fargo regarding timing to send class list,
                      work on settlement timeline
 7/29/2021    RMP     Draft motion for final approval                     0.6   $745    $447.00
 7/30/2021    RMP     Draft motion for final approval of settlement       1.6   $745   $1,192.00
                      Draft proposed order granting final approval of
 7/31/2021    RMP                                                         0.4   $745   $298.00
                      class settlement
                      Draft Joint Declaration of Class Counsel in
  8/2/2021    RMP     support of motion for final approval and fee        0.8   $745   $596.00
                      application
  8/3/2021    MLS     review/edit JND declaration; emails re same         0.3   $800   $240.00
                      Draft joint declaration in support of motion for
  8/3/2021    RMP                                                         0.5   $745   $372.50
                      final approval
                      Draft joint declaration in support of motion for
  8/4/2021    RMP                                                         0.4   $745   $298.00
                      final approval and fee application
                      Draft proposed order granting final approval of
  8/8/2021    RMP                                                         0.4   $745   $298.00
                      class settlement and fee application
                      Draft proposed order granting final approval of
  8/9/2021    RMP                                                         0.8   $745   $596.00
                      supplemental class settlement
                      Draft motion for final approval of settlement
 8/16/2021    RMP                                                         1     $745   $745.00
                      and proposed final approval order
                      Draft declaration in support of motion for final
 8/17/2021    RMP                                                         0.3   $745   $223.50
                      approval and fees
 8/18/2021    RMP     Draft motion for attorneys' fees and expenses       0.2   $745   $149.00
 8/19/2021    RMP     Draft motion for final approval                     0.2   $745   $149.00
 8/23/2021    RMP     Draft proposed final approval order                 0.3   $745   $223.50
                      Review correspondence from class member re:
                      class notice; draft motion for approval of fees
 8/25/2021    RMP                                                         0.5   $745   $372.50
                      and joint declaration in support of motion for
                      final approval and fees
                      Draft joint declaration in support of final
                      approval of settlement and fee application;
 8/30/2021    RMP                                                         0.6   $745   $447.00
                      analyze plan for corrected notice in light of
                      JND's notice error
                      Review correspondence from class member;
  9/5/2021    RMP     draft motion for final approval to explain          0.5   $745   $372.50
                      corrected class notice
                      work on final approval motion; emails class
 10/21/2021   MLS     members and counsel re settlement. emails           2.7   $800   $2,160.00
                      Team re same
                      emails and tel. calls re final approval, updating
                      addresses for undeliverable notices and
 10/22/2021   MLS                                                         1.3   $800   $1,040.00
                      emotional distress claims; work on motion for
                      final approval

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                      review draft motion for attys fees and emails re
                      same; tel. calls and emails class members, L.
                      Lam and JND re class member questions,
 10/25/2021   MLS                                                          2.3   $800   $1,840.00
                      addresses and severe emotional distress claims;
                      review weekly status report and tel. call JND re
                      online claim form.
 10/26/2021   RMP     Draft motion for final approval of settlement        0.3   $745    $223.50
  11/2/2021   MLS     work on final approval brief                         2.3   $800   $1,840.00
                      work on final approval brief; tel. calls and
 11/3/2021    MLS     emails re opt out and locating next of kin for co-   3.3   $800   $2,640.00
                      borrower.
 11/4/2021    RMP     Work on motion for final approval of                 0.2   $745   $149.00
                      Calculate estimate of GLG lodestar for motion
 11/5/2021    LPL                                                          0.3   $465   $139.50
                      for attorney's fees
 11/5/2021    MLS     work on fee application                              2.7   $800   $2,160.00
 11/5/2021    RMP     Work on final approval brief                         0.1   $745    $74.50
                      Continue to work on draft Motion for Final
                      Approval, outline further edits; analyze 18
                      additional non-class member severe emotional
 11/8/2021    LCF                                                          1     $445   $445.00
                      distress claims, confirm Wells Fargo review
                      and confirmation not class members or co-
                      borrowers
                      emails JND re emotional distress claims; tel.
                      call D. Agretelis re same; tel. call R. Paul re
 11/9/2021    MLS                                                          1.8   $800   $1,440.00
                      same; review L. Fellows edits to final approval
                      brief; tel. call L. Lam re emotional distress
                      Revise and edit draft Motion for Final
 11/9/2021    LCF     Approval, draft section regarding efforts to         3.5   $445   $1,557.50
                      reach undeliverable class members
                      Work on final approval papers; follow up on
 11/9/2021    RMP                                                          0.4   $745   $298.00
                      settlement administration issues
                      work on final approval brief; emails and tel.
 11/10/2021   MLS                                                          1.7   $800   $1,360.00
                      calls D. Agretelis re emotional distress claims
                      review L. Fellows edits to fee brief and emails
                      re same; tel. calls and emails re emotional
 11/11/2021   MLS                                                          0.8   $800   $640.00
                      distress claims; review/edit claim
                      determination letter and email re same
                      Review and edit draft Motion for Attorney's
 11/11/2021   LCF                                                          2.5   $445   $1,112.50
                      Fees, research relevant jurisprudence
 11/12/2021   MLS     work on fee and final approval brief                 2     $800   $1,600.00
                      Review revised motion for final approval and
 11/12/2021   LCF                                                          1.1   $445   $489.50
                      outline further, proposed revisions
 11/13/2021   RMP     Draft motion for final approval of settlement        1.5   $745   $1,117.50




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                      emails and tel. calls re emotional distress fund
 11/15/2021   MLS     awards and mailings; legal research re final        1.5   $800   $1,200.00
                      approval/fee brief, emails re same
                      Continue to revise draft Motion to Final
                      Approval and Motion for Attorney's Fees,
                      including research and analyze relevant
                      jurisprudence regarding appropriate standard of
 11/15/2021   LCF     review in non-common fund cases; supervise          4.4   $445   $1,958.00
                      JND's administration of the severe emotional
                      distress fund, including review and analyze
                      draft determination letter and correspond with
                      JND regarding draft
 11/15/2021   RMP     Draft motion for final approval of settlement       0.6   $745   $447.00
                      emails and tel. calls re emotional distress
 11/16/2021   MLS     claims; work on final approval/fee brief; emails    1.5   $800   $1,200.00
                      and tel. calls R. Paul re same
 11/16/2021   RMP     Draft motion for final approval of settlement       1.7   $745   $1,266.50
                      emails re emotional distress letters to non class
 11/17/2021   MLS     members; emails A. Mura, E. Gibbs and R.            0.5   $800   $400.00
                      Paul re final approval brief
 11/17/2021   RMP     Draft motion for final approval                     1.6   $745   $1,192.00
                      Continue to review and edit initial draft
                      proposed order granting final approval, update
 11/18/2021   LCF     information regarding undeliverable class           1.6   $445   $712.00
                      members, and work on ongoing efforts to reach
                      next of kin
                      Work on joint declaration in support of motion
 11/18/2021   RMP                                                         0.1   $745    $74.50
                      for final approval of settlement
                      Revise draft of joint declaration in support of
 11/19/2021   LCF                                                         2.1   $445   $934.50
                      motion for final approval and attorney's fees
 11/22/2021   MLS     work on joint declaration; emails re same           1.5   $800   $1,200.00
                      Edits to class counsel declaration in support of
 11/23/2021   LPL                                                         2.7   $465   $1,255.50
                      final approval and fee motion
 11/23/2021   MLS     work on joint declaration; emails re same           0.5   $800   $400.00
                      Settlement administration; draft joint
 11/23/2021   RMP                                                         1.7   $745   $1,266.50
                      declaration in support of motion for final
                      Review and edit draft of final approval and fee
 11/24/2021   LPL     motion; call with M. Schrag and co-counsel re:      2.6   $465   $1,209.00
                      same
                      Call with A. Mura re: status of draft final
 11/24/2021   LPL                                                         0.3   $465   $139.50
                      approval and fee motion
                      Call with Rick Paul re: plan for editing draft of
 11/24/2021   LPL                                                         0.2   $465    $93.00
                      final approval and fee motion
                      Work on declaration in support of motion for
 11/24/2021   RMP                                                         0.1   $745    $74.50
                      final approval

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                      Edit draft final approval motion; all sections
 11/26/2021   AMM     except fees; review preliminary approval order       2.4     $720    $1,728.00
                      and briefing
                      Work on joint declaration in support of motion
 11/26/2021   RMP                                                          0.1     $745     $74.50
                      for final approval
                      Edit draft final approval and fee motion;
 11/27/2021   AMM                                                          1.2     $720    $864.00
                      research on assessing reasonableness of fee
                      Call re final approval brief and strategy with M.
 11/28/2021   AMM                                                          0.9     $720    $648.00
                      Schrag and L. Lam
                      Review and analyze latest draft of final
 11/28/2021   LPL                                                          0.9     $465    $418.50
                      approval and fee motion
                      Call with M. Schrag and A. Mura re: draft of
 11/28/2021   LPL                                                          0.8     $465    $372.00
                      final approval and fee motion
                      review/edit final approval and fee brief; conf.
 11/28/2021   MLS                                                          3.5     $800    $2,800.00
                      call L. Lam and A. Mura re same;
 11/29/2021   LPL     Further edits to final approval and fee motion        3      $465     $1,395.00
                                                         Project Total:    80.8            $53,560.50
                                                         Grand Total:     1270.9          $702,354.50




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